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      Relevant Portions of the Administrative
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   SOlJTH      COASTAL COlJNTIES LEGAL                  SERVICES, INC.
Fall River Law Office                                                                                                 TEL (508) 676-6265 • (800) 244-9023
22 Bedford Street                                                                                                                    FAX (508) 676-5861
Fall River, MA 02720-3002

September 12, 2022

The lionorable Miguel A. Cardona
Secretary
lLS. Departn:1ent of Education
400 Maryland Avenue S.W.
Washington D.C. 20202

VIA Federal eRulemaking Portal

RE: Comment on Proposed Rule Regarding Nondiscrimination on the Basis of Sex in Education Programs or
Activities Receiving Federal Financial Assistance, Docket ID: ED-2021-OCR-0166 ( 87 Fed. Reg. 413 90
(July 12, 2022))

Dear Secretary Cardona,

        South Coastal Counties Legal Services ("SCCLS") submits the following comment in response to the
Department of Education's ("Department") proposed regulations published on July 12, 2022 amending Title IX
of the Education Amendments of 1972 ("Title IX"). SCCLS supports the Department's overall effort to amend
the current Title IX regulations to better align with Title !X's purpose to eradicate sex discrimination in
federally funded education programs - including elementary and secondary institutions. SCCLS is particularly
supportive of the increased protections for st1.J.dent with disabilities and students identifying as LGBTQ+. In
consideration of the unique impact Title IX protections have on students with disabilities and LGBTQ+
students, SCCLS submits the following comments and recommendations.

                                                          STATEMENT OF INTERES'l'

       SCCLS is a private, non-profit law firm that provides free legal assistance in civil matters to low-
income residents in Massachusetts residing in Barnstable, Bristol, Dukes, Nantucket, and Plymouth Counties,
and parts of Norfolk County. Together with its wholly owned subsidiary, the Justice Center of Southeast
Massachusetts, SCCLS operates community-based law offices in Fall River, New Bedfi)rd, Hyannis, and
Brockton, Massachusetts.

        Recognizing that the clients and comnmnities we serve are marginalized, often under-resmm::ed,
underserved, and undem:presented~ SCCLS' s mission is to achieve justice for low-income clients through
client-centered community based legal advocacy. In each of our practice areas_, we seek to empower our clients
to reach their legal o~jectives by recognizing that our clients are the experts of their own lives. Consistent with
this mission, our Education Unit, and its \vork in the Civil Legal Aid to Victims of Crime project, advocates on
behalf of low-income students in elementary and secondary institutions to ernpower our clients to achieve their
educational goals and to dismantle policies and practices that operate as barriers to students obtaining equai


               South Coastal Counties Legal Services is fonded by individuals, corporation~, municipalities, foundations, and ihc fo!!owing pamrnrn:


                                                                                                                                                     MLAC
 SCCLS rs a 501 {c)(J), not 1br profit ag.:ncy. AH funds received by SCCLS are c;pent in accordance with the L<:ga! Services Corpuratinn Act of 1974, a,
 mtKrnJc\1 J977, 42 U.'.:i.C. §§ 299(3 ct seq,, its implementing regulations, 45 CJ'.K. g !600 et. seq., and other applicab!\: !aw.




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access to educational opportunities. Many of our students are students with disabilities, students of color,
and/or identify as LGBTQ+. We recognize that the students we represent hold multiple and intersecting
identities that inform the experiences they have, the barriers they face, and the biases they are subjected to. To
that end, in keeping with the mission and values of SCCLS, the Education Unit directly confronts the
discriminatory systems affecting our clients based on their socio-economic status, disability, sex, gender
identity; sexual orientation, national origin, and/or race - issues that remain persistent in our region.

       SCCLS has an interest in the Department's amendments to the Title IX regulations, and in particular,
the Department's clarification that Title IX prohibits a broader scope of discriminatory conduct thereby
providing protections to a more inclusive population of students. See 87 Fed. Reg. 41531. SCCLS frequently
represents students with disabilities and students who identify as LGBTQ+ who have experienced sex-based
discrimination, including sexual harassment, within their educational setting. At the same time) many of our
students experience other intersecting forms of discrirnination, including racial and disability-based
discrimination. We agree with the Departrnent's observation that Title IX exists at the intersection of multiple
harms. See 87 Fed. Reg. 41392.

        In Southeastern Massachusetts, students with disabilities make up a disproportionately high percentage
                      1
of the student bodv.
                  .,,   At the same time,. on a national scale, individuals with disabilities are fi:mr times more
                                                                       -•



likely than non-disabled individuals to experience some form of serious violent crime, including sexual
assault. 2 Moreover, in national surveys, survivors of sexual assault often report they experienced their first
sexual assault before they turned eighteen (18) years old. 3 The same is true in the communities we serve. In
2021, among reported sexual assault crirnes} survivors under the age of 17 in Brockton, 4 FaH River, 5 and New
Bedford6 represented more than one third of all survivors in those communities. In addition, perpetration of
sexual assault against individuals ·with disabilities is often committed by a non-family member acquaintance. 7
Accordingly, the research suggests that students with disabilities may be exposed to risks of sexual assault in
school-based settings in alarmingly high numbers.



1
  In the 2021-2022 academic year, 18.9'% of students in Massachusetts have a disability, while in Fall River 23.3% of students have a
disability. ln Brockton, students with disabilities make up 16.7%1 of the population, and in New Bedford 22.2% of the population is
comprised of students with disabilities. See Fall River School and Di5trict Projlle, Department of Elementary and Secondary
Education (2021), available at
https://profiles,doc.mass.edu/profiles/studentaspx?orgcode=00950000&orgtypecode=5&leftNavJd 305&; Brockton School and
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District Profile, Department of Elementary and Secondary Education (2021 ), available at
https://profiles.doe,mass.edu/profiles/student.aspx?orgcode 00440000&orgtypecode'5&leftNavld=305&; New Bedford School ond
District Pr<?file, Department of Elementary and Secondary Education (2021), avm1able at
https:i/profiles.doe.mass.edu/proflles/student.aspx?orgcode 0201 OOOO&orgtypecode~ 5& le fl Na vId=305&
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2
  Erika Harrell, Crime Against Persons with Disabilities. 2009-2019 ~ Statistical Tables, Dep 't of Justice (Ntw. 202 l), available at
https://bjs.ojp.gov/content/pub/pdfi'capd0919st.pdf (concluding that "for persons with disabilities, the rate of violent crime, excluding
simple assault, (l 7 .9 per 1,000) was more than f()I.JT times the rate for persons without disabilities ( 4.0 per 1,000)"),
3
  Approximately 50% of female identifying tape survivors reported they were under the age of eighteen ( 18) when they were raped
tor the first tlrn e. Similarly, male identifying survivors make up approximately 57% of rape survivors who report being raped for the
first time before they turned eighteen ( 18). These rates are consistent for survivors of unwanted sexual contact Female identifying
survivors under the age of eighteen (18) make up approximately 57% of survivors who report unwanted sexual contact for the first
time, and male identifying survivors make up 43% who report unwanted sexual contact for the first time. See Kathleen C. Basile,
Sharon G. Smith, Marcie-:jo Kresnow, Srtiana Khatiwada & Ruth W. Leemis, The National Intimate Partner and Sexual ·violence
Survey: 2016/2017 Report on Sexual Violence, National Center for Injury Prevention and Control, Centers for Disea8e Control and
Prevention (2022), available at https ://vvww .cdc.gov/violenceprevention/pdf/nisvs/nisvsReportonSexualV iolence,pdf
4
  In Brockton, survivors under the age of 17 represented 51.8% of all survivors of sexual assault in 2021. See Massachusetts Crime
V lctlm Statistics, 2021, available at https://masscrirne.chs.state.ma. us/tops/report/violent-crimes/brockton/2021
5
  In Fall River, survivors underthe age of 17 represented 34% ofall survivors of sexual assault in 2021. See Massachusetts Crime
Victim Statistics, 202 l, available at https://masscrime,chs.state,ma,us/tops/report/vioknt-crimes/faU-river/2021
6
  In New Bedford, survivors under the age of 17 represented 44.5% of an survivors of sexual assault in 2021. See Massachuse1ts
Crime Victim Statistics, 202 l, a:vailable at https://masscrime.chs.statc.ma.us!tops/report/vioknt-crimes!new-bedford/2021
7
  Hrmeil, supra note 2, at 6 (concluding that "he percentage ofvioknt victimizations committed by a non-relative the victim knew
was similar for victims with (33%) and without (30%) disabilities")

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          It is equally important to note that students with disabilities also experience other forms of sex~based
discrimination, vvhich impede their equal access to educational programs and opportunities. \Vhen determining
whether to provide special education services, or what services to provide, decisions are often informed by
gender biases and academic expectations rooted in problematic stereotypes. 8 As a result, female identifying
students are underrepresented among students receiving special education services creating vast gender
,     • ,     Q
meqmt1es."

      Separately, LGBTQ+ students rnake up a sizeable portion of the student population in Massachusetts. A
2015 Massachusetts Youth Risk Behavior Survey reported that 11. 1% of students surveyed identified as gay,
lesbian, bisexual, or questioning about their sexual orientation, and 2. 9% identified as transgi:mkr or
questioning their gender identity. 10 The same survey discovered that LG BTQ high school students in
Massachusetts are nearly 3 times as likely to have experienced non-consensual sexual contact compared to
their peers. 11 In addition, 28.2% of LGBTQ high school students reported they were bullied, which is more
than double the rate of their peers. 12

        Given the high rate of sex-based discrimination, including sexual harassment, among young persons
with disabilities and LGBTQ+ students, strong Title IX regulations are vital to ensuring the students we
represent are able to benefit from and thrive in their educational prograrns free from sex~based discrirnination
and harassment Accordingly, SCCLS is taking this opportunity to provide comments specific to the portions
of the proposed regulations that address the needs of our clients who experience sex-based discrimination.

      I.   SCCLS Supports the Department's Proposed Rules to Increase Access to Title IX Processes and
           Protections for Students with Disabilities.

        Through its proposed amendments, the Department is seeking to increase disabled students' access to
Title IX processes and protections, By contrast, in its current form, the Title IX regulations arc inadequate to
provide disabled students with access to the Title IX process and do not afford disabled students the full benefit
of Title IX protections. The inadequate protections are, in part, the product of the limited definition of sex-
based discrimination, which limits sex-based discrimination to incidents that meet the narrow definition of
sexual harassment. By clarifying the broader definition of sex-based discrimination, the Department is
acknowledging that sex~based discritnination occurs in a myriad of ways and is not limited to sexual
harassment SCCLS agrees that this is consistent with Title IX's purpose.

        In our work, SCCLS has observed instances where elementary and secondary institutions blatantly
disregard their Title IX obligations. We have observed instances in which schools fail to accept complaints of
sex discrimination, fail to investigate complaints, and/or fail to provide supportive measures. These failures
have resulted in severe and significant set-backs for students, and have operated as a barrier to educational
opportunities. In cases involving disabled students these institutions can justify their disregard of Title IX by
pointing to the current amendments, which are non-inclusive and fail to recognize the ways that disabled
students may report sex discrimination, comprehend information, participate in grievance processes, and/or
require supportive measllres to continue accessing and progressing in their education.



8
  Steven Severance & Erica Howell, On Gender Disparities in Disability ldentijicmion and 5,"'pecia! Education Services, Journal of
Gender and Power, Vol. 8, No. 2 (2017), available at http://gender-power.amu.edu.pl/JGP_Vol_8_ No_2_ Cpdf
9
  fd at 28 (concluding, "thus, the gender imbalance is inequitable not because more boys are served per se; rather, it is inequitable
bccfmsc girls vvho otherwise qualify for, or would benefit from, spe~ial education services do not receive them").
rn Sexual Orientation and Gender 1dentifj, Among Massachusetts High Schoof StudentJ, Massachusetts Commission on LGBTQ
Youth (2015), available at https:f/www, mass.gov/doc/2015-youth-behavior-rlsk-study-sexual-orientation-and-gender-identity-
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11
     How Sexual Harassment Hurls LG.BTQ Youth in Ma,michusetts, Massachusetts Commission on LGBTQ Youth (2015), available
at https;!/www.mass,gov/doc/ho,v-sexual-harassment-hurts-lgbtq-youth•in-ma-commission-on•lgbtq-youth/download
12
   Massachusetts Commission on LGBTQ Youth, supra note HJ,

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       The Department's proposed amendments clarify recipient educational institutions- including
elementary and secondary schools - have an obligation to comply with Title IX. Just as important, the
proposed amendments would implement requirements aimed at affording students with disabilities access to a
process that is currently inaccessible to them. In particular, SCCLS appreciates the opportunity to provide
cmnments and recommendations on the following proposed amendments specific to Title IX's application to
students with disabilities:

         A.. SCCLS Supports the Department's Proposed Amendment to Clarify that Title IX Applies to AU
             Forms of Sex Discrimination in Proposed 34 C.F.R. § 106.10.

        The Department's clarification that Title IX applies to all forms of sex~based discrimination, rather than
limited to sexual harassment, supports all students, but in particular students with disabilities, Students with
disabilities experience sex-based discrimination in ways not limited to sexual harassment, including equal
access to special education services. Decisions related to special education refeITals, whether to provide special
education services, and what services, if any, the school must provide, are informed and clouded by gender
bias. 13 These biases occur as a result of academic and behavioral expectations that are grounded in gender
stereotypes, among other things, 14 Students wit11 disabilities who are subjected to sex-based discrimination in
the context of special education, or an attempt to access any other educational opportunity, should be afforded
Title IX protections. Accordingly, SCCLS supports the Department's decision to clarify the broader scope of
Title IX and its application to all forms of sex-based discrimination.

       B. SCCLS Supports the Ucpa:rtment's Proposed Amendment Eliminating the definition of '~lhlrmal
          Complaint'' in 34 C.F.R. § 106.30 and Replacing it with the Definition of "Complaint" in
          Proposed 34 C •.F.R. § 106.2.

          The Departmenfs proposed amendment to eliminate the definition of "Formal Complaint" and replace
it vvith the definition of "Complaint" in 34 C.F.R. § 106.2 will create access to Title IX processes and
protections for students ,,vith disabilities. A "formal complaint,'~ as currently defined in 34 C.F.R § 106.30,
creates unnecessary hurdles for students with disabilities. Requiring a written complaint in and of itself creates
barriers for all students, but poses specific ban-iers for students with disabilities who may require alternative
means of communication. It is also a batTier for young students who may not be able to communicate
effectively in vniting, Additionally, requiring the complaint to contain specific language is overly prescriptive
and allows educational institutions to easily disregard complaints of sex-based discrimination for failing to
fully comply with each regulatory element. The current regulations do not contemplate alternative complaint
mechanisms necessary to accommodate students' varied communication needs.

        Relatedly, the current regulations do not require educational institutions to respond to incidents of sex-
based harassment unless and until it has actual notice of the discriminatory conduct SCCLS supports the
proposed amendment to 34 C.F .R. § 106,44~ which will flnther eliminate barriers for students with disabilities
to report incidents of sex-based discrimination. Under the current regulations, students with disabilhies may
have difficulty reporting incidents of sex-based discrimination because they may not make a complaint to a
person required to take action under Title IX. Depending on the nature of their disability, students with
disabilities may not be able to report a complaint of sex-based discrimination to the Title IX Coordinator or
their designee. Cognitive, communication, neurological, or mobility impairments, among other things 1 may
operate as complete baniers, Moreover, students with disabilities may be more likely to communicate incidents
of sex~based discrimination····· and in particular sexual harassment, wfoch are highly sensitive in nature -to a
familiar, trusted, and accessible school faculty member. Additionally, many fonns of sex-based discrimination
likely do not trigger state mandated reporter laws. This coupled with the current regulations' restrictive


13
     Severance & Howell, supra note 8,
14 Id.

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reporting requirements likely leave many complaints by students with disabilities unacknowledged and
unaddressed.

       In that same vein, SCCLS also supports the Department's clarification in proposed regulation 34 CF.R.
§ 106.6(g) that a parent, guardian, or authorized legal representative has the right to act on behalf of a
complainant, including filing a complaint of discrimination. For the same reasons articulated above, this too,
will increase students with disabilities' access to Title IX's protections - particularly students in elementary
and secondary schools. Likewise, SCCLS supports the Department's proposed regulation 34 CF.R. § I 06.6(g),
which also permits a parent, guatdian, or other authorized legal representative to act on behalf of a respondent.
Respondents with disabilities may also require additional support from a parent, guardian, or legal
representative to rneaningfully participate in the grievance process.

        With respect to the complaint process, SCCLS believes elimfoating the definition of'"Formal
Complaint" and replacing it with a new definition of '"Complaint" is an improvernent. Hovvever, SCCLS
recommends that the Department go a step further to ensure that the needs of students with disabilities are fully
contemplated. SCCLS suggests the Department state that it is permissible for a complainant to submit a
complaint of sex~based discrimination in oral or vv:ritten format, which includes adaptive communication
formats. Adaptive communication fi)rmats may include sign language, physical gestures, drawings, or
communicating through an aid or caregiver. Adaptive communication formats are vital for non~verbal students
or students who are not literate in order to communicate their experience of sex-based discrimination and to
access their Title IX protections. In tum, educational institutions should facilitate communication with students
using adaptive formats if necessary to accommodate the student's disability and communication needs.
Accordingly, SCCLS recommends the Departrnent add the following language to the definition of complaint:
     Definition of complaint: ''an oral or written request, including requests using adaptive communication
    formats, made to the recipient to initiate the recipient's grievance procedures for sex discrimination under§
     106.45, and if applicable § 106.46." (emphasis added).

   C. SCCLS Supports the Department's Proposed Amend1uents 34 C.F.R. § 106.S(c) and 34 C.F.R §
       106.44(g)(7)(i) Reciuiring Title IX Coordinators to Consult with a Student's Individualized
       Education Program (IEP) Team and/or Section 504 Team.

        The current Title IX regulations do not contemplate the needs of students with disabilities, and do not
acknowledge the intersecting issues implicated when a student with disabilities experiences sex-based
discrimination. The current regulations' disregard of students with disabilities is evidenced bv the fact that the
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regulations do not even include a definition of a student with a disability. SCCLS supports the Depm1ment' s
inclusion of students with disabilities in the definition section, and its effort to n:iake Title IX consistent and
connected to Section 504 of the Rehabilitation Act of 1973 ("Section 504") and the Individuals \vith
Disabilities Education Act ("IDEA"). SCCLS encourages the Department to retain its proposed definition that
includes "an individual with a disability who -would be covered" by Section 504 or IDEA. See 87 Fed. Reg.
41400 (emphasis added), Some students with disabilitie~ may not have a Section 504 Plan or an Individualized
Education Program ("lEP"), but may have a disability or suspected disability that would qualify them for
special education services and/or accornmodations. Those students should be considered within the definition
of disability for purposes of Title IX protections, and SCCLS recorrunends the Department retain the definition
in proposed amendment 34 C.F.R. § 106.2.

       In addition, the current regulations do not support students with disabilities when considering
supportive measures - both for complainants with disabilities and respondents with disabilities. SCCLS
supports the proposed amendment in 34 C.F.R. § 106.S(e) that would require Title IX Coordinators in
elementary and secondary institutions to consult with a student's IEP team and/or Section 504 team. Likewise,
SCCLS supports the Department's proposed amendment in 34 C.F,R. § 106A4(g)(7)(i) requiring that the Title
IX Coordinator consult with the IEP or Section 504 team wfa:'n putting supportive measures in place for a
disabled student in an elementary or secondary institution.

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        We appreciate the Department's recognition that students with disabilities disproportionately
experience sex~based harassment and that supportive measures need to consider a complainanfs unique
disability related needs, which cannot exist in conflict with a. student's IEP or 504 Plan. We agree that
coordination between the Title IX Coordinator and IEP or 504 Team is necessary to ensure that special
education services and/or acconunodations are being provided and will be adjusted to meet the complainant's
needs in light of the discrimination they experienced.

       Likewise> we agree that the same consideration should be afforded to respondents with disabilities.
Title IX Coordinators should coordinate with a respondent's IEP or 504 Team so that supportive measures do
not undermine or conflict with their special education services or accornmodations. This requirement intersects
with the Department's proposed amendment in 34 C.F.R. § 106.44(g)(2), which allows for supportive
measures that burden the respondent so long as they are not punitive. SCCLS agrees vvith the Department that
supportive measures that burden the respondent should not operate as a mechanism for punishment or
disciplinary action while an investigation is pending. However, SCCLS recommends that the Department make
clear the connection between proposed regulation 34 C.F,R. § 106.8(e) and 34 C,F.R. § 106.44(g)(2), In other
vmrds, if supportive measures burden the respondent, those supportive 1neasures cannot be burdensome to the
point that they interfere wit11 the respondent's special education services and/or accommodations. Accordingly,
SCCLS recommends that the Deprutment include the following language in 34 C.F.R. § 106.44(g)(2), which
limits the ability of a recipient to implement supportive measures that burden a respondent:
        ''including measures that interfere with a respondent accessing or receiving special education services
        or accommodations."

        SCCLS also recommends the Department provide further clarification regarding what information
contained in a student's education record can be accessed and how it can be used by the Title IX Coordinator.
We caution the Department that the regulations as currently proposed are vague as to the specific process and
instances in which a Title IX Coordinator may access a student's educational record while they are consulting
with the student's IEP or 504 Team. To that end, SCCLS recommends that the Department make clear in 34
C.F.R. § 106.8(e) and 34 C.F.R. § 106A4(g)(7)(i) that a student's disability and/or diagnosis, IEP, 504 Plan,
evaluations, and other materials related to special education services and/or accommodations, should only be
considered by the Title IX Coordinator if the school has received prior consent consistent with 34 CFR § 99.30,
and only in the context of providing supportive measures.

        'I11e privacy interests at stake and the personally identifiable infonnation contained in these records
implicate The Family Educational Rights and Privacy Act ("FERPA''), It is not clear that the Title IX
Coordinator certainly has a "legitimate educational interest" in either the complainant or respondenf s IEP, 504
Plan, evaluations, and other materials related to special education services and/or accommodations,
Accord1ngly, SCCLS recommends the Departrnent include the following language in 34 C.F.R. § 106.8(e) and
34 C.F,R. § 106.44(g)(7)(i):
        "A recipient must obtain consent in accordance with 34 CFR § 99.30 bdbre it allows a Title IX
        Coordinator, or their designee, to access a complainant or respondent's education record as they meet
        their obligation to consult ,Yith the studenf s IEP or 504 Team."

         SCCLS's recommended language is consistent with the Department's proposed definition of "relevant'',
which defines relevant as "related to the allegations of sex discrimination under investigation as part of the
grievcmce procedures in§ 106.45, and if applicable§ 106.46." See 87 Fed. Reg, 41418. The Department
proposes making it clear that relevant information must be related to the "allegations of sex discrimination'' hy
helping to determine whether the a1leged sex discrimination occurred, Records pertaining to a student's
disability, IEP, or 504 Plan are not inherently related to tdlegations of sex discrimination. Likewise, those
records are not inherently related to the"investigation as part of the grievance procedures." Records pertaining
to a student's eligibility for special education services or accommodations, or the nature of the services and
accomn:1odations being provided, should not be used as evidence to support credibility determinations or
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decisions related to responsibility. SCCLS~s recommended language is consistent with the Department's
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ptoposed regulation 34 CS.R § 106A5(b)(7), which furthers students privacy interests by clarifying
categories of excluded evidence that cannot be considered in the grievance process.

    n. SCCLS Supports the Department's Proposed AmeruJment 34 C.F.R. § 106.45(b)(5) Allowing
       Parties to 1\/foaningfully Participate in Title IX Investigations and Grievance Processes.

       SCCLS supports the Department's proposed amendment to 34 C.F.R. § 106.45(b)(5), which intends to
balance the privacy interests of the parties, while simultaneously allowing parties access to services and
support that will help them meaningfully participate in the grievance process. Complainants and respondents
with disabilities may require additional support to participate in the grievance process, which may require
cornmunication \vith a disability related service provider, family member, confidential resource, and/or advisoL
As discussed above, some students may only be able to communicate through an adaptive fbrmat, which niay
take the form of communication through another person. This naturally requires the student to communicate
with this third party about tlle allegations in order to adequately participate in the grievance process. Similarly,
a student with a disability may require support frorn a therapeutic provider or counselor, among other disability
related service providers, to meaningfully engage in the grievance process. Moreover, it is especially pertinent
for young students in elementary schools to be able to comnmnicate with a family member, confidential
source, or advisor so that they can understand the nature of the proceedings and allegations under investigation.

         At the same time, SCCLS agrees ¼1th the Department's approach to require recipient educational
institutions to take reasonable steps to protect the privacy of the parties and witnesses while the grievance
process is pending. The Department's interest in privacy protection is bolstered by its proposed amendment to
34 CF.R. § 106.2 that incorporates "peer retaliation" as a prohibited form of retaliation against the
complainant. Likewise, 34 C.F,R. § 106.71, which prohibits intimidation of any person for the purpose of
interfering with any right under Title IX, operates to protect parties and witnesses involved in a Title IX
grievance process.

   E. SCCLS Disagrees with the Department's Proposed Amendment to 34 C..F.R. § 106.45(h)(2) that
       No Longer Requires a Notice of the Outcome of Complaint: be Given in Writing to Both Parties.

       SCCLS recommends that the Department require elementary and secondary institutions to provide oral
and written notice of the outcome of a complaint to both parties following a completed investigation into
whether sex-based discrirnination occurred. Simply providing oral notice, as required in proposed amendment
34 C.F.R. § J06.45(h)(2), is 1nadequate to folly infonn the complainant and respondent of the outcome of the
complaint, the basis for the decision, and any applicable appeal rights. Elementary and secondary institutions
are required to convey specific and detailed information to both parties, which is more effectively
communicated in vvTiting, as it provides both parties time to comprehend the outcome and any fhrther steps
available to dispute the decision. To be dear, SCCLS also recognizes the benefit of elementary and secondary
institutions providing this information orally, as it allows the parties to ask questions and increase their
understanding. Each form of communication is vital 11-Jr the parties to fully understand the outcome.

       As applied to students with disabilities, limiting notice to oral communication does not consider that
some students may not communicate or comprehend information orally. Providing notice orally and in writing
is more inclusive and more adequately addresses the cmnrmmication and comprehension needs of all students.
Moreover, SCCLS suggests that the Department clarify lhat recipient educational institutions must provide
notice of the outcome of the complaint in adaptive formats if necessary to accotnmodate a student's disability.

        Last, SCCLS recommends that elementary and secondary institutions provide oral and written notice to
the parties and their parents. For young students, parents need to receive a detennination notice so the student
can understand the outcome and the basis for the school's decision. Moreover, students with disabilities may
need their parents to receive notice of the outcome in order to understand the school's determination, Providing

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notice to a disabled student's parent also affords them the opportunity to meaningfully participate in future IEP
and/or Section 504 Team meetings, which may be affected by the outcome of a Title IX investigation,

     H.     SCCLS Supports the Department's Proposed Rules to Increase Access to Title IX Processes and
            Protections for LGBTQ+ Students.

       SCCLS supports the Departrnent's proposed amendment to clarify that Title IX applies to all forms of
sex~bascd discrimination, including discrimination on the basis of sex.ual orientation, gender identity, and sex
characteristics, The current regulations do not acknowledge LGBTQ+ students' identities or experiences of
sex-based discrimination, and intentionally faB to offer supports and protections. In Massachusetts alone,
LGBTQ+ students are bu1Iied 15 and su~jected to non-consensual sexual contact 16 at rates much higher than
their peers. Without acknowledging and accounting for the fact that sex-based discrimination can originate
from biases related to a student's sexual orientation, gender identity, or sex characteristics, the current
regulations exclude many types ofhannful and discriminatory conduct from Title IX's application. This
intentional exclusion has real and harrnful effects causing LGBTQ+ students to feel unsafe and skip school as a
result. l7 Moreover, this exclusion sends a signal to recipient educational institutions that LGBTQ+ students are
not entitled to civil rights protections, and in doing so, are less entitled to equal access to their educational
programs. Recognition is important. SCCLS agrees with the Department's legal analysis that applying Title IX
protections to all fom1s of sex-based discrimination is consistent with the purpose of Title IX and current legal
precedent The practical effect of this clarification will permit students, who were previously excluded from
accessing Title IX processes and protections, the opportunity to assert their right to equal access in their
educational programs.


                                                         CONCLUSION

        SCCLS supports the Department~s efforts to amend the Title IX regulations to be more inclusive and
accessible to students with disabilities and LGBTQ+ students. Individuals with disabilities and LGBTQ+
students experience sex~based discrimination, including sexual harassment, at much higher rates than their
peers. For that reason alone, it is imperative the Department adopt the proposed amendments. Yet, we urge the
Department to consider our recommendations to further Title IX's application, solidify the intersection of Title
IX and federal disability law~ and afford students with disabilities and LGBTQ+ students access to Title IX
processes and protections.


            Respectfo11y Submitted,




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            South Coastal Counties Legal Services
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   Massachusetts Commission on LGBTQ Youth, supra note lO.
10
   Massachusetts Commission on LG BTQ Youth, supra note 11.
17
   Massachusetts Commission on LGBTQ Youth, supra note 10 (noting that l 4.4'}o LGHTQ+ students reported skipping school in the
past month because they felt unsafe and 10%> reported being tllreatened or injured with a weapon whi1e at school).

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 September 12, 2022


 Submitted via regulations.gov


 The Honorable Miguel Cardona                               The Honorable Catherine Lhamon
 Secretary                                                  Assistant Secretary for Civil Rights
 U.S. Department of Education                               U.S. Department of Education
 400 Maryland Avenue SW                                     400 Maryland Avenue SW
 Washington DC, 20202                                       Washington, DC 20202


 RE:    Comments from educators regarding the U. S. Department of Education's proposed
        Title IX Rule (87 FR 41390; ED-2021-OCR-0166)


 Dear Secretary Miguel Cardona and Assistant Secretary Catherine Lhamon,

 GLSEN and the National Center for Transgender Equality respectfully submit these 209
 comments from individuals who self-reported they are a teacher, school administrator, or school
 staff, including 66 who self-reported that they identify at LGBTQI+ and 64 who self-reported
 that they are a parent, caregiver, or family of an LGBTQI+ person. These comments were
 collected via vv,vvv.g!scn.orn/T9cornrnentportal between Friday, August 26 and Monday,
 September 12, 2022 in response to the U.S. Department of Education's proposed Title IX Rule.

 When provided, the names ofLGBTQI+ respondents, respondents who experienced anti-
 LGBTQI+ discrimination or victimization, and respondents who identified as being connected to
 a LGBTQ+ student and/or survivor ofLGBTQI+ related discrimination or victimization have
 been withheld to protect their privacy and out of an abundance of caution.

 If you would like to discuss these comments, please contact GLSEN' s Chief of Staff and Deputy
 Executive Director for Public Policy and Research, Aaron Ridings, at aaronxidings@glsen.org.
 Thank you for your consideration.

 Sincerely,

 GLSEN
 National Center for Transgender Equality




                                                                                                   AR_012910
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: RI
 Story Title: As a university educator
 As a university educator, I believe it is essential that all students are supported and seen in their
 educational institutions. Schools have to investigate anti-LGBTQI+ discrimination and bullying
 and act to prevent it from happening again. This is really important because we know that when
 LGBTQI+ students tell school staff this happened to them, many say nothing changes, or worse,
 that they are punished or told they should change. The Title IX rule should require school's
 nondiscrimination policies to list "sexual orientation, gender identity, sex characteristics
 (including intersex traits), and sex stereotypes," since we know these policies are more effective
 when they do. It should also clarify that deadnaming, misgendering, and refusing to use the
 correct name or pronouns are harmful and illegal forms of sex-based bullying.




                                                                                                         AR_012911
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: TX
 Story Title: Make our schools safe for all LGBTQI+ students
 I am a queer and transgender educator in Texas, and it is important to me that our schools are
 safe for all students, including all our LGBTQI+ students. I cannot teach all my students fairly
 and equally if the educational environment in which they are learning does not support and
 protect them fairly and equally. A student cannot be expected to learn successfully in a space
 where, as result ofLGBTQI+ discrimination within the educational environment, they might be:
 1. bullied or harassed based on their sexual orientation, sexual traits, gender identity or gender
 expression 2. deadnamed or misgendered 3. forced to engage in social behavior that is contrary
 to their sexual or gender identity, such as conforming to narrow, gendered dress codes that serve
 no educational benefit 4. excluded from participation in sports other school activities due their
 their gender or sex traits, or from access to single-sex facilities that align with their self-
 identified gender, like bathrooms and changing rooms All these forms of discrimination make a
 student feel isolated and can do real harm to both the student's well-being and their academic
 performance. While the proposed rule is a good start, it needs to very clearly state that LGBTQI+
 student are protected from all of these forms of discrimination. Additionally, we need this rule
 to also include provisions that require schools to clearly state in their non-discrimination policies
 that discrimination and harassement based on "sexual orientation, gender identity, sex
 characteristics (including intersex traits), and sex stereotypes" are prohibited. These specific
 categories need to be clearly stated so to be inclusive enough to protect all LGBTQI+ students.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 I was diagnosed as intersex well into my adulthood. Intersex students and staff need protection
 because nobody knows until they go through the intense process of diagnosis whether or not they
 are. Intersex people like myself deserve equal protection under the law.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: At a time when transgender and other LGBTQI+ students ...
 At a time when transgender and other LGBTQI+ students are unfairly under attack and vilified in
 much of the United States for just wanting to be their true selves, it is critical that they have
 protection under federal law and Title IX. As a non-binary trans teacher, I want to do everything I
 can to support all of my students, especially those that are transgender, gender-queer, or
 otherwise marginalized for their gender identify and sexuality. I am extremely fortunate to work
 at a school that supports all students (and teachers!!) regardless of their background, but even
 then there are issues of bullying and students who feel at risk or suffer from trauma and mental
 health issues related to their identity along with all the ways they feel marginalized by recent
 waves of anti-trans and anti-queer legislation. This is further complicated for students who
 cannot be their true selves in their home but can use school as a safe place to be themselves and
 find community amongst other students. I am supportive of Title IX stating that discrimination
 and bullying based on sexual orientation, gender identity, sex characteristics (including intersex
 traits), and sex stereotypes is illegal. However, it can go even further in its effectiveness to
 support LGBTQI+ students, by requiring schools' nondiscrimination policies to list "sexual
 orientation, gender identity, sex characteristics (including intersex traits), and sex stereotypes,
 identify that students should be able to use changing rooms and bathrooms that correspond to
 their gender identity, prevent transgender students from being excluded from athletics, encourage
 gender neutral dress codes, and clarify that deadnaming and purposefully using a student's
 incorrect pronouns are acts of bullying. Please act to provide more support for these students that
 truly need it.




                                                                                                       AR_012914
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CO
 Story Title: Because it's the decent thing to do
 My life, and the lives of other transgender persons, does no harm to anyone, robs no one else or
 their liberties, and is solely the business of me, my partner, and my doctor.




                                                                                                      AR_012915
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: Queer & Trans Students Deserve Protection
 I have been out as a queer & trans person since I was a teenager, and I have the distinct privilege
 now of supporting LGBTQ+ youth in Illinois through my work at Youth Services, a community
 mental health organization in Glenview. The youth I support through weekly groups, community
 building events, and youth leadership teams are kind, thoughtful, strong, creative, caring, and
 dedicated to ensuring them and their peers get to live full, happy lives in charge of their bodies,
 their futures, and their community. Everyone deserves the bare minimum of consequences when
 not only their peers, but also their teachers, admin, parents, faith leaders, and representatives
 disrespect them and deny them their bodily autonomy and the right to explore & express who
 they are. I urge you to take action in standing with queer & trans students during this time of
 intensive targeting of queer & trans people's safety & agency.




                                                                                                       AR_012916
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: My students need this
 My students need this because about 20% of them identify as LGBTQIA+. They know who the
 accepting and unaccepting teachers are within a week of setting foot on campus because for
 some of them, it can be a matter of life and death. They tell each other who they can be open
 around, and they find me fast, because as the only openly queer and non-gender-conforming
 teacher on campus, I stand out. That's on purpose. We're in an isolated semi-rural desert district
 with a huge number of staff belonging to the local evangelical megachurch. I might be the only
 safe adult they see.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: TN
 Story Title: Greetings,
 I am a non-binary, queer individual living in a characteristically conservative portion of Upstate
 NY, and I support this measure. It is critical that folx be free of discrimination based upon sex,
 gender identity and sexual preference. There are so many ways that the world will beat us down
 in utterly ordinary circumstances, let alone in schools, where we are mandated to be for the first
 15-17 years of our lives. I feel it is of the utmost importance not to allow federally-funded
 programs to benefit while supporting policies that encourage discrimination, harassment and
 bullying. Please, be well, everyone, take good care of yourselves and your kin, and find strength
 and solace in solidarity with one another.




                                                                                                      AR_012918
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: OR
 Story Title: Hi
 I work part-time as a tutor here in the Central Texas area, particularly in the Dripping Springs
 area. I assist middle and high school aged children with math and English. While I am not in the
 school system proper, I spend enough time with kids that I see what's going on. When I was in
 high school, graduating in 2012, the very idea of someone being openly gay was huge news in
 Texas, even ifhe was one of the most popular, beloved members of the class. One of the students
 I tutor is gay and is actively exploring her gender identity. I highly doubt she'll transition to being
 a trans gendered man, but that's not my place to decide. Being a teenager and young adult is the
 time to explore, experiment, and find yourself. To be your happiest self, and have that happiest
 self contribute to society in wonderful ways. I have so many friends who are trans adults who
 had horror stories of their time in school, and even as a chronically ill cisman, I know how awful
 bullying can be for something you cannot control. I have seen firsthand how the lack of action
 from authority can be interpreted, and often is, the same as approval. If no one stops them from
 being transphobic, hateful, and harmful to their fellow students, that's basically the same as it
 being okay. Please, do something to reach out and help them feel safe, so they can focus on
 developing key social skills, and learn how to be a productive, innovative member of American
 Society. Deadnaming and INTENTIONALLY misgendering someone, for any reason, is awful.
 Malicious, intentional acts done to cause harm to someone. That's bullying, full stop. These
 actions should be treated as such. Intentional acts meant to cause harm, and be punished and held
 accountable as such, by students and faculty alike. Please, consider how the lack of action is
 harming children just wanting to understand themselves. I, a white man who works at a
 restaurant, the most average of average American from Hays County, Texas, want to see
 LGBTQ+ people of all ages treated with respect. To be decent to everyone, regardless of gender
 or sexual orientation. Please, do not let inaction continue to be a green light for those filled with
 hate.




                                                                                                           AR_012919
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MN
 Story Title: I am a Queer Trans Man Working In Education
 I have been working in educational systems since 1995 and moving forward on inclusion for all
 students is the right thing to do. Currently, there are schools that are requiring teachers to remove
 rainbows from their classrooms because supporting LGBTQ+ students is a political statement.
 When trans students in Texas are being pulled out of classrooms to be questioned about their
 treatments, government organizations are causing trauma. This has to stop. Our LGBTQ+
 students need to be protected by everyone.




                                                                                                         AR_012920
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Protect queer youth
 I am an public school educator. Please protect our LGBTQIA youth in schools. This law is
 imperative to help protect them.




                                                                                                      AR_012921
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MI
 Story Title: I am a queer transgender educator
 I am a queer trans gender educator, and I want all students to feel safe and seen in my classroom.
 As a student, I did not feel safe to be who I was, and spent years struggling with poor mental
 health as a result of feeling unseen and unloved. Once I was able to step out and proudly come
 out as the person I am, and begin to feel safer doing so, my life drastically improved. I want my
 students to be protected so that they don't have to spend years struggling and hurting before they
 can feel loved and seen. The rule clearly states that discrimination and bullying based on sexual
 orientation, gender identity, sex characteristics (including intersex traits), and sex stereotypes is
 illegal. We need this because most LGBTQI+ students experience some form of anti-LGBTQI+
 discrimination or bullying at school. It should clarify that deadnaming, mis gendering, and
 refusing to use the correct name or pronouns are harmful and illegal forms of sex-based bullying.
 We need to do our jobs by allowing our students a safe place to explore their identities and feel
 fully seen. Thank you.




                                                                                                         AR_012922
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: Visibility matters
 As a trans teacher, I have had a huge impact on my trans students, as well as their cisgender
 siblings, peers and families. For some, I've been their first visible trans grown up, while for
 others, I've helped them better understand their own gender or sexuality. Those students are
 among my most vulnerable, and need protections to ensure they are given the care they need to
 thrive.




                                                                                                      AR_012923
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: I am a queer educator
 I am a queer educator. Having queer peers and community at school as a student, both before and
 after I came out, were vital to my self-understanding and growth. Having access to queer books
 served me in similar ways. Now, I have many students who are queer and trans. Many of them
 may not come from home environments where that is safe, and school gives them a place where
 they can explore their identities and be accepted as they do so in community with others. It is
 vital that we protect schools as a place that serve students, allowing them to grow into adults
 with self-understanding. That means giving these students protections at schools: protections that
 help them survive and protections that help them flourish.




                                                                                                      AR_012924
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: OH
 Story Title: Queer and trans student
 Queer and trans students deserve to be seen, heard, represented, and protected. Period.




                                                                                                      AR_012925
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: OH
 Story Title: Protection Matters
 As a teacher myself, I fully support all the protection and acceptance we can give to queer and
 trans students. Often the focus of bullying and discrimination from both their peers and school
 personnel, they need the full protection of Title IX.




                                                                                                      AR_012926
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: LA
 Story Title: As a trans gender woman
 As a transgender woman growing up in the 90's and early 2000's and living in Texas, I wasn't
 able to come out, and that led me to some very dark times. It is so important for kids to be able to
 express themselves authenticity to help reduce depression, suicidal thoughts and actions and to
 help them grow individually. Had I come out as a kid, I'm not sure ifl would have made it to
 where I am today. Today I am very open and proud of the woman I have become.




                                                                                                        AR_012927
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NC
 Story Title: I am a bi millennial
 I am a bi millennial educator in the South. I want students to be seen and supported in the
 classroom. The rule clearly states that discrimination and bullying based on sexual orientation,
 gender identity, sex characteristics (including intersex traits), and sex stereotypes is illegal. We
 need this because most LGBTQI+ students experience some form of anti-LGBTQI+
 discrimination or bullying at school. It should clarify that deadnaming, mis gendering, and
 refusing to use the correct name or pronouns are harmful and illegal forms of sex-based bullying.
 It should clarify that states enacting anti-LGBTQ+ legislation or banning LGBTQ+ content from
 curriculum will lose public funding.




                                                                                                        AR_012928
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NJ
 Story Title: Queer Lives Matter
 I am an educator and all of my students need to feel safe and happy. This means being who they
 are openly, without fear of hate or violence. This is more important now than ever.




                                                                                                      AR_012929
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: WI
 Story Title: I am a queer educator
 I am a queer educator from WI, a GSA advisor, and adult in schools who cares deeply about
 creating inclusive environments where all students can thrive in their learning. I cannot express
 how important it is for Title IX protections to extend explicitly to queer and trans students. The
 prevalence of harassment, bullying, and discrimination targeting the LGBTQI+ community in
 schools is unacceptable and it prevents young people from their right to an education. The rule
 in its current form could go even further to protect trans youth in particular from the constant
 harassment of misgendering that has been linked to all sorts of negative health outcomes. Thank
 you for your time, Anthony Jennaro




                                                                                                      AR_012930
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: I am a LGBTQ educator
 I am a LGBTQ educator, and I support the addition of protections for youth based on sexual
 orientation, gender identity, sex characteristics (including intersex traits), and sex stereotypes. I
 want all students in my school, and in other schools around the country, to have these protections




                                                                                                         AR_012931
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MN
 Story Title: Too many students fear their lifestyle
 I work in a high school supporting kids in grades 9-12. Our support group is the first time they
 feel it is ok to figure out who they are.If we were not there for student s to protect and educate
 the I would fear more suicide deaths




                                                                                                      AR_012932
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Being a Queer Teacher
 Hello. I have been teaching in a mostly white, middle class public high school in upstate NY for
 28 years. I am the advisor of the Gay-Straight Alliance on campus and identify as Bisexual. I've
 worked with LGBTQA students my entire career, and the struggle continues for these students to
 find acceptance and to create a safe learning environment where they can be open about who
 they are and how they identify themselves. Transgendered students in particular need our help.
 Please do all you can to protect the rights of LGBTQA students. The fight for civil rights for all
 must continue!




                                                                                                      AR_012933
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: FL
 Story Title: The silent and vulnerable must be protected.
 Having grown up in the 70s/80s, I didn't have anyone to look out for me as a gay youth. I had no
 role models in real life, on TV, in movies, or in books. As a result, I stayed in the closet until I
 was 27. When I became a teacher, I made sure not only be that accepting and respectful role
 model for all my students, but also to protect those disenfranchised who were LGBTQ and
 people of color. With how much politics and this conservative sense of freedom permeates
 everything we do in this country, we need to ensure that those LGBTQ students are protected
 from abuse, bullying, and marginalization. With almost half ofLGBTQ students considering or
 committing suicide, it's imperative that we put things into place to keep them supported and safe
 from harm. Unfortunately, faith-based groups choose to ostracize and denigrate this population,
 depriving them of necessary protections (like safe space stickers) as well as books and materials
 geared toward the LGBTQ community. It's not enough for them to survive; they need to thrive.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Bullying Must Stop
 Speaking as an LGBTQ+ elder and educator, I have experienced bullying, starting 75 years ago.
 It's hard to believe that we're still dealing with it all these years later and that, in a supposedly
 civilized country, we haven't found a way to protect LGBTQ+ students. Implementing the
 proposed Title IX Rule is the least we can do. Thank you.




                                                                                                         AR_012935
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: VA
 Story Title: School Board Harassment
 A few years ago our local Alliance Club wanted to use our School Logo for internal use but with
 PRIDE colors filling it in. The students wanted to go through the proper channels and wanted to
 make sure there would be no issues. So I, along with other staff, assisted them in going through
 the proper procedures. The request was completley written by the students and was hand
 submited by myself to the Principal of the school. They approved the use but informed us that
 due to the nature of our club and certain views of our community, they wanted to protect us by
 having it approved by the Superintendent. The letter was then hand delivered to the
 Superintendent who also approved it but felt that the School Board needed to sign off on it as
 well. Once it was proposed to the School Board the board decided that the request needed to be
 made publicly at a public School Board Meeting. Before the meeting the confidential letter was
 leaked to a radio station along with the student's and a staff member's name. Qucikly students
 were being told false information that the Alliance Club wanted to permanently change our
 School Logo to PRIDE colors. This caused club members to be harrased by other students as
 well as the community. Fast forward to the School Board Meeting and our District was divided
 down the middle with many people defending the LGBTQIA+ community but many more
 ripping apart these kids. A handful of students had the courage and bravery to stand in front of all
 of those adults and express the feelings of just wanting to be seen and respected. Most did so
 with tears in their eyes and quavering voices. The School Board ended up postpning the vote for
 three month before the Club was allowed to use the Rainbow Logo internally. Only because it
 was determined that the School Board did not have a legal stance at the time to tell us we
 couldn't. But some Board members needed to voicetheir distain and even called the kids and the
 LGBTQIA+ Community abominations. There is so much more to be said about these events.
 But this is a prime example of what our kids are still dealing with. Where the adults who are
 charged with lookig after the best interests of our School Districts will purposely share a
 student's name to the public to stir a frenzy against children who simply wanted to be respected.
 We have come a long way but our kids still need to be protected.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: TX
 Story Title: LGBTQI Protections
 Data show that LGBTQ students are bullied more than any other group. Also, far right groups
 have chosen LGBTQ persons as their target for harmful and hurtful rules and laws. These
 students need more protection.




                                                                                                      AR_012937
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: As a teacher, I see the dangers
 As a teacher, I see the dangers and pitfalls that are associated with anti-LGBTQ+ discrimination
 and bullying. The damage these policies do to children is incomprehensible. Every student,
 regardless of how they identify, is entitled to come to school and feel safe and supported. When
 we target a specific group to discriminate against a target is put on the back of those children. We
 tell the school community and community at large that it is okay to single out individuals who
 are LGBTQ+. This is a horrible precedent to set. In my opinion, who says that it will stop with
 LGBTQ+ individuals. People in other marginalized groups could be subjected to similar
 discrimination and bullying. Our kids are looking at us adults and paying attention, for better or
 worse. We need legislation that permanently protects the LGBTQ+ students in this country so
 that they are free to learn without the worry of being singled out.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: All teens are vulnerable to gender and sexual orientation based harassment and
 violence
 There was a time when I thought these issues were fading. That young people would eventually
 arrive in an environment where no one would delight in tormenting each other over real, or
 perceived, differences in gender or sexual orientation. The last three years have horrified myself
 and the teenagers I work with. We hear people on the news say grotesque things about people we
 know and love. We witness local and state governments pass ludicrously biased legislation
 restricting the acknowledgement in schools of people and relationships that are simply real and
 as real as any other. I always believed that the courts would maintain basic human rights, but
 the judicial system has become overwhelmed and corrupt. It does not function in service of all
 the citizens of this nation. You must use whatever power you have to protect our children and
 our future from the wave of ignorance and fear. It has already cost lives and the sanity of many,
 queer and straight alike.




                                                                                                  AR_012939
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: AK
 Story Title: The Most Marginalized Need the Most Support
 In the fight for equity, and ultimately the fight for peace, we need to provide extra support for our
 Queer - Yes! capital Q - people. The victims of bullying, harassment, unfair treatment in all
 aspects of society, and even victims of violence, rape and murder, our Queer people need to be
 seen as a precious resource and uplifted as such. Mainstream society has too often shunned us,
 and made us feel as ifwe are abominations, going through a phase, or outright wrong. I say that
 we are those that have questioned our own bodies, identities, culture, and worldview to the point
 that we are refined observers of injustice and inequality. When we are born into a world that does
 not make room for who we know that we are. As such, we are the world's most adept critics. We
 are those that see and feel the oppression and are keen in changing it; yet, this requires support
 from leadership everywhere. Leadership everywhere means teachers, parents, school boards,
 government, and celebrity. One more thing to say about how we are the world's most adept
 critics - this then leads us to be critical not just of how bodies, identities, and orientations are
 treated - we are also more keen into seeing environmental oppression, racial oppression, all
 human rights oppressions. We are the arbiters of change for a more equitable, peaceful world.
 Thank you.




                                                                                                         AR_012940
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: LGBTQ students need
 LGBTQ students need to know that they are not alone in their schools.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NC
 Story Title: We are under attack.
 I'm a school counselor at a small urban high school in Cary, NC. We have many students who
 identify as LGBTQIA+. We are a relatively safe space for students and still trying to get small
 concessions for students to feel more safe is a challenge. I know that at other schools where the
 climate is not as positive, students are facing so many obstacles. We need students and faculty to
 be protected from anti-LGBTQI+ bullying and discrimination. As an LGBTQIA+ person, I have
 dealt with being bullied when I was in school as a student. I only felt safe coming out as an adult
 when I moved to a city where there was a larger population of queer educators and when the
 Obama administration began to support LGBTQ rights. (Thank you for your influence, President
 Biden!) These students and staff face enormous pressures that people are only starting to
 understand and recognize. Because of the rates of teen suicide in the LGBTQIA+ community,
 this is a public health crisis and should be treated as one. I support that the rule clearly states
 that discrimination and bullying based on sexual orientation, gender identity, sex characteristics
 (including intersex traits), and sex stereotypes is illegal. We need this because most LGBTQI+
 students experience some form of anti-LGBTQI+ discrimination or bullying at school. I also
 support that schools have to investigate anti-LGBTQI+ discrimination and bullying and act to
 prevent it from happening again. This is really important because we know that when LGBTQI+
 students tell school staff this happened to them, many say nothing changes, or worse, that they
 are punished or told they should change. I think it should go even further. We need this to be
 taken seriously because kids lives depend on it. Schools and school districts need to explicitly
 require school's nondiscrimination policies to list "sexual orientation, gender identity, sex
 characteristics (including intersex traits), and sex stereotypes," since we know these policies are
 more effective when they do. It should clearly say that students must be able to use the girls' or
 boys' bathroom or locker room that corresponds with their gender identity, and the same goes for
 things like separate gender student housing and classes. It should clarify that deadnaming,
 misgendering, and refusing to use the correct name or pronouns are harmful and illegal forms of
 sex-based bullying. It should clearly say that students must be able to use the girls' or boys'
 bathroom or locker room that corresponds with their gender identity, and the same goes for
 things like separate gender student housing and classes. It should encourage dress codes to be
 gender neutral by making clear that schools risk violating Title IX when they give different rules
 for boys and girls. A separate rule will address school sports, but this one includes confusing
 language that could be misread as saying that excluding trans gender students from boys' and
 girls' school sports teams is okay. All students should have access to the benefits of school
 sports. Thank you for your time and efforts to improve the lives of all LGBTQIA+ students and
 staffs. Ryan Haymore, School Counselor




                                                                                                       AR_012942
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: Teacher Training
 Hello President Biden, I am in my 20th year as an elementary school teacher in California. The
 way to protect LGBTQ+ teachers is to have mandated training for teachers on LGBTQ+ issues.




                                                                                                      AR_012943
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Trans rights are hum
 Trans rights are human rights. Trans girls are girls. Trans boys are boys. Genderqueer folx are
 folx. Why we're still discussing this like it's a topic of debate and not a fact in this, the year of
 our Lord 2022, is beyond me. I'm a genderqueer high school teacher who has spent decades
 doing my best to protect kids from the stupidity of adult culture war nonsense, which has an
 immediate and immense impact on their emotional health and well-being and also leads to
 stigmatization, bullying, and violence against them. Trans rights are human rights. Trans girls
 are girls. Trans boys are boys. Genderqueer folx are folx. Why we're still discussing this like
 it's a topic of debate and not a fact in this the year of our Lord 2022 is beyond me. If we can't
 legislate to protect vulnerable young people, what's the point of having a government? Isn't it
 your job to protect everyone but ESPECIALLY the most vulnerable among us?




                                                                                                         AR_012944
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: Our students represe
 Our students represent America. We cannot ignore or deny parts of America. Students of all
 identities and orientations need to be welcomed and celebrated in their classrooms and schools. It
 is known that students learn best when they are comfortable and acknowledged, and it is in their
 best interests that they are protected by law.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: TX
 Story Title: I am a queer teacher
 I am a queer teacher in Texas and I believe that every student deserves to be supported and seen
 in the classroom. This bill is very important because it protects the rights of LGBTQ+ students- a
 group that is being heavily targeted right now. Most, if not all, students who identify as LGBTQ+
 experience some form of bullying or discrimination at school. This bill would set a good
 precedent that this discrimination is never acceptable. The bill should include language that
 deadnaming and mis gendering are harmful and illegal forms of sex-based bullying. I have seen
 the trauma that this causes students firsthand and think the bill should be amended to protect
 them from that harassment.




                                                                                                      AR_012946
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: I'm a parent of trans adult
 I'm a parent oftransgender adult that cares about LGBTQI+ equality. Luckily, my child attended
 schools in an area that is open and supportive. Not all children are so fortunate. Schools need to
 be a safe space for all people -- whatever there gender identity and expression. Education is a
 fundamental human right. It's also a fundamental human right for everyone to be who they are
 without fear of discrimination and bullying. The rule that makes it illegal to discriminate and
 bully based on sexual orientation, gender identity, sex characteristics (including intersex traits),
 and sex stereotypes is needed to ensure the safety of LGBTQI+ students. Unfortunately, this is
 because most LGBTQI+ students experience some form of anti-LGBTQI+ discrimination or
 bullying at school. The rule is missing a few additional protections that would really help protect
 students. The rule should require school's nondiscrimination policies to list "sexual orientation,
 gender identity, sex characteristics (including intersex traits), and sex stereotypes," since we
 know these policies are more effective when they do. The rule should clearly say that students
 must be able to use the girls' or boys' bathroom or locker room that corresponds with their
 gender identity, and the same goes for things like separate gender student housing and classes.
 The rule should encourage dress codes to be gender neutral by making clear that schools risk
 violating Title IX when they give different rules for boys and girls. The rule should clarify that
 deadnaming, mis gendering, and refusing to use the correct name or pronouns are harmful and
 illegal forms of sex-based bullying. Deadnaming, mis gendering, and refusing to use the correct
 name or pronouns can put kids in danger. Please protect our children by adding additional
 protections to the rule and approving the rule. Thank you!




                                                                                                        AR_012947
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: Everyone deserves ...
 Everyone deserves the right to a safe education.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: I am a teacher and I
 I am a teacher and I believe all students should be supported, protected, and safe at school.
 Schools nondiscrimination policies should be required to list sexual orientation, gender identity,
 sex characteristics (including intersex traits), and sex stereotypes. Students must be able to use
 the bathroom or locker room that corresponds with their gender identity. It needs to specify that
 deadnaming, mis gendering, and refusing to use the correct name or pronouns are harmful and
 illegal forms of sex-based bullying. Protect our LGBTQI+ students!




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: Trans students add i
 Trans students add important wisdom and perspectives to the community.




                                                                                                      AR_012950
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: I'm a middle school counselor and this is so important!
 Please vote to add this protection to Title 9! The rule clearly states that discrimination and
 bullying based on sexual orientation, gender identity, sex characteristics (including intersex
 traits), and sex stereotypes is illegal. We need this because most LGBTQI+ students experience
 some form of anti-LGBTQI+ discrimination or bullying at school. This is true in my school.
 Schools have to investigate anti-LGBTQI+ discrimination and bullying and act to prevent it from
 happening again. This is really important because we know that when LGBTQI+ students tell
 school staff this happened to them, many say nothing changes, or worse, that they are punished
 or told they should change. Here are some things the rule is missing: It should require school's
 nondiscrimination policies to list "sexual orientation, gender identity, sex characteristics
 (including intersex traits), and sex stereotypes," since we know these policies are more effective
 when they do. It should clearly say that students must be able to use the girls' or boys' bathroom
 or locker room that corresponds with their gender identity, and the same goes for things like
 separate gender student housing and classes. It should encourage dress codes to be gender neutral
 by making clear that schools risk violating Title IX when they give different rules for boys and
 girls. A separate rule will address school sports, but this one includes confusing language that
 could be misread as saying that excluding transgender students from boys' and girls' school
 sports teams is okay. All students should have access to the benefits of school sports. It should
 clarify that deadnaming, misgendering, and refusing to use the correct name or pronouns are
 harmful and illegal forms of sex-based bullying.




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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: AZ
 Story Title: All students need protection
 All students need protection and the queer and trans student population even more so. They aren't
 the subject to much peer bullying anymore, just the government and school districts. It is much
 bigger and more severe now so we need to be extra careful with making sure they are safe.




                                                                                                      AR_012952
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CO
 Story Title: Let them learn!
 My school has a large population ofLGBTQ+ students who want nothing more than to be part of
 the group of peers. They want to be loved and accepted by the peers AND teachers. They want
 to participate in extra curricular activities and see themselves represented in the class materials.
 They deserve to be treated like every other student - with respect, love, kindness, understanding,
 and acceptance.




                                                                                                    AR_012953
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: I'm an LGBTQI+ school
 I'm an LGBTQI+ school administrator working in the public school system. More importantly, I
 was an LGBTQI+ student in a school community that neither accepted nor protected me from
 bullying and harassment. Schools should provide a safe, positive and supportive environment for
 students, and when they don't students need to be able to assert their right to that space. These
 rules make clear that school staff must take an active role in supporting LGBTQI+, particularly
 trans and GNC students. These students have become political pawns in a campaign to erase
 LGBTQI+ Individuals from our communities. We need to make it crystal clear that these
 students belong not only in our school communities, but as empowered and valued members of
 society writ large. While there are areas where these rules need to be strengthened, they offer an
 important step towards equity and inclusion and I urge the administration to finalize these rules.




                                                                                                      AR_012954
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 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NJ
 Story Title: I'm a queer high school
 I'm a queer high school math coach and independent researcher who knows it is essential to have
 every 2SLGBTQIA+ student feel safe and seen in PK-12 Classrooms. My research is situated at
 the intersection of 2SLGBTQIA+ identity and mathematics identity. Based on this expertise, I
 can say that it is impossible for students to learn when the minimum standards of safety and
 belonging are not met (this is according to the brain science related to how we learn). For this
 reason, this rule is essential in all PK-12 (and beyond) settings. The rule, however, does not go
 far enough. There is no requirement that schools have a nondiscrimination policy that lists sexual
 orientation, gender identity, sex characteristics (including intersex folx), and sex stereotypes.
 Having a stated nondiscrimination policy such as this has been found most effective in fostering
 2SLGBTQIA+ safety, inclusion, and belonging. Similarly, the rule lacks a clear statement that
 students must be able to use the bathroom or locker room, student housing facility and separately
 gendered classes (like sex ed) that corresponds with their gender identity. The rule should also
 include language that requires schools to adopt gender neutral dress codes and it should clarify
 that things like deadnaming and misgendering students is harmful and are illegal forms of sex-
 based bullying. Finally, the rules language in relation to sports is slightly confusing, which could
 lead someone to misread the rule to say that excluding trans students from girls' and boys' sports
 teams is OK, which is again, contrary to research based recommendations about safety, inclusion
 and belonging for 2SLGBTQIA+ individuals.




                                                                                                        AR_012955
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 59 of 300       PageID 1949



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: VA
 Story Title: They're in your class whether you or they know it. Don't make the discovery
 traumatizing!
 We can't let biases born from cis and heteronormativity dictate the procedures and pedagogy of
 not-knowing and looking away. Once they discover who they are, let's make sure that they've
 received positive messages about themselves.




                                                                                                      AR_012956
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 60 of 300       PageID 1950



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: Protect Trans Youth
 Title IX should absolutely protect trans youth, especially when their own families will not.




                                                                                                      AR_012957
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 61 of 300      PageID 1951



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MN
 Story Title: Faith
 Many talk about Faith as a reason for withholding. But let me ask you, doesn't your faith speak
 to the acceptance of others? To do right by thy neighbor? To LOVE thy neighbor?! I have my
 God given Faith, empathy and understanding of what it takes to be a good person. Coming for
 my neighbors rights and freedoms goes against everything God stood for and what Jesus died for.
 We need to protect thy neighbor, not strip them of their basic human rights.




                                                                                                      AR_012958
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 62 of 300       PageID 1952



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Support
 I'm a gay teacher who wants everyone to feel supported and seen in the classroom. The rule
 clearly states that discrimination and bullying based on sexual orientation, gender identity, sex
 characteristics (including intersex traits), and sex stereotypes is illegal. We need this because
 most LGBTQI+ students experience some form of anti-LGBTQI+ discrimination or bullying at
 school. Schools have to investigate anti-LGBTQI+ discrimination and bullying and act to
 prevent it from happening again. This is really important because we know that when LGBTQI+
 students tell school staff this happened to them, many say nothing changes, or worse, that they
 are punished or told they should change. Here are some things the rule is missing or could do
 better and you can share your story or support for including these in the rule: It should require
 school's nondiscrimination policies to list "sexual orientation, gender identity, sex characteristics
 (including intersex traits), and sex stereotypes," since we know these policies are more effective
 when they do. It should clearly say that students must be able to use the girls' or boys' bathroom
 or locker room that corresponds with their gender identity, and the same goes for things like
 separate gender student housing and classes. It should encourage dress codes to be gender neutral
 by making clear that schools risk violating Title IX when they give different rules for boys and
 girls. A separate rule will address school sports, but this one includes confusing language that
 could be misread as saying that excluding transgender students from boys' and girls' school
 sports teams is okay. All students should have access to the benefits of school sports. It should
 clarify that deadnaming, misgendering, and refusing to use the correct name or pronouns are
 harmful and illegal forms of sex-based bullying.




                                                                                                         AR_012959
Case 4:24-cv-00461-O        Document 66       Filed 09/06/24       Page 63 of 300      PageID 1953



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: To let them be THEIR SELVES
 If they don't express their selves they will become miserable. and i do not think you want to live
 in a world with miserable people that can not be them selves because they are scared that they
 are going to get bullied. i have been bullied by my sexuality that i could not help but say i was
 straight for 10 years because i knew i was going to be made fun. I finally came out as a Non-
 binary Pansexual, polymerous person




                                                                                                      AR_012960
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 64 of 300       PageID 1954



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Sports are for ALL!
 Every kid deserves to play sports without discrimination! I support schools free of LGBTQIA+
 Discrimination of kiddos!




                                                                                                      AR_012961
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24       Page 65 of 300      PageID 1955



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: LGBTQ Students
 LGBTQ Students will remain marginalized in many parts of the country unless we protect them.
 We can not leave this to chance and we cannot leave this to individual communities to
 discriminate.




                                                                                                      AR_012962
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 66 of 300       PageID 1956



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: GA
 Story Title: I'm glad this rule would help protect trans students
 I'm glad this rule would help protect trans students. The rule clearly states that discrimination
 and bullying based on sexual orientation, gender identity, sex characteristics (including intersex
 traits), and sex stereotypes is illegal. We need this because most LGBTQI+ students experience
 some form of anti-LGBTQI+ discrimination or bullying at school. I'm a fom1er high school
 teacher, and I've seen some of this bullying first hand. However, this rule should require
 school's nondiscrimination policies to list "sexual orientation, gender identity, sex characteristics
 (including intersex traits), and sex stereotypes," since we know these policies are more effective
 when they do. It should also clearly say that students must be able to use the girls' or boys'
 bathroom or locker room that corresponds with their gender identity, and the same goes for
 things like separate gender student housing and classes. It should encourage dress codes to be
 gender neutral by making clear that schools risk violating Title IX when they give different rules
 for boys and girls. It should clarify that deadnaming, mis gendering, and refusing to use the
 correct name or pronouns are harmful and illegal forms of sex-based bullying. Lastly, this rule
 includes confusing language that could be misread as saying that excluding transgender students
 from boys' and girls' school sports teams is okay. All students should have access to the benefits
 of school sports.




                                                                                                         AR_012963
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 67 of 300       PageID 1957



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NY
 Story Title: Lives are on the Line
 Schools are supposed to be safe places for everyone, yet hate crimes against transgender
 individuals continue to rise. Not fully including transgender and queer individuals in protective
 legislation sends a message that you don't see them as important or of value. It's demoralizing
 and hurtful in school, but out of school it literally has life or death consequences. The murder
 rates oftransgender individuals rose in 2020 from 2019. Teaching people that it's not okay to
 mistreat others because of their gender expression starts in schools. Add trans gender and queer
 protections to your legislation. You will literally save lives




                                                                                                      AR_012964
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 68 of 300        PageID 1958



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: PA
 Story Title: All Students Deserve Cover Under Title IX
 I am a bi-sexual marketing professional that works at a university in Pennsylvania. I work with a
 large group of student-workers in my role at the university and I want all my students to have the
 same rights under Title IX regardless of their sexual orientation, gender identity, or sex
 characteristics. They all deserve to both feel and be safe at our institution and any institution they
 attend and be able to seek help from the school when they are being bullied. As it does not
 currently, it should be required that school's nondiscrimination policies list "sexual orientation,
 gender identity, sex characteristics (including intersex traits), and sex stereotypes," since we
 know these policies are more effective when they do. Most LGBTQI+ students experience some
 form of anti-LGBTQI+ discrimination or bullying at school. Which is why it is important that the
 rule clearly states that discrimination and bullying based on sexual orientation, gender identity,
 sex characteristics (including intersex traits), and sex stereotypes is illegal. It should also
 encourage dress codes to be gender neutral as it's not the schools place to decide what attire
 should be worn by which individual. It should also clarify that deadnaming, mis gendering, and
 refusing to use the correct name or pronouns are harmful and illegal forms of sex-based bullying.




                                                                                                          AR_012965
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 69 of 300       PageID 1959



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: NJ
 Story Title: As an educator ...
 As an educator, I believe that the safety of all students must come first. This includes our trans
 students. I am in favor of the Title IX change.




                                                                                                      AR_012966
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 70 of 300      PageID 1960



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: Protect LGBTQ+!Kids
 The bullying and harassing ofLGBTQ+ students is an epidemic in this country. We need to make
 schools safe for ALL kids. Please add LGBTQ protections to Title IX.




                                                                                                      AR_012967
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 71 of 300       PageID 1961



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: IL
 Story Title: Queer and Trans Students are at risk and under attack
 These changes are critical to preserve the safety of students and their ability to learn. To argue
 against them is to argue for and allow harm to students.




                                                                                                      AR_012968
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 72 of 300       PageID 1962



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MI
 Story Title: Every Day Is Uncertain
 I am a high school teacher and the leading advocate for LGBTQI+ students in our district. In the
 last 8 years, I have seen students be threatened and marginalized by peers, teachers,
 administrators, and yes, their own families. In many cases, these kids often face prejudice for
 who they are and endure the negativity of other people's ignorance. While things have improved
 in the last 8 years where I work, there is still a lot left to do in order to create a safe and
 welcoming learning environment for all kids. In this time, I also earned my doctorate in
 Sociology - specializing in gender equity and intersectionally complex oppression. We need
 federal policy that protects EVERYONE, regardless of where they are born or are growing up!
 Given the ridiculously hateful state policies that criminalize safe and supportive environments.
 In the last several months, I have also see the destruction that this type of persecution can create
 in my own family. My son and his partner were robbed of their business, home, and mental
 health because my in-laws don't understand their child's gender identity. Truly hateful.




                                                                                                        AR_012969
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 73 of 300      PageID 1963



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: WA
 Story Title: Every student deserves
 Every student deserves to be welcomed, celebrated, and supported. Unfortunately there are many
 places in our country that our queer or questioning students are bullied, discriminated against,
 and harassed. Peers, staff, the surrounding community, and our school systems need to continue
 to work to create safe spaces for LGBTQA+ students and staff. Everyone should be able to live
 their life as themselves and this should be a protected right.




                                                                                                      AR_012970
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24       Page 74 of 300      PageID 1964



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: OR
 Story Title: SAVE LIVES
 As a queer educator, I can tell you firsthand that our queer and trans students need to feel safe
 and affirmed in school. Data shows that by having just one affirming adult in a queer or trans
 students' life, suicide ideation decreases by 40%. Students spend many hours in school
 throughout the year. Many queer and trans students cannot be out safely at home. School should
 be a safe space so that they can learn effectively. Lawmakers who have zero understanding of
 child development are making harmful decisions about curriculum and policing teachers'
 abilities to create a safe space for learning because of misinformation and propaganda. Protect all
 queer and trans students across the US. Thanks




                                                                                                       AR_012971
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 75 of 300      PageID 1965



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: CA
 Story Title: I am a queer teacher
 I am a queer teacher working at a diverse, low-income school in San Lorenzo, California.
 Fortunately, Bay Area culture is very accepting of LGBTQ+ individuals and therefore, a lot of
 LGBQT+ educators are attracted to California schools. Passing anti-LGBTQ+ discrimination and
 bullying laws would not only attract more LGBTQ+ educators into the field during this year's
 teacher shortage, but it will prevent unnecessary suicides or self-harming behavior from queer
 minors that are the frequent targets of bullying and hate speech. Although
 homophobic/transphobic folx are loud, you should not prioritize their opinion over the feelings
 and experiences of LGBTQ+ people. Ignoring or shutting down homophobes does not result in
 oppression and hate crimes against straight and cis people. In contrast, ignoring or shutting down
 LGBTQ+ people continues the violence and hate towards this minority group in society. We have
 to be a part of the change and prioritize inclusivity and love over hate and violence.




                                                                                                      AR_012972
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 76 of 300       PageID 1966



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: MA
 Story Title: As a former teacher
 As a former teacher who led schools through the process of providing alternative bathroom
 options I can tell you that even the schools that think themselves progressive aren't serving the
 needs of all students.




                                                                                                      AR_012973
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 77 of 300       PageID 1967



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: TX
 Story Title: Research tells us
 Research tells us that LGBTQ+youth are at great risk of attempting suicide, but that simple acts
 such as respecting their pronouns and protecting their right to be safe in their identity decreases
 the risk by as much as 50%. Why would we not want to save children's lives, and let them grow
 up to be happy and healthy as their true selves?!




                                                                                                       AR_012974
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 78 of 300      PageID 1968



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: WA
 Story Title: I am a queer teacher
 I am a queer teacher working at a diverse, low-income school in San Lorenzo, California.
 Fortunately, Bay Area culture is very accepting of LGBTQ+ individuals and therefore, a lot of
 LGBQT+ educators are attracted to California schools. Passing anti-LGBTQ+ discrimination and
 bullying laws would not only attract more LGBTQ+ educators into the field during this year's
 teacher shortage, but it will prevent unnecessary suicides or self-harming behavior from queer
 minors that are the frequent targets of bullying and hate speech. Although
 homophobic/transphobic folx are loud, you should not prioritize their opinion over the feelings
 and experiences of LGBTQ+ people. Ignoring or shutting down homophobes does not result in
 oppression and hate crimes against straight and cis people. In contrast, ignoring or shutting down
 LGBTQ+ people continues the violence and hate towards this minority group in society. We have
 to be a part of the change and prioritize inclusivity and love over hate and violence.




                                                                                                      AR_012975
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 79 of 300        PageID 1969



 Individual self-reported they are a teacher, school administrator, or school staff and identify as
 LGBTQI+
 State: WA
 Story Title: Protect our LGBTQ+ kids!
 I am the parent of a transgender girl. We are fortunate to live in a progressive city (but in a red
 state). There is so much hatred that is fueled by all of the anti-LGBTQ+ media rhetoric & state
 legislation going on right now. Our kids deserve protection no matter what state they live in.
 They deserve to be addressed by their preferred name, they deserve to use bathrooms/locker
 rooms that match their gender identity, and they deserve to play sports! Please protect our
 children -- they are a threat to no one.




                                                                                                       AR_012976
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24      Page 80 of 300      PageID 1970




 Individual self-reported they are a teacher, school administrator, or school staff
 Alex
 State: NJ
 Story Title: Gender protections NOW!
 My students deserve the dignity of being recognized for who they are. Add protections for
 gender language now!




                                                                                              AR_012977
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 81 of 300    PageID 1971



 Individual self-reported they are a teacher, school administrator, or school staff
 Amalia
 State: CA
 Story Title: I support LGBTQ+ kid
 I support LGBTQ+ kids and their safety in schools




                                                                                               AR_012978
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 82 of 300       PageID 1972



 Individual self-reported they are a teacher, school administrator, or school staff
 Amie
 State: IL
 Story Title: I am a public school
 I am a public school teacher. Support our students! They need protection like every other child to
 be themselves and to be free of bullying or phobic actions.




                                                                                                      AR_012979
Case 4:24-cv-00461-O      Document 66      Filed 09/06/24      Page 83 of 300     PageID 1973



 Individual self-reported they are a teacher, school administrator, or school staff
 Andi
 State: IL
 Story Title: I am a teacher from the Midwest
 Through my tenure as a high school educator, I have see a growing number of students who have
 struggled in and out of the classroom. Our youth today face so many challenges and obstacles
 that can get in the way of academic success. I firmly believe that no one needs an additional
 hurdle to jump based solely on their gender or orientation!




                                                                                                 AR_012980
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 84 of 300        PageID 1974



 Individual self-reported they are a teacher, school administrator, or school staff
 State: CT
 Story Title: Protecting LGBTQ+ Teens
 As a teacher, I have seen firsthand how essential it is to provide protections for our LGBTQ
 youth. Within ten years at our small district, three students have lost their lives due to hate and
 countless others have endured bullying and harassment. We need laws that make it clear this is
 unacceptable.




                                                                                                       AR_012981
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 85 of 300      PageID 1975



 Individual self-reported they are a teacher, school administrator, or school staff
 Ann
 State: NY
 Story Title: It's discouraging
 It's discouraging that as a society we have to put laws in place to ensure the protection of
 children, but as an educator I have, unfortunately, found first hand that we do. Anyone who
 claims to care about children must support this legislation. To do otherwise diminishes us all as
 a society




                                                                                                     AR_012982
Case 4:24-cv-00461-O        Document 66       Filed 09/06/24       Page 86 of 300      PageID 1976



 Individual self-reported they are a teacher, school administrator, or school staff
 Becca
 State: KS
 Story Title: These are real human
 These are real human beings ... children ... loved ones that need care and looking after. We can't
 deny their existence, we need to help.




                                                                                                      AR_012983
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 87 of 300       PageID 1977



 Individual self-reported they are a teacher, school administrator, or school staff
 Blair
 State: CA
 Story Title: True authentic self
 As an educator, it is my hope and goal to welcome and celebrate all students. It is also imperative
 to show each of them that we all have gifts, talents, and being different and celebrating these
 differences makes the world a better place. When we listen to others, share our authentic selves,
 lift each other up, so many problems would be solved. These are our future leaders, our children,
 our friends, how can we as a society not protect these children from being their authentic selves.




                                                                                                       AR_012984
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 88 of 300    PageID 1978



 Individual self-reported they are a teacher, school administrator, or school staff
 Brittany
 State: TX
 Story Title: We need protections
 We need protections for queer and trans students be it saves lives




                                                                                               AR_012985
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 89 of 300       PageID 1979



 Individual self-reported they are a teacher, school administrator, or school staff
 Cynthia
 State: FL
 Story Title: I am an elementary school teacher
 I am an elementary school teacher and know that in order for students to succeed, they first need
 to be seen and supported. Fully acknowledging a student's existence should not be controversial
 or considered "inappropriate". To that end, this law should also include requiring schools to add
 gender identity, sexual orientation, and sex stereotypes to their non discrimination list. Without
 this basic right, LGBTQ students and their families will continue to feel excluded and unsafe: no
 student or parent of a student should feel that way. Additionally, deadnaming, correct pronoun
 refusal, and misgendering should be considered illegal sex-based bullying. No one has the right
 to undermine and ignore the existence of another, especially in a school setting. Additionally, all
 students should have access to all sports and bathrooms based on their gender identity. A
 student's existence is not based on the opinions of others so the law must be clear to protect
 students from those who would deny their right of autonomy and existence. All students need
 support, compassion, and acknowledgment of themselves in order to succeed in school and grow
 in to healthy adults. If we cannot protect all of our students in schools or choose to deny their
 existence, what are we telling our LGBTQ students and families about their future in this
 country?




                                                                                                       AR_012986
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 90 of 300       PageID 1980



 Individual self-reported they are a teacher, school administrator, or school staff
 Damie
 State: NM
 Story Title: Respect for all
 All students, all children, all teachers, everyone deserves to be true to who they are. They
 deserve to be respected and not be afraid to show others who they are. Bullying is never ok.
 Parents need to do better to teach their children acceptance and to honor all people and celebrate
 people for who they are.




                                                                                                      AR_012987
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24     Page 91 of 300      PageID 1981



 Individual self-reported they are a teacher, school administrator, or school staff
 Dee
 State: KY
 Story Title: This is a good start ... BUT
 It should clarify that deadnaming, misgendering, & refusing to use the correct name or pronouns
 are harmful & illegal forms of sex-based bullying.




                                                                                                   AR_012988
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 92 of 300       PageID 1982



 Individual self-reported they are a teacher, school administrator, or school staff
 Elizabeth
 State: MI
 Story Title: Queer and trans stud
 Queer and trans students deserve to be seen, heard, represented, and protected. Period.




                                                                                                AR_012989
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24      Page 93 of 300      PageID 1983



 Individual self-reported they are a teacher, school administrator, or school staff
 Jaclyn
 State: NJ
 Story Title:
 I believe everyone deserves to be appreciated and respected and have fair and equitable laws to
 promote equity for our LGBTQI family. With my ally ship I assist my school in upholding the
 rights for ALL of my LGBTQIA+ students and families. While seeking services fro those who
 dont have outside supports in the school system. Most services are far and limited. i do my best
 to be a clinical support and/or assist with resources. HOWEVER, WE NEED IDENTIFIED
 LAWS, CURRICULUMS, AND MANDATED TRAINING SO ALL EDUCATORS CAN
 ASSIST OUR STUDENTS. AS WELL AS MORE FACILITIES CAN BE LOCATED IN EACH
 STATE/COUNTY




                                                                                                    AR_012990
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 94 of 300       PageID 1984



 Individual self-reported they are a teacher, school administrator, or school staff
 Jean
 State: IL
 Story Title: I am a high school social worker
 I am a high school social worker and I see how hard it is for our kids to find their way and to fit
 in. They ALL deserve to feel valued, accepted and SAFE at school. Please help us to help
 THEM.




                                                                                                       AR_012991
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 95 of 300        PageID 1985



 Individual self-reported they are a teacher, school administrator, or school staff
 Jessica
 State: CA
 Story Title: Students thrive when ...
 Students thrive when they feel normal, heard, seen, celebrate, and included. Luckily, atin public
 schools this includes LGBTQ+ students and staff. But we feel the everyday pressure to justify
 existing. Protections are desperately needed because we are still recovering as a society. It's been
 acceptable for too long that tolerance is enough. The issue with that is it still allows enough grey
 area for intolerance to grow. We must move towards protection, acceptance, and celebration.
 Please ensure stronger title IX protections.




                                                                                                        AR_012992
Case 4:24-cv-00461-O       Document 66        Filed 09/06/24      Page 96 of 300      PageID 1986



 Individual self-reported they are a teacher, school administrator, or school staff
 Jordan
 State: GA
 Story Title: Support LGBTQ Youth
 We must protect all children's rights to safe educational spaces. Expand the coverage!!!




                                                                                               AR_012993
Case 4:24-cv-00461-O        Document 66       Filed 09/06/24       Page 97 of 300       PageID 1987



 Individual self-reported they are a teacher, school administrator, or school staff
 karen
 State: CA
 Story Title: Every Person Deserves to feel SAFE and INCLUDED
 As a school counselor I know how critical it is for ALL students to feel seen for their authentic
 selves! I know that one caring adult can save a life of a queer youth. We must be available, we
 must support - we in education are committed to care for our students and protect them in
 whatever ways we can. It starts with standing for diversity and inclusion.




                                                                                                     AR_012994
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24      Page 98 of 300       PageID 1988



 Individual self-reported they are a teacher, school administrator, or school staff
 kim
 State: IL
 Story Title: ALL deserve equal protection, and marginalized populations of people need specific
 mentioning!
 Some people don't and won't include Queer and trans students as a protected group be they are
 easily dismissed as being too young to know, or being rebellious, or not even considered people!!
 Leave no room for interpretation and be sure to make it clear that queer and trans students are
 protected!!




                                                                                                     AR_012995
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24       Page 99 of 300       PageID 1989



 Individual self-reported they are a teacher, school administrator, or school staff
 Layne
 State: NC
 Story Title: Because every child ...
 Because every child is someone's child. Every child should be treated with respect.




                                                                                                AR_012996
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24       Page 100 of 300        PageID 1990



  Individual self-reported they are a teacher, school administrator, or school staff
  Lyndsey
  State: OR
  Story Title: Our babies are not ok. ...
  I work as a middle school teacher and get to see and hear a diverese range of student voices
  everyday. The reality is that our LGBTQI+ students need us adult more than ever to amplify their
  voices and to protect them from discriminatory policies that are negatively impacting their
  lives .. .just a reminder, youth under 18 do not have the right to vote, so it is our job as a voting
  adults to vote for representatives who support all students in being free from discrimination and
  bullying in school. I want each every student to be given the same human right of an education
  free from discrimination and bias! We must enact legislation that protects students rights to be
  who they are - Lesbian, Gay, Bi-sexual, Transgender, Queer, Questioning, Intersex and
  more .... everyone deserves an equitable education free from hate!




                                                                                                          AR_012997
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24     Page 101 of 300      PageID 1991



  Individual self-reported they are a teacher, school administrator, or school staff
  Megan
  State: NJ
  Story Title: Protect queer and trans students
  Just because someone may be different doesn't mean we should treat them as less than.equality
  is equality.




                                                                                                  AR_012998
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  Individual self-reported they are a teacher, school administrator, or school staff
  Miles
  State: OR
  Story Title: Protect trans students
  It is critical that young people be protected and supported by institutions as they discover who
  they are. This is especially true for trans and queer youth who already face discrimination and
  threats. I strongly support Title IX's protection of queer and trans youth in schools.




                                                                                                     AR_012999
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: PA
  Story Title: We Need Protections for Queer and Trans Students SO THEY CAN LIVE
  I am a therapist in a public school in Philadelphia. I have seen first hand the damage that
  bullying and microaggressions have on LGBTQI* people. People have suffered, died, denied
  themselves and hurt so deeply. Please support legislation to affirm and protect our students. This
  will save lives.




                                                                                                       AR_013000
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  Individual self-reported they are a teacher, school administrator, or school staff
  Paulo
  State: OK
  Story Title: I'm a teacher who wants ...
  I'm a teacher who wants everyone to feel supported and seen in the classroom. Schools have to
  investigate anti-LGBTQI+ discrimination and bullying and act to prevent it from happening
  again. This is really important because we know that when LGBTQI+ students tell school staff
  this happened to them, many say nothing changes, or worse, that they are punished or told they
  should change. Area to improve: It should require school's nondiscrimination policies to list
  "sexual orientation, gender identity, sex characteristics (including intersex traits), and sex
  stereotypes," since we know these policies are more effective when they do.




                                                                                                   AR_013001
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  Individual self-reported they are a teacher, school administrator, or school staff
  Robert
  State: MA
  Story Title: At a time when trans
  At a time when transgender and other LGBTQI+ students are unfairly under attack and vilified in
  much of the United States for just wanting to be their true selves, it is critical that they have
  protection under federal law and Title IX. As a teacher, I want to do everything I can to support
  all of my students, especially those that are trans gender, gender-queer, or otherwise marginalized
  for their gender identify and sexuality. I am extremely fortunate to work at a school that supports
  all students regardless of their background, but even then there are issues of bullying and
  students who feel at risk or suffer from trauma and mental health issues related to their identity. I
  am supportive of Title IX stating that discrimination and bullying based on sexual orientation,
  gender identity, sex characteristics (including intersex traits), and sex stereotypes is illegal.
  However, it can go even further in its effectiveness to support LGBTQI+ students, by requiring
  schools' nondiscrimination policies to list "sexual orientation, gender identity, sex characteristics
  (including intersex traits), and sex stereotypes, identify that students should be able to use
  changing rooms and bathrooms that correspond to their gender identity, prevent transgender
  students from being excluded from athletics, encourage gender neutral dress codes, and clarify
  that deadnaming and purposefully using a student's incorrect pronouns are acts of bullying.
  Please act to provide more support for these students that truly need it.




                                                                                                          AR_013002
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  Individual self-reported they are a teacher, school administrator, or school staff
  Roselinn
  State: CA
  Story Title: It is our responsibility to protect LGBTQIA+ students!
  President Biden et al, I voted for you. I believe in you. I know that in your heart of hearts you
  support ALL people from every group from small to tall. It's imperative that you use love and
  power to protect our children. This generation believes in acceptance at all levels, and we as
  parents must continue to support that way of thinking. To protect our LGBTQIA+ students and
  their friends at the highest level is a requirement to ensuring we raise a strong, healthy, loving
  contingent of individuals. We are at our strongest within a strong community of supporters, and
  lives are at stake. I implore you to take all measures to ensure a save environment for our
  children everywhere.




                                                                                                       AR_013003
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  Individual self-reported they are a teacher, school administrator, or school staff
  Sheena
  State: OH
  Story Title: Saving Lives
  Honoring a students' pronouns, not using their dead names, and protecting them is key to saving
  lives. As a digital crisis counselor, a teacher, and a GLSEN board member, I've seen how
  important it is for students to have a safe place in school with caring and supportive adults to talk
  to.




                                                                                                          AR_013004
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  Individual self-reported they are a teacher, school administrator, or school staff
  Suzy
  State: MI
  Story Title: It is my duty as a teacher
  It is my duty as a teacher to help students grow. To do this they must all feel safe & cared for.
  Having a GSA Club at our school and the Safe Space sticker on many teachers' doors helps build
  a living & supportive learning environment for ALL.




                                                                                                      AR_013005
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  Individual self-reported they are a teacher, school administrator, or school staff
  Tiffanie
  State: TX
  Story Title: From the Classroom to the Board Room, Queer & Trans Students Deserve to be
  Protected
  I am a two-time teacher of the year and current board member who ran for school board because
  I was tired of having to beg elected officials to recognize the full humanity of our students. It is a
  moral imperative that we protect Queer and Trans students. These protections are tied to our
  shared humanity. We can't talk about needing more mental health services and the rising rates of
  death by suicide in young people while neglecting the harm we are complicit in when we fail to
  protect the humanity and dignity of Queer and Trans students, knowing that they die by suicide
  at higher rates. We can't purport to care about academic outcomes when our lack of protecting
  for Queer and Trans students promote physically, mentally, emotionally and socially dangerous
  environments where their amygdala's are hijacked, causing a flight, fight or freeze response and
  negatively impacting their ability to achieve academically or in any other capacity. We MUST do
  better. We must protect these students. No one is free until we are all free.




                                                                                                           AR_013006
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  Individual self-reported they are a teacher, school administrator, or school staff
  William
  State: NJ
  Story Title: High School GSAAdvisor
  I've noticed the rise in discrimination throughout the country. Luckily the area I live in seems to
  be more tolerant. At the same time, we are hearing voices who are against any mention of
  LGBTQ+ issues; local congressmen are spearheading policies that disallow teachers from
  speaking on such things, as well as students reading about them. Again, I am fortunate where
  there is more support, but I also want to make sure that discussion and reading of such topics are
  safe for students.




                                                                                                        AR_013007
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title: Suffering
  Our Trans and Queer youth are suffering through ongoing Hate Crimes, and it seems that no one
  cares. Please provide more in the form of legislation to protect our children.




                                                                                                  AR_013008
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: WI
  Story Title: It Matters That Teachers Are On Board
  As a mother of a gay son & an advisor for our school's GSA, I feel passionate about supporting
  students in schools and educating staff about LGBTQ+ issues. I've seen first-hand how well
  students thrive when given protections against bullying and harassment. Students light up when
  they see themselves represented in our school's hallways. Making it a practice to ask students'
  preferred names and pronouns gives staff an opportunity to explain why, so that all students hear
  their teachers speaking positively about our gender revolution and all students are given the
  respect they deserve. Acceptance is a form of love. It does not necessarily require agreement or
  even understanding. Accepting, supporting, and caring for LGBTQ+ students saves lives. It is
  every teacher's responsibility. And for me, it is a great joy.




                                                                                                      AR_013009
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: KS
  Story Title: Kids Need Our Support
  As a school teacher and administrator for 38 years, I cannot remember a time where a group of
  students have been more attacked or used as a political pawn than the current situation for
  LGBTQ+ students. What makes it so difficult is that those who openly support, or try to support
  these kids are then relentlessly attacked. All our marginalized groups need supported, but
  unfortunately, I believe the LGBTQ+ students may be the group in most need. Ifwe truly believe
  that educational success comes from relationships with others, from being able to be their
  authentic selves, and from being able to explore their futures, then protections must be in place
  so they feel they are safe to do so. My daughter happens to be trans, so I have personally seen her
  struggles up close. She knows she has had an easier time than many, yet she has still encountered
  problems just trying to be herself. We owe it to everyone to create a place for them to belong.




                                                                                                        AR_013010
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: Protect our students now!
  I run the GSA for my high school in Taunton, Massachusetts. I am livid at the state of affairs in
  our country. Every day, more and more bigotry gets a free pass, or even enshrined into state law.
  Enough is enough! Enact federal protections for queer and trans students now! We cannot afford
  to waste any more time. These students' lives are at stake!




                                                                                                      AR_013011
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: PA
  Story Title: I have worked with queer and trans youth
  I have worked with queer and trans youth for over 25 years. I see every day the impact of a
  positive or negative school experience, and it breaks my heart to witness the unnecessary pain
  these kids experience when they are exposed to discrimination and bullying. It's horrible when it
  comes from peers, but it's SO MUCH WORSE when it comes from the teachers, administrators,
  and school boards who are supposed to protect our kids. Schools must make it clear that anti-
  LGBTQI+ bullying is illegal and will be immediately investigated and punished.
  Nondiscrimination policies should be required to specify sexual orientation, gender identity, sex
  characteristics (including intersex traits), and sex stereotypes," in order to be unambiguous.
  Dress codes should be gender neutral and not give different rules for boys and girls in dress and
  expression. All students should have access to the benefits of school sports, and excluding
  transgender students from boys' and girls' sports teams should not be permitted. The rule should
  make clear that the insidious and devastating practices of deadnaming, mis gendering, and
  refusing to use the correct name or pronouns are harmful and illegal forms of sex-based bullying.
  No one can learn when they are putting all of their energy into simply surviving. All youth
  deserve to learn in a supportive and affirming environment so they can develop into healthy,
  productive adults who can make society a better place.




                                                                                                      AR_013012
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title:
  Because they are people too.




                                                                                               AR_013013
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: TX
  Story Title:
  It is imperative that all students in PK-12 schools are treated fairly and equitably in ways that do
  not discriminate. Our schools must be safe, inviting places for all students including and in
  particular, especially for students in the 2SLGBTQUI+ community, their families and friends.
  There should be no bullying or discrimination allowed.




                                                                                                         AR_013014
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: HI
  Story Title: Protect LGBTQIA2S+ Students
  Our students deserve protection, support, and love. Misgendering is harmful and must be directly
  addressed.




                                                                                                     AR_013015
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title: Advocate
  I am a teacher in an elementary school. I continue to learn and grow to make sure that my
  classroom is a safe place where all students can thrive. We must advocate fiercely to protect
  LGBTQI+ students, so that they can access education without fear.




                                                                                                  AR_013016
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: WI
  Story Title: I am a teacher educa
  I am a teacher educator who strongly believes that schools should be a safe and supportive place
  for people of all identities, including LGBTQIA+ identities. I support the Title IX rule.




                                                                                                     AR_013017
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CO
  Story Title: Students need your help!
  More than ever, people in our country are harming those they see as different. We must stand up
  and protecting them.




                                                                                                    AR_013018
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NY
  Story Title:
  Ensure the law includes protection about gendered pronouns use and respecting them.




                                                                                                AR_013019
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title:
  I'm a teacher who wants everyone to feel supported and seen in the classroom. LGBTQI+
  discrimination and bullying in schools is illegal, but we know it still happens all the time.
  LGBTQI+ students who are transgender, nonbinary, students of color, and students with
  disabilities face particularly hostile school climates. The Biden Administration has proposed a
  Title IX rule that would make it clear that anti-LGBTQI+ discrimination and bullying is
  unacceptable and must be responded to quickly and effectively. The rule clearly states that
  discrimination and bullying based on sexual orientation, gender identity, sex characteristics
  (including intersex traits), and sex stereotypes is illegal. We need this because most LGBTQI+
  students experience some form of anti-LGBTQI+ discrimination or bullying at school. Schools
  have to investigate anti-LGBTQI+ discrimination and bullying and act to prevent it from
  happening again. This is really important because we know that when LGBTQI+ students tell
  school staff this happened to them, many say nothing changes, or worse, that they are punished
  or told they should change. Here are some things the rule is missing or could do better. These
  should be addressed: It should require school's nondiscrimination policies to list "sexual
  orientation, gender identity, sex characteristics (including intersex traits), and sex stereotypes,"
  since we know these policies are more effective when they do. It should clearly say that students
  must be able to use the girls' or boys' bathroom or locker room that corresponds with their
  gender identity, and the same goes for things like separate gender student housing and classes. It
  should encourage dress codes to be gender neutral by making clear that schools risk violating
  Title IX when they give different rules for boys and girls. A separate rule will address school
  sports, but this one includes confusing language that could be misread as saying that excluding
  transgender students from boys' and girls' school sports teams is okay. All students should have
  access to the benefits of school sports. It should clarify that deadnaming, mis gendering, and
  refusing to use the correct name or pronouns are harmful and illegal forms of sex-based bullying.
  Thank you for your addressing of this important educational issue.




                                                                                                         AR_013020
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: PA
  Story Title:
  I am a teacher who wants everyone to feel supported and seen in our schools.




                                                                                               AR_013021
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: WA
  Story Title:
  I teach in a small rural community where students are often isolated and not supported. We need
  to change this and ensure all students feel safe.




                                                                                                    AR_013022
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: WA
  Story Title: Community
  Community means everyone, unified, working together for a better future. Everyone has no
  alternative and schools should be for everyone.




                                                                                             AR_013023
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: MI
  Story Title: All means all
  I just believe that until the day that students are always treated the same no matter what they look
  like, sound like, think like, act like, or any other different characteristic that we need to ensure
  protections for any vulnerable group or individual.




                                                                                                         AR_013024
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title: Teaching the Future
  I am an educator. I have the privilege of working with 7th grade students for 75 minutes each
  day. I want all of my students to feel safe in my classroom. Please protect all students. Please
  protect my most vulnerable queer and trans students.




                                                                                                     AR_013025
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CO
  Story Title: ALL Students Matter
  As a school counselor and teacher for the last 24 years, I have seen first hand how not feeling
  accepted for who you are demolishes students' mental health. All students deserve to feel safe
  and accepted at school. If we are to educate our children they have to feel safe and valued at
  school.




                                                                                                    AR_013026
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NJ
  Story Title: I'm a middle school counselor
  I'm a middle school counselor, Advisor to our GSA, private psychotherapist and parent of an
  amazing young woman who identifies as gay. It is perplexing and downright disturbing that
  anyone would ever question the right of any student to feel safe and protected while at school.
  However, since there continue to be evidence of antidiscrimination and bullying toward
  LGBTQ+ students in our schools across the country, it is critical that there are laws and policies
  in place to provide the level of protection that all students deserve.




                                                                                                       AR_013027
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title: Safe Schools for ALL
  I'm a teacher and I want everyone to feel supported and seen in the classroom. I support the
  proposed Title IX rule that would make it clear that anti-LGBTQI+ discrimination and bullying
  is unacceptable and must be responded to quickly and effectively. We need this because most
  LGBTQI+ students experience some form of anti-LGBTQI+ discrimination or bullying at
  school. It should require school's nondiscrimination policies to list "sexual orientation, gender
  identity, sex characteristics (including intersex traits), and sex stereotypes," since we know these
  policies are more effective when they do. But there are some things that could be even clearer: It
  should clearly say that students must be able to use the girls' or boys' bathroom or locker room
  that corresponds with their gender identity, and the same goes for things like separate gender
  student housing and classes. It should clarify that deadnaming, misgendering, and refusing to use
  the correct name or pronouns are harmful and illegal forms of sex-based bullying. It should
  encourage dress codes to be gender neutral by making clear that schools risk violating Title IX
  when they give different rules for boys and girls. Finally, it should clarify that ALL students
  should have access to the benefits of school sports, and provide guidance for trans gender
  students to compete on teams that correspond to their gender identity.




                                                                                                         AR_013028
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: Kids can't learn if
  Kids can't learn if they don't feel safe and seen. It's that simple. Under the law they have the
  right to a free education. They will be paying taxes just like everyone else. They deserve an equal
  education. It's the government's responsibility to put laws in place that protect them.




                                                                                                        AR_013029
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: GA
  Story Title: From an educator
  I'm a middle school Language Arts teacher. I see firsthand how important it is for my students to
  feel seen and validated in the stories we read together, the books we have on our shelves, and in
  the ideas we discuss in class. Through writing, my students work to find their voices and develop
  their own identities. All children deserve schools where they feel safe to explore their identity,
  regardless of who they are or how they identify. It is our job as educators to help them grow into
  confident, capable adults who understand the power of their voice and their ability to make good
  in the world. It is important the laws are put in place to protect our LGBTQI+ students who are
  particularly vulnerable to bullying and harassment. Schools should work to be safe spaces where
  nondiscrimination policies include sexual orientation and gender identity, in addition to limiting
  ways in which gender plays a role within the building (bathrooms, gendered classes, dress code).
  Our children deserve spaces where they do not have to live in fear of deadnaming or forced
  pronoun adoption. When these conditions are met, we build spaces of tolerance that are better for
  everyone.




                                                                                                       AR_013030
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NM
  Story Title: Some of my students
  Some of my students are LGBTQ+, and they deserve to be protected. Some of my family are
  LGBTQ+, and they deserve to be protected. There are a lot of members of the community, and
  they deserve to be protected. They all have a right to be protected.




                                                                                               AR_013031
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: FL
  Story Title: We need to make educational policy
  We need to make educational policy that supports the whole child. I strongly support the Biden
  administration's proposed Title IX rule and encourage you to go further by requiring schools to
  explicitly include sexual orientation, gender identity, sex characteristics, and sex stereotypes in
  non-discrimination policies and to expressly grant access to school spaces and activities-
  including bathrooms, locker rooms, and extracurricular activities-that correspond to students'
  self-identified gender identities. Furthermore, persistently and intentionally misgendering and
  deadnaming students should be recognized in schools' anti-bullying policies as a form of
  harassment. These changes will improve the learning of all students and quite literally save the
  lives of some LGBTQIA+ students.




                                                                                                        AR_013032
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IL
  Story Title: I teach in a rural school district
  I teach in a rural school district where change to school policy only comes if mandated by the
  legislature or ruled to do so by the courts. Otherwise, the status quo endures, which is damaging
  to students who are forever in the minority.




                                                                                                      AR_013033
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: MA
  Story Title: Protect Trans Students
  When I was 15, back in the early 90s, one of my best friends came out as trans. It was an
  extremely unusual and brave thing to do then. My friend faced occasional taunting (Hey, is that a
  boy or a girl?) but thankfully not much more than that. They were extemely lucky and their story
  was unusual. I helped that we were in liberal eastern Massachusetts. Today trans and nonbinary
  identities have become more common, but many people are still wary and unsupportive of
  people who don't conform to the traditional gender binary. LGBTQIAA youth face bullying,
  harrassment and denial of gender-affirming care. Suicide rates are still way too high in the
  LGBTQIAA community. As a teacher, I have seen trans students thrive in a supportive
  environment. Trans and non-binary everywhere deserve legal protections against those who
  would try and tell them that they do not deserve the same respect due to every other human
  being.




                                                                                                      AR_013034
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NY
  Story Title: As a GSA advisor
  As a GSA advisor in a middle school, I hear first hand how difficult life can be for LGBTQ+
  students. We need to educate people so these children can come to school feeling safe and
  protected.




                                                                                                AR_013035
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: Protect Queer and Trans students
  Because children deserve to be seen, to be safe and to be protected for who they are. Schools are
  safe havens and we must support out children's identities, believe what they tell us about who
  they are and protect them from the bigoted and hatred of the outside world.




                                                                                                      AR_013036
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: MA
  Story Title:
  The thing that so many conservatives, transphobes, and TERFs are scared of is that trans people
  exist. Full stop. They come up with their bullshit conspiracy theories, they claim it's grooming,
  but in the end they've always existed and still do. And everyone who exists has a right to fair
  treatment and happiness. It doesn't matter if you go deep into the academic study of gender or
  you don't understand that stuff at all; trans people exist and that alone is enough to say that
  discrimination against them is wrong.




                                                                                                      AR_013037
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: FL
  Story Title: Protect All Students
  As a teacher in Florida, I've seen the damage that these new anti-trans and lgbtq+ bills do to our
  students. I believe that all of our students deserve the same protections regardless of their identity
  and that these new bills are discriminatory in their nature. We need to respect everyone and thus
  need to ensure these students have protections from bigots who seek to push their beliefs on
  students.




                                                                                                           AR_013038
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NJ
  Story Title: This is for all students
  Every student needs to see that we will not stand for hate. Every student needs to see that we will
  do everything we can to foster safety and belonging. This must be a priority, and we have a duty
  of care to our future. As a long time educator I have seen the harm done in being silent. And I
  have seen what it means to demonstrate solidarity and to develop leaders who have empathy at
  the heart and soul of what they do.




                                                                                                        AR_013039
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: VA
  Story Title: I am teacher in a public school in Portsmouth, VA
  Students are being harassed daily--teachers either don't recognize this or choose to ignore it.
  Education of our teachers is needed to prevent harassments of any students being bullied for
  gender or sexual affiliation.




                                                                                                    AR_013040
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: NC
  Story Title: I am a school counselor
  I am a school counselor and I believe every student should be treated humanely, and be free from
  any form of harassment. I would like for every student to be supported and seen in the classroom
  and the hallways. Anti-LBGTQI+ behaviors are too often ignored by adults and students alike.
  This proposed rule clearly states that discrimination and bullying based on sexual orientation,
  gender identity, sex characteristics (including intersex traits), and sex stereotypes is illegal. We
  need this because most LGBTQI+ students experience some form of anti-LGBTQI+
  discrimination or bullying at school. While this rule is important and historic, it should clarify
  that deadnaming, misgendering, and refusing to use the correct name or pronouns are harmful
  and illegal forms of sex-based bullying. It should also clearly say that students must be able to
  use the girls' or boys' bathroom or locker room that corresponds with their gender identity, and
  the same goes for things like separate gender student housing and classes. These are clearly
  equity and human rights issues, and I hope to see the rules strengthened in clear support of all
  LGBTQI+ students.




                                                                                                         AR_013041
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: In Honor of My Mother & My Students
  I must speak up on behalf of our queer and trans students because I saw for myself how deeply
  damaging homophobia and hate are to LGBTQ+ people. My mother suffered clinical depression
  for years due to the oppression she faced as a deeply closeted lesbian. And as a proud sponsor of
  the Gay-Straight Alliance at the high school where I taught, our Be Yourself Club, my students
  shared stories with me that crushed my heart. Rejected by their deeply religious (but not
  spiritual) parents, harassed and traumatized by homophobes at school, these students had never
  known what it felt like to have a safe space. Over a 7 years period, the student leaders of the club
  worked courageously to change the environment of the school from openly hostile to one of
  acceptance and support. Their work saved lives! Now, because of the rise of the religious right,
  their hard fought progress is being threatened and LGBTQ+ students' lives will be at risk. We
  must fight to hold the line. Our queer youth are a vital, precious, and integral part of the fabric of
  our nation. I stand with them all against the anti-spiritual agents of hate. Stand with us too, in the
  name of all that is just, ethical, and kind to protect our collective futures!




                                                                                                           AR_013042
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: OH
  Story Title: Equality
  We saw our rights crushed this summer with the overturning of Roe v. Wade. When one group's
  human rights are taken away, others' rights are sure to follow. History is on my side with this
  statement, and as a history teacher it is my obligation to teach our LGBTQI+ students (all
  students, really) and empower them to act politically to protect ALL human rights. Also,
  weaponized Christian Nationalism is a threat to us all, particularly the beautiful rainbow that is
  the LGBTQI+ community!




                                                                                                       AR_013043
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: AL
  Story Title:
  I have no special story of homophobia or anything, but I've seen bits and pieces. I just want
  people to feel equal and good about themselves, and to go to school and be afraid to express
  themselves the way they want hurts.




                                                                                                  AR_013044
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: ME
  Story Title: All of our students need protections especially our Queer and Trans Students
  I am a teacher educator. I work with future teachers, practicing teachers and K-12 students. In
  order to build safe communities of learning all student identities must be valued and protected.
  Students can't learn if they are questioning whether the learning space values their perspective
  and lived experience. We must do more to protect queer and trans students. The statistics on
  suicide for this student population is scary. We need schools to be safe spaces in order to combat
  this statistic.




                                                                                                       AR_013045
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: MI
  Story Title: My Community is Full of Hate
  I am a teacher in a nearby semi-rural, heavily Republican school district. Racism, homophobia,
  and transphobia run rampant and are the topic of lengthy, brutal school board meetings. We have
  four school board candidates running under the slogan of "Education Not Indoctrination." Their
  campaign signs are all over town. As a teacher of secondary students, my job is to reach all of
  my students to deliver curriculum. Kids cannot focus on content if they are constantly being
  berated and belittled by their peers, their community, and, even sometimes their teachers. My
  heart breaks for these kids who are just trying to make it through their days.




                                                                                                    AR_013046
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: Our most vulnerable
  Our most vulnerable students need to be protected.




                                                                                               AR_013047
Case 4:24-cv-00461-O        Document 66       Filed 09/06/24       Page 151 of 300       PageID 2041



  Individual self-reported they are a teacher, school administrator, or school staff
  State: KS
  Story Title: Protect LGBTQIA students
  I am a high school educator. I have worked at a Catholic school and in public schools for almost
  10 years. I have been in the position to be a quiet supporter of queer students in the parochial
  district and a loud and proud supporter in the public schools. I much prefer being able to stand up
  and voice my support for my students. I have seen firsthand how much students need the support
  of allies in the staff and in the student population. They do not always have the support at home
  and are in the midst of figuring out their identity at the most important time of their lives -
  teenagers approaching adulthood. It is such a small ask to respect students' preferred names and
  pronouns. I want to help students feel safe, included, and accepted. I want to lower that
  percentage/number of suicides committed by LGBTQIA students who have not felt safe,
  included, and accepted in their communities. Students who have acceptance and support at
  school are less likely to engage in harmful behaviors. Two easy ways that my school has tried to
  be more inclusive is by having all seniors wear the same color of graduation gowns, making
  gender neutral bathrooms accessible to students who need them - also in a safe place (office
  area), and adopting a more gender neutral dress code. All students must wear a shirt with straps,
  have the midriff covered, and wear pants or the equivalent that goes to mid-thigh. I am still
  concerned about the handling of names and pronouns by the staff and with communication with
  parents. No one should be outed or misnamed or misgendered. Every effort should be to protect
  students.




                                                                                                        AR_013048
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: WI
  Story Title: Protect 2SLGBTQIA+ Students in Schools
  I'm a teacher who has spent the last dozen years in rural districts, and I want every student to feel
  loved and accepted for who they are in my classroom. But one teacher alone can't change
  system, and that's where the administration's proposed rule comes in. The rule clearly states that
  discrimination and bullying based on sexual orientation, gender identity, sex characteristics
  (including intersex traits), and sex stereotypes is illegal. We need this because most LGBTQI+
  students experience some form of anti-LGBTQI+ discrimination or bullying at school. I see this
  in my work, and it breaks my heart. I would also encourage the administration to consider
  requiring school's nondiscrimination policies to list "sexual orientation, gender identity, sex
  characteristics (including intersex traits), and sex stereotypes," since we know these policies are
  more effective when they do. Every student deserves a safe and affirming environment when
  they come to school. Please help make that a reality.




                                                                                                          AR_013049
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24      Page 153 of 300       PageID 2043



  Individual self-reported they are a teacher, school administrator, or school staff
  State: CO
  Story Title: Queer and trans students
  Queer and trans students need protections because adults are actively campaigning against their
  safety and well-being in every comer of this country. My state has a gay governor and we still
  have parents complaining that their third grade teacher included a pride flag in a short lesson
  about flags and cultures.




                                                                                                    AR_013050
Case 4:24-cv-00461-O       Document 66       Filed 09/06/24      Page 154 of 300      PageID 2044



  Individual self-reported they are a teacher, school administrator, or school staff
  State: NJ
  Story Title: I'm a teacher who wants ...
  I'm a teacher who wants everyone to feel supported and seen in the classroom. Schools have to
  investigate anti-LGBTQI+ discrimination and bullying and act to prevent it from happening
  again. This is really important because we know that when LGBTQI+ students tell school staff
  this happened to them, many say nothing changes, or worse, that they are punished or told they
  should change. The new law/bill should clarify that deadnaming, mis gendering, and refusing to
  use the correct name or pronouns are harmful and illegal forms of sex-based bullying. I am so
  proud to work in a district in NJ that has had nongender bathrooms for years in all buildings.




                                                                                                   AR_013051
Case 4:24-cv-00461-O        Document 66        Filed 09/06/24      Page 155 of 300        PageID 2045



  Individual self-reported they are a teacher, school administrator, or school staff
  State: CA
  Story Title: Protect our queer and trans youth
  I am an educator who has been teaching middle school and teaching teachers for over 20 years.
  As an educator who has worked with thousands of children, I know how important it is for
  students to be seen, affirmed and cared for. We must be committed to the well-being of our
  students. Students cannot learn if they don't feel accepted for who they are and don't feel safe at
  school. LGBTQ youth are more than four times as likely to attempt suicide than their peers
  (Johns et al., 2019; Johns et al., 2020), not because of their identities as LGBTQ, but largely as a
  result of bullying or non-affirming spaces. The proposed rule clearly states that discrimination
  and bullying based on sexual orientation, gender identity, sex characteristics (including intersex
  traits), and sex stereotypes is illegal. We need this because most LGBTQI+ students experience
  some form of anti-LGBTQI+ discrimination or bullying at school. We must show our queer and
  trans students that they matter. Schools have to investigate anti-LGBTQI+ discrimination and
  bullying and act to prevent it from happening again. This is really important because we know
  that when LGBTQI+ students tell school staff this happened to them, many say nothing changes,
  or worse, that they are punished or told they should change. While the rule is an important start,
  the rule should also require school's nondiscrimination policies to list "sexual orientation, gender
  identity, sex characteristics (including intersex traits), and sex stereotypes," since we know these
  policies are more effective when they do. It should clearly say that students must be able to use
  the girls' or boys' bathroom or locker room that corresponds with their gender identity. The rule
  also should encourage dress codes to be gender neutral by making clear that schools risk
  violating Title IX when they give different rules for boys and girls. A separate rule will address
  school sports, but this one includes confusing language that could be misread as saying that
  excluding transgender students from boys' and girls' school sports teams is okay. All students
  should have access to the benefits of school sports. Finally, the rule should clarify that
  deadnaming, mis gendering, and refusing to use the correct name or pronouns are harmful and
  illegal forms of sex-based bullying.




                                                                                                         AR_013052
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: IN
  Story Title: I spent 6 years as a substitute teacher
  I spent 6 years as a substitute teacher in suburban St. Louis, Missouri. I was lucky enough to
  have several queer students in my various classes, and the idea that I would be functionally
  forbidden from keeping them safe in the classroom is horrifying. It is nigh impossible for a
  student to properly devote their attention to learning when they are faced with an omnipresent
  threat of physical and psychological harm. Codifying LGBTQ+ protections into Title IX rules
  would give teachers like my former colleagues the power and duty to stop such harassment, as
  well as the legal support to make such interventions mean something. This is especially
  important in the face of a rising tide of hysterical arguments backed by little science and less
  rationality. At their best, these arguments display a reasonable but unfounded concern for
  students' safety. At their too-common worst, they are simply anti-desegregation arguments with
  the serial numbers filed off I implore the administration to enact full-throated protection for
  LGBTQ+ students under Title IX.




                                                                                                     AR_013053
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: OH
  Story Title: Kids need every form of support
  I am a mathematics educator with 25 years of experience. I know and see the harm done when
  students cannot be themselves and be treated as the beautiful people they are. Please be sure that
  the final Title IX rule makes clear that discrimination based on sex stereotypes and sex
  characteristics is illegal. Please ensure that students can use the restrooms that correspond with
  their gender identity. Please ensure that dress codes are gender neutral. Please ensure that
  deadnaming, misgendering, and refusal to use the correct pronouns are identified as sex-based
  bullying and thus illegal. Thank you very much.




                                                                                                       AR_013054
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  Individual self-reported they are a teacher, school administrator, or school staff
  State: PA
  Story Title: I'm a teacher who wants ...
  I'm a teacher who wants everyone to feel supported and seen in the classroom. Schools have to
  investigate anti-LGBTQI+ discrimination and bullying and act to prevent it from happening
  again. This is really important because we know that when LGBTQI+ students tell school staff
  this happened to them, many say nothing changes, or worse, that they are punished or told they
  should change. The new law/bill should clarify that deadnaming, mis gendering, and refusing to
  use the correct name or pronouns are harmful and illegal forms of sex-based bullying. I am so
  proud to work in a district in NJ that has had nongender bathrooms for years in all buildings.




                                                                                                   AR_013055
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MD
  Story Title: All students deserve
  All students deserve safe places to live and learn and be themselves. Queer and trans and
  LGTBQIA+ students do not currently have that nationwide and federal protection is necessary,
  as it is a civil right.




                                                                                                     AR_013056
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IL
  Story Title: All students should
  All students should feel safe and supported at school. Schools are intended to be inclusive and
  safe places for kids to grow and learn. This applies to ALL students. I support the Biden
  administration's proposal to protect LGBTQI+ student's rights.




                                                                                                     AR_013057
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: WA
  Story Title: What is Freedom?
  So many people seem to think that somehow their religious freedom equates to oppressing
  others; LGBTQIA2S students aren't "forcing" others to "join" them. They just want to exist. Be
  safe. Have access to health care. Have access to due process if they are not safe. LIVE.




                                                                                                     AR_013058
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: PA
  Story Title: Please protect LGBTQI+ students
  These students' rights are just as valuable as any other student's rights are. They should not be
  discriminated against based on their sexual orientation or gender. I support this bill.




                                                                                                      AR_013059
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MD
  Story Title:
  There is a saying that I recently heard: compassion without understanding. It does not matter one
  bit if people don't fully understand another who is non-binary or trans, but it's time to protect our
  most vulnerable. LGBTQIA individuals are not new, it's not a fad, they exist and they always
  have since the dawn of time. We need to protect children first and foremost: ALL CHILDREN.
  And we need to support the families who love them and are trying to honor their existence. Stop
  the war against trans and lgbtqia individuals and better yet protect them from ignorant religious
  fanatics and white nationalistsz




                                                                                                      AR_013060
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MD
  Story Title: All students should
  All students should be safe and feel safe schools regardless of their sexual identities and
  preferences.




                                                                                                     AR_013061
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Protect trans kids!! !
  Suicide rates for trans kids are so high! Whether people agree on gender or not does not negate
  that trans kids are humans first and deserve to be treated with basic dignity.




                                                                                                     AR_013062
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Humanity first!
  Supporting and protecting our queer and LGBTQ students and community is humanity first and
  pro-life. LGBTQ youth, and trans gender especially, have the highest rates of suicide. By not
  supporting and protecting them, we are not: One Nation, Under God, With Liberty And Justice,
  FOR ALL. They deserves the same rights and freedoms, the same safety and opportunity, the
  same respect and acceptance. To not support and protect our LGBTQ community and family is to
  encourage the continuation of the racist, homophobic, transphobic, and hate filled actions of
  those who are trying to limit and silence our loved ones. Life is hard enough, love wins and hate
  should be a thing of the past.




                                                                                                      AR_013063
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NY
  Story Title: Yes we need protections
  Queer & trans students are individuals who deserve respect. A federal law of protection sends the
  message that hare will not be tolerated. It has the power to change the tone. Current laws around
  the country diminish the existence of queer and trans people and that needs to change.




                                                                                                      AR_013064
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MA
  Story Title: Protect Our Students
  I am an educator who believes all students deserve to be safe and protected! Our students have
  the right to be themselves and access education, extracurricular activities and all life has to offer
  as their authentic selves. Misgendering students and denying transgender students access to
  school spaces and activities is bullying. We need to protect our LGTIA+ students, faculty and
  staff!




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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MD
  Story Title: Protect LGBTQI+ rights!
  I am a member of this community we call Planet Earth, where everybody should be included and
  valued for who they are. I am also an educator and I applaud the Biden administration for
  proposing a Title IX rule that protects LGBTQI+ rights. We need this law! We need a world free
  of discrimination. Thank you!




                                                                                                     AR_013066
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: TX
  Story Title: It costs zero dollar
  It costs zero dollars to be kind. It takes minimal effort to give everyone space to be themselves.




                                                                                                       AR_013067
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: TX
  Story Title: Safe education for all
  All students deserve a safe place in education. Our world is changing and our kids are at the
  forefront. We cannot change who they are or how they feel but we can change schools to protect
  and serve all students and we must. It is our obligation to make education better for future
  generations because our country's future is literally at stake.




                                                                                                     AR_013068
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MA
  Story Title: LGBTQIA kids need our help
  I stand with supporting and protecting all students-- specifically supporting and protecting
  students who identify as part of the LGBTQIA+ community.




                                                                                                     AR_013069
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IL
  Story Title: Protect our students
  As an educator, parent, and citizen, we must always make sure that the United States holds itself
  to it's highest ideals, that all humans are created equal and that all citizens are protected by our
  laws. Me must never let bigotry, fear, and religious fundamentalism deny fellow humans their
  life, liberty, and ability to pursue happiness. Repression must be opposed at every level.




                                                                                                         AR_013070
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MI
  Story Title: Protection Matters
  As a teacher myself, I fully support all the protection and acceptance we can give to queer and
  trans students. Often the focus of bullying and discrimination from both their peers and school
  personnel, they need the full protection of Title IX.




                                                                                                     AR_013071
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Every child, all the time
  I can't believe we are still debating whether all children need protections. It doesn't matter how
  you identify. If you are a minor you are in need of certain inalienable rights. Heck, if you are not
  a minor you are in need of the same rights. And you deserve them. Let's not even make this a
  debate. People are people. Give people what they need to live.




                                                                                                         AR_013072
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: TX
  Story Title:
  No child should be discriminated against, particularly on the basis of sex. Keep LGBTQIA
  protections in title 9




                                                                                                     AR_013073
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: LGBTQ+ in education building codes
  I teach in Orange County California at a school that just opened a $67,000,000 STEM building.
  Did the school build in any facilities that make our gender neutral/gender fluid students feel
  welcome? No! If our goal was to send the message that they are not welcome at our school then
  we succeeded. Please write and pass some legislation, or expand Title IX to include building
  codes that encompass Diversity, Equity, and Inclusion. It should not be legal to ask task payers
  for tens of millions of dollars and then only serve those who are already comfortable.




                                                                                                     AR_013074
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Queer and Trans kids need to be seen and protected
  Queer and Trans students are under constant threat from homophobic teachers, students and
  community. They need their story told so they are not seen as other. Queer and trans kids are
  part of every school. Some may not feel ready to come out for their own safety. And others do
  so but pay a price. The more queer and trans kids are visible and protected, the better for
  everyone. Queer and trans people have made significant contributions to society and history and
  are making huge contributions today. These are stories that ALL students need to learn. As the
  mother of a transgender boy, I want him to be able to navigate the world freely and joyfully.




                                                                                                     AR_013075
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NY
  Story Title: Protect our students
  As an educator, parent, and citizen, we must always make sure that the United States holds itself
  to it's highest ideals, that all humans are created equal and that all citizens are protected by our
  laws. Me must never let bigotry, fear, and religious fundamentalism deny fellow humans their
  life, liberty, and ability to pursue happiness. Repression must be opposed at every level.




                                                                                                         AR_013076
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Inclusiveness for All
  I am a school counselor who wants all of my students to feel supported. They need to feel that
  school is a safe and welcoming place for them. They need to know that they have the same
  opportunities as their peers and that there voices can be heard.




                                                                                                     AR_013077
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MO
  Story Title: My queer and trans students and family members deserve to be safe.
  My queer and trans students and family members deserve to be safe in school and everywhere
  else.




                                                                                                     AR_013078
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NJ
  Story Title: All students deserve full protection under the law.
  Every student is precious and therefore deserves to attend school in an environment that keeps
  them safe, and does not allow LGBTQIA+ discrimination and harassment.




                                                                                                     AR_013079
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IN
  Story Title: I'm a parent and school counselor
  I'm a parent of an elementary student and a school counselor working with high school students.
  The school where I work is a virtual charter school. Every week I talk to a student who has
  chosen my school because they did not feel safe in their prior school. They were bullied and all
  too often it was because they are a member of the LGBTQI+ community. I am so excited to see
  a rule that will protect students from discrimination and bullying based on sexual orientation,
  gender identity, sex characteristics. Please consider expanding the rule to explicitly identify
  deadnaming, misgendering, and refusing to use the correct name or pronouns as sex-based
  harassment or bullying. Thank you for working to keep all of our students safe at school.




                                                                                                     AR_013080
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IL
  Story Title: Safety at School = Success
  As both a teacher and the mom of a trans son, I have seen up close and personal how acceptance,
  accommodation, and a lack of both affects students at school. Students cannot concentrate and
  learn well in an environment in which they don't feel safe. And currently far too many schools
  don't even do the minimum recommended/required to accommodate LGBTQ students. Students
  live in fear of discrimination and outing by teachers, peers, and a system that has no regard for
  them. The fixes are so easy, but many schools won't do them unless it is required. That's why
  this language is so important for their safety and educational success.




                                                                                                      AR_013081
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: ME
  Story Title: All students need to achieve their full potential
  I write as a straight, cis mom with a 30-year career in education. My brother is gay. My godchild
  is trans. My students identify in numerous ways, from straight and cis to nonbinary, trans, queer,
  and all the beautiful options in between. Their experiences and perspectives bring value to our
  community because I am blessed to teach in a school where every student is celebrated and safe.
  Every human being should rise up each day knowing that they are valued for their humanity, and
  able to be authentically themselves. When this is the case, students are more successful. They
  learn more, they achieve more, and they contribute more to the growth and power of our
  communities economically, civically, and culturally.




                                                                                                       AR_013082
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: PA
  Story Title: Protection for queer and trans students
  We need to make sure queer students are protected from bullying and garment. S as an educator
  that supports LGBTQ students and a parent of a cog that identifies in the community, I am very
  worried by the conservative right attacking educators, schools, student's and families. Queer
  youth deserve you feel safe at school, to feel accepted, and able to just live their lives as
  themselves. We need action to make sure bullying of a queer students is not allowed




                                                                                                     AR_013083
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NJ
  Story Title: As a parent of trans student
  As a parent of trans gender student and a school administrator I know how hard it is to come out
  and be accepted by all. People do not understand what it means to be transgender. Our society
  needs to be educated and by having laws that discrimate against transgender just makes it more
  difficult for them to be accepted. Anti trans laws tells people being transgender is wrong which is
  not. It is how people are born liking having blue vs brown eyes.




                                                                                                        AR_013084
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MI
  Story Title: Everyone deserves an education without discrimination
  I believe that every single child deserves to be able to go to school and not be bullied, harassed,
  degraded, or assaulted. I'm also a parent and work in a public school district. We need to do
  much, much more to make school a place of safety and acceptance in addition to a place to learn.




                                                                                                        AR_013085
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MA
  Story Title: LGBTQ+ Students Need and Deserve Protections
  I am both an educator and a parent of students who identify as LGBTQ+. Our students deserve to
  feel safe and accepted at schools, and have access and support for participation as their cisgender
  peers. The rule clearly states that discrimination and bullying based on sexual orientation,
  gender identity, sex characteristics (including intersex traits), and sex stereotypes is illegal. We
  need this because most LGBTQI+ students experience some form of anti-LGBTQI+
  discrimination or bullying at school. It should require school's nondiscrimination policies to list
  "sexual orientation, gender identity, sex characteristics (including intersex traits), and sex
  stereotypes," since we know these policies are more effective when they do.




                                                                                                         AR_013086
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IL
  Story Title: Please help kids like mine ...
  I call them my kids, because I am their teacher. I teach high school in a very white, Republican,
  conservative county. I am the faculty sponsor of the high school Gender and Sexualities
  Alliance; we call it Diversity Club. Last week we had our first meeting. In a school of almost
  900, we had 75 queer kids and allies show up. Most of these kids are not safe being out at home.
  Most of these kids have immediate and extended families who do not accept them as they are.
  Most of these kids lead double or very difficult lives. The rest of the student body mirrors the
  community... cis, hetero, conservative. There are parents who show up at board meetings because
  their cis kids are uncomfortable when I send out a student survey asking for preferred names and
  pronouns. The queer kids I teach are MY kids because they don't belong to anyone else. Please,
  please, please help my kids by creating and passing legislation that I can lean on when they are
  bullied by kids, parents, and even other teachers. I am here to help them, but when I have the
  law behind me, I'm just barely strong enough to help them fight. Thank you




                                                                                                      AR_013087
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NM
  Story Title: Everyone Belongs in School and Society
  Everyone belongs in school and my classroom. Everyone has the right to be the person they are
  and no one gets a chance to tell anyone else that they aren't who they are. Queer and trans
  students are under attack in ways that have led to legal and pragmatic protections for other
  groups who have faced discrimination. Without those legal and pragmatic protections, the very
  students in our classrooms and people of our communities and society confront very real,
  oppressive, and harmful discrimination. It is time to address that discrimination now.




                                                                                                     AR_013088
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: VA
  Story Title: Protect Trans Youth
  I am a teacher who sponsors the GSA in my rural high school. As such, I hear stories and
  experiences from our LGBTQIA+ students pretty often. They're frightened to exist, and for good
  reason. In public, these kids are at risk. Often, they're even at risk in their own homes. In
  particular, trans women are far more likely to be victims of violent crime. Schools should be a
  safe place for all students-- that's where we can start fixing the atrocities that happen daily to this
  marginalized community. In particular, our laws need to do the following things: 1- Require
  schools to include sexual orientation and gender identity in their nondiscrimination clauses, and
  enforce those policies-- don't just give them lip service. I'm proud that my students helped to
  make that change here in Wythe County, where I teach. 2- Allow students to use whatever
  restroom is appropriate for them without jumping through hoops like paperwork or meetings. If
  misbehavior occurs, by all means, address it-- but trans girls aren't the threat the world portrays
  them to be. We all know that the perpetrators of most sexual violence are straight cisgender
  males. 3- Make school dress codes and activities gender neutral. I cannot think of a single
  reason to treat anyone differently based on their sex or gender identity in 2022. 4- Do NOT allow
  educators to deadname students, misuse their pronouns willfully, or ... worst of all, to out them
  to their families without student consent. We have students who will be in literal danger if outed
  to their families, and we cannot be the creators of those situations. As an educator who sees
  these children daily, please listen to my words. Students need support, acceptance, and
  protection. We can and must provide those.




                                                                                                            AR_013089
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: We are all People with a right to education, self-expression and our gifts
  I am a teacher. I teach EVERYONE. From ancient times, multi-gender people have existed and
  been honored. We can do the same. All have gifts to share and develop. Be their foundation by
  providing safety and anti-discrimination. Thank you, Mr. President




                                                                                                     AR_013090
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: LGBTQ students need
  LGBTQ students need protection and care - for many of them, school is their safe space. I am
  lucky to live in the most liberal and accepting of cities and my queer daughter will not worry
  much about being out and proud. I know that is not the case in other parts of America. Please
  protect our queer-identifying youth - they are a creative force and the fabric of the USA needs
  them!




                                                                                                     AR_013091
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IN
  Story Title: Trans and Queer Kids Deserve to Live
  As a teacher for over 30 years, I have often seen students who start college believing every scrap
  of misinformation they have ever heard. One group often demonized by that misinformation is
  the LGBTQIA+ community. I have lost track of the number of times that I have had to explain to
  kids that LGBTQIA+ kids are not hunting down their peers, have no unified agenda against their
  peers, and deserve to live in peace. Protecting a group sends a message. I remember a time when
  I had to act to protect mixed race couples and Asians at the place where I taught. Years of
  messaging have reduced the amount of open hostility to these groups. I hope it can do the same
  for LGBTQIA+ people.




                                                                                                       AR_013092
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: ID
  Story Title:
  I am the parent of a genderfluid middle school student. In our last school district, my child was
  welcomed, quickly had their pronouns adopted and respected by the administration, and had their
  preferred name used everywhere, including all records. Since moving just a few miles away, we
  face night and day differences- constant pushback about preferred name and frequent dead
  naming, indifference about use of correct pronouns, weak responses to accusations of bullying,
  and unwillingness to follow their Gender support plan. Idaho students already face legal
  challenges relating to trans and genderqueer kids participation in sports, we desperately need
  federal support to ensure that the rights of kids ins school are protected. Our zip code should not
  define my child's right to safe and respectful education due to their identity.




                                                                                                        AR_013093
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: PA
  Story Title: I am an educator and parent of trans kid
  I am an educator and parent of a trans kid. This rule is a great start! It does a lot of wonderful
  things for our kids. We need to make discrimination based on sexuality and gender identity
  illegal. However, the rule needs to do more. We need to protect our trans athletes (let's face it -
  most of these kids are not going to be college or professional athletes, but they all deserve the
  right to play!). As written, the rule seems to say it's ok to forbid trans kids from playing sports,
  and that's not ok. We need to protect the right for kids to use the bathroom or locker room that
  matches their gender identity. I know kids to refuse to use the restroom at school because it's not
  safe. They hold it all day. We all deserve the right to the restroom! We need to make dress codes
  gender neutral. Let's face it: dress codes have a lot more rules for girls than boys (trans or cis).
  It's a Title IX violation to make a girl miss class for dress code violations when those violations
  don't exist for boys. It's discrimination to make a trans kid miss class because they dress in ways
  that affirms their gender identity. We need to make sure that school anti-discrimination codes
  clearly list that bullying and discrimination against LGBTQ kids is not acceptable AND we have
  to make schools take those codes seriously.




                                                                                                         AR_013094
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: OH
  Story Title: Identity Matters
  I am a teacher of middle and high school students. I believe all students (and adults) should feel
  welcome and supported as they are. Schools must support students who are bullied or harassed.
  Dress code should apply to all students equitably and not fall solely on the female students to
  adhere. We must ask ourselves what messages we send to students when we lead them to believe
  there is something wrong with who they are, while also teaching students to make choices that
  reflect their values while respecting others.




                                                                                                       AR_013095
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: GA
  Story Title: I am a parent. I am
  I am a parent. I am a teacher. I have family and friends who identify as Trans. I currently live in
  the deep South (Georgia) and I have Trans Godchildren who have it even worse (Florida). We
  cannot rely on states run by bigots who do not want to separate church and state to provide
  protections for those who I love. Please uphold the laws and protect school-aged children from
  discriminatory practices by institutions and bullying from hateful people. Discrimination policies
  should include gender identity to protect this vulnerable population.




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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: OR
  Story Title: Not allowed to tell other students she is trans
  My daughter is transgender. When she was in kindergarten she was asked to leave after
  transitioning. The school said they could not support her and there were parent complaints. When
  she was in first grade in Arizona she was very proud and excited about being trans gender. She
  had already transitioned and the other students only knew her as girl. She would ask kids if they
  had heard about transgender and then told them all about it. We were told by the school district
  that this was a banned subject because of a parents right act. She was not allowed to saw the
  word transgender, draw pictures that showed she was trans gender or tell others about going to
  Pride parade. This was very upsetting for her. After awhile we were able to get this changed. We
  had been talking with a lawyer but fortunately we did not have use a lawyer for this to change.
  However it remained an uncomfortable district to be in. We tried a third school in a different
  district and that was better. There still were bullies and the library would not carry any books
  about LBGTQIA topics.




                                                                                                      AR_013097
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: WI
  Story Title: Queer and transgender
  Queer and trans gender students experience the highest rates of sexual harassment and assault and
  need to be protected by Title IX. The proposed policies could further support LGBTQI+ students
  by: It should require school's nondiscrimination policies to list "sexual orientation, gender
  identity, sex characteristics (including intersex traits), and sex stereotypes," since we know these
  policies are more effective when they do. It should clearly say that students must be able to use
  the girls' or boys' bathroom or locker room that corresponds with their gender identity, and the
  same goes for things like separate gender student housing and classes. It should encourage dress
  codes to be gender neutral by making clear that schools risk violating Title IX when they give
  different rules for boys and girls. A separate rule will address school sports, but this one includes
  confusing language that could be misread as saying that excluding transgender students from
  boys' and girls' school sports teams is okay. All students should have access to the benefits of
  school sports. It should clarify that deadnaming, misgendering, and refusing to use the correct
  name or pronouns are harmful and illegal forms of sex-based bullying.




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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Every Student Deserves to be Safe and Supported
  Hi, These protections are vital to keep all students safe. Schools need to be inclusive places. We
  know our LGBTQ+ youth are more at risk of bullying and even suicide. Please, we need to do
  everything in our power to protect these children and show them how important and valued they
  are.




                                                                                                       AR_013099
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NC
  Story Title:
  Title IX should protect trans people. As an educator, I want everyone to feel supported and seen
  in my classroom. Diversity of expression makes learning environments richer, safer, and more
  productive. As the parent of LGBTQI+ children, I care deeply about equality and safety for all.




                                                                                                     AR_013100
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MD
  Story Title:
  Students need to feel safe and welcome in school in order to learn. This isn't possible if school
  staff and fellow students aren't respecting and celebrating their differences.




                                                                                                      AR_013101
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MA
  Story Title: Because our world is less safe for them
  I am a parent and educator. While cisgender, I have never been the testosterone-fueled image of
  manliness the world thinks I'm supposed to be, and my children similarly fit not quite perfectly
  into the societally-defined boxes corresponding with their genders. While things have improved
  since I was in school, it is clear that our society still uses violence, humiliation, and intimidation
  to enforce gender norms. We need to use the power of policy to maintain the gains, and to
  continue and accelerate the progress of the last 30 years.




                                                                                                           AR_013102
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Safe and affirming spaces are critical for learning
  As a former elementary teacher and now a mathematics teacher educator in the southeastern
  United States, I have witnessed the trauma that occurs when students don't feel safe or affirmed
  by teachers, peers, and even a subject they are learning. The unique experiences and identities we
  bring to the classroom should be a strength that can enhance learning, not something that is
  stifled in a desire for uniformity. Having lost friends to suicide and seeing learners begin to hide
  their light from not being safe or valued for who they are is heartbreaking and we need to do
  everything in our power to stop the discrimination and bullying. This environment harms
  everyone as we are unable to learn, listen, and grow from the experiences of our school
  community. Words are not enough, we need to hold school communities accountable for actions.




                                                                                                         AR_013103
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NY
  Story Title: My students are at risk
  My students are at risk of violence and hateful exclusion from peers and authorities simply for
  who they were born to be or who they have become or are becoming. Race and Gender are
  constructs of our culture and time period. They should never be used as a basis for evaluating a
  person as normal, acceptable or healthy. Would anyone reading this gladly accept that their
  child, grandchild, or they themselves deserved to be hit, publicly ridiculed, refused access to the
  most basic human necessities, made to accept the brand of shame or revulsion by self-perceived
  majority groups? This nation was created by asylum seekers, pilgrims, outsiders, slaves, and
  other disenfranchised people. Whatever their other flaws may have been, the founders created a
  body of laws championing individual life, liberty, and the pursuit of happiness. These laws have
  always needed strengthening and shoring up, thus the amendments and proclamations that grant
  there shall be no slavery, that women are citizens with voting rights, etc. Don't fail the
  continuity of a nation legally free from unjust persecution and state-sanctioned hate.




                                                                                                        AR_013104
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: VA
  Story Title: Schools must be safe for all kids
  I have taught in a public hoof school in Virginia for 18 years. Although our school policy is
  mandated to protect students of color and girls so they may have equal access to education, these
  students still face discrimination and harassment based on their skin color and/or gender.
  However, it is just open season on our LGBTQ students. While our administration encourages
  research-based practices to guide teachers in protecting these students, there is no mandate. We
  don't even address the mistreatment ofLGBTQ students in our school climate survey. These
  students are statistically more prone to suicide, depression, anxiety and lower school
  performance when schooled in an unsupportive environment. I support federal protections for
  these students. I also strongly believe trans students must be protected from dead naming and
  misgendering. Thank you.




                                                                                                      AR_013105
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: OR
  Story Title: As a teacher, I'm af
  As a teacher, I'm afraid I didn't see how important it was affirm my non-binary students
  identities until my own child came out to us last year. It helped me reflect on my oversights in
  the past and make sure to be a better ally and advocate in my own school and in my child's
  school going forward. My child says that being non-binary just feels right for them and I cannot
  tell you what a difference it's made in their confidence and day to day life to be living
  authentically. They are able to focus on school now and are doing so much better academically
  than when they were distracted by this "secret." It's life-saving to be able to affirm one's identity
  in school.




                                                                                                          AR_013106
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: IA
  Story Title: Protect all kids
  All students, regardless of identifiers, need safe spaces to participate in activities. This provides
  sense of belonging, reduces mental health issues, and builds stronger communities. Please ensure
  that all students are allowed the same opportunities across our country. I am an educator and the
  parent of a queer student. Our home is a safe space for my child and their friends. I can tell you
  as an educator and a parent that no child chooses an identity, especially one that brings on
  judgement and ridicule from peers and adults. They are young people finding their way in the
  world. They need our support and love as they develop not judgement and barriers. Many
  LGBTQIA+ youth already feel a lack of belonging and acceptance in the school & locals
  communities. Let's not add to that weight.




                                                                                                          AR_013107
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: SC
  Story Title: I am the proud paren
  I am the proud parent of two adult children that are members of the LGBTQI+ community. I am
  also a veteran public school teacher. I see the need to protect queer and Trans students from
  multiple sides. Students should feel free and comfortable to be their authentic selves and to feel
  safe enough to discover who they are. They should not feel threatened by other students or by the
  adults in the school. We need systems in place to help the students as well as their families feel
  loved and supported.




                                                                                                       AR_013108
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CO
  Story Title: Mother and teacher wants guaranteed support for LGBTQ+ youth
  I am a mother of three children. When I send my kids to school, I hope they come home safe.
  Every day, my high school daughter tells me about the anti gay slurs she hears regularly. As a 14
  year old, she has never once had a teacher stick up for her in her identity. She has never once
  read a book about gay characters. She regularly gets physically threatened for being herself. In
  addition, my eight year old trans son is frequently asked to explain his gender, scared to use the
  bathroom, and is told that sharing that he is trans is "inappropriate" by staff and administration. I
  want my kids and my students to feel safe and loved in school!




                                                                                                          AR_013109
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: PA
  Story Title: Protect Queer and Trans Students!
  As an educator and the mom of a non-binary kid, I demand their human rights and civil rights be
  protected, that they are safe in school, and free to express themselves without fear of bullying.




                                                                                                      AR_013110
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: Our Duty to Protect
  I am a high school teacher, and, as such, I work with teenagers. My number one job as an
  educator is to keep my students safe, because if a person doesn't feel safe, then they won't learn.
  I whole-heartedly support the Title 9 updates that would ensure the safety and respect of our
  most vulnerable, and often most mistreated, students. Trans and gender non-confom1ing kids
  should not be afraid to go to school, and they need to know the adults around them have their
  back. It is our job to as educators, parents, community members, and leaders to nurture and build
  strong kids and adolescents who will then go on to become thriving adults themselves. This is
  our chance to do that!!!




                                                                                                        AR_013111
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: KY
  Story Title: Protect Rights of Queer and Trans Kids
  I'm writing in support of the new Title IX recommendations to protect students from bullying and
  harrassment regarding their gender or sexuality. As an educator I see the anguish and torment
  that these students face daily. They need additional legal protections.




                                                                                                     AR_013112
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: NY
  Story Title: Kids are at risk
  As a teacher for 20 years and the mom of three kids, including two who identify as as LGBTQ, I
  cannot stress how important protecting LGBTQ youth is. We know that they are under a terrible
  assault. Which conflates sexual orientation and gender identity with sexual behaviors and labeled
  these as deviant. Identity is not up for debate but ignoring identity is deadly.




                                                                                                      AR_013113
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: PA
  Story Title:
  I am a parent, a teacher, and a teacher educator. I work with prospective teachers to develop
  teaching practice that centers and affirms students. Queer and trans students deserve to be
  protected, to feel safe and supported and valued in schools, to see themselves reflected in
  curricula and school communities, and to be able to live and thrive. Schools must protect and
  affirm queer and trans students. The rule clearly states that discrimination and bullying based on
  sexual orientation, gender identity, sex characteristics (including intersex traits), and sex
  stereotypes is illegal. We need this because most LGBTQI+ students experience some form of
  anti-LGBTQI+ discrimination or bullying at school. Without safety and protections such as these
  students simply can't learn. While this rule does not go far enough, it is a start. Please support
  our children. Thanks




                                                                                                       AR_013114
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CT
  Story Title:
  I am a high school teacher who has seen what supportive policies do to improve the lives of
  LGBTQI+ students everyday. Students who feel seen and heard connect with teachers and other
  students, becoming a part of a community. They are happier, more confident, and more able to
  deal with negative comments from those who are too closed-minded to accept them for
  themselves. School are supposed to be safe, caring and nurturing environments for all students.
  Our LGBTQI+ brethren have spent too long in the shadows, and deserve protection and
  acknowledgment. As a mom of a trans child, it was such a relief to talk to school officials and
  receive support for changing to my child's preferred name and pronouns with little fanfare. My
  kid, starting at a new school, was made to feel welcome and comfortable from day 1. That's what
  I want for all kids, and that's the expectation we should have at every school in this country.




                                                                                                     AR_013115
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: MA
  Story Title: My youngest brother
  My youngest brother told us that he is trans a few years ago, when he was in his late 20s. For his
  entire childhood, he had felt alienated by the gender he had been assigned at birth, but it took
  until he was comfortable in his twenties and away from the K-12 experience to explore this.
  Leaming more about his gender identity has been extremely positive, for him and the whole
  family, and I wish he has felt comfortable to do this earlier. I hope my students feel that comfort.




                                                                                                         AR_013116
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: WA
  Story Title: I'm a faculty member
  I'm a faculty member at a public university and parent whose children attend public school.
  Every learner should feel supported and seen in their education. Schools must be safe for
  LGBTQI+ students.




                                                                                                     AR_013117
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title:
  I am a high school teacher and I am an aunt of members of the LGBTQI+ community. All
  students need support and acceptance. The mental health of kids is deteriorating. I've been
  teaching for over twenty years. The trend has shifted from problems with gangs and teen moms,
  and has now turned to anxiety and depression. Don't let them down.




                                                                                                     AR_013118
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  Individual self-reported they are a teacher, school administrator, or school staff and a parent,
  caregiver, or family of an LGBTQI+ individual
  State: CA
  Story Title: LGBTQIA kids need our help
  I stand with supporting and protecting all students-- specifically supporting and protecting
  students who identify as part of the LGBTQIA+ community.




                                                                                                     AR_013119
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                                                                                AR_026964
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  EXECUTIVE SUMMARY
  Over the past 20 years, a growing body of research has focused on suicidality among transgender
  individuals, including prevalence estimates and risk factors associated with suicide thoughts and
  attempts. Studies of the transgender population demonstrate that the prevalence of suicide
  thoughts and attempts among transgender adults is significantly higher than that of the U.S. general
  population. For example, transgender adults have a prevalence of past-year suicide ideation that is
  nearly twelve times higher, and a prevalence of past-year suicide attempts that is about eighteen
  times higher, than the U.S. general population. The 2015 U.S. Transgender Survey (USTS), which is
  the largest survey of transgender people in the U.S. to date, found that 81.7 percent of respondents
  reported ever seriously thinking about suicide in their lifetimes, while 48.3 percent had done so in the
  past year. In regard to suicide attempts, 40.4 percent reported attempting suicide at some point in
  their lifetimes, and 7.3 percent reported attempting suicide in the past year.

  Although the research literature to date agrees that transgender people are at an elevated risk
  of suicide thoughts and attempts, there is still much to learn about why transgender people are
  particularly at risk. In this report, we utilize data from the 2015 USTS to examine the key risk factors
  associated with lifetime and past-year suicide thoughts and attempts among a large and diverse
  sample of transgender people.



  Demographic trends related to suicide thoughts and attempts among USTS respondents reflected
  trends found in prior research of suicidality in the U.S. general population and among transgender
  people.

    • Among USTS respondents, suicide thoughts and attempts were more likely to be reported among
      those of younger ages, Alaskan Native/American Indian or Biracial/Multiracial respondents,
      transgender men, pansexual respondents, and non-binary respondents assigned female at birth.
    • Similar to trends in the U.S. population, we found a higher prevalence across all suicide-related
      measures among respondents who had lower educational attainment, were unemployed, or
      had lower annual household income. In terms of relationship status, respondents who were
      partnered and living together with their partners had the lowest prevalence of suicide thoughts
      and attempts.



  Transgender people have many of the same risk factors for suicidality as found in the U.S. general
  population, such as depression, substance use, and housing instability. Similar to these trends in the
  U.S. general population, we found an elevated prevalence of suicide thoughts and attempts among
  USTS respondents who

    • Experienced serious psychological distress and reported heavy alcohol or illicit drug use
      (excluding marijuana);
    • Reported poor general health compared to those who reported excellent health (19.9% versus
      3.6% past year suicide attempts);



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    • Reported having a disability, experienced homelessness in the past year, or had ever been
      arrested for any reason.

  UNIQUE RISK FACTORS
  In addition to general risk factors, transgender people have additional risk factors, such as
  experiences of discrimination, stigma, family rejection, and lack of access to gender-affirming health
  care. Findings regarding these unique factors include the following:

    • Experiencing discrimination or mistreatment in education, employment, housing, health care, in
      places of public accommodations, or from law enforcement is associated with higher prevalence
      of suicide thoughts and attempts. For example, the prevalence of past-year suicide attempts by
      those who reported that they had been denied equal treatment in the past year because they
      are transgender was more than double that of those who had not experienced such treatment
      (13.4% compared to 6.3%).
    • Those who reported that their spouses, partners, or children rejected them because they are
      transgender reported higher prevalence of lifetime and past-year suicide attempts. Those
      who reported rejection by their family of origin, for example, reported twice the prevalence of
      past-year suicide attempts compared to those who had not experienced such rejection (10.5%
      compared to 5.1%).
    • Respondents who had been rejected by their religious communities or had undergone
      conversion therapy were more likely to report suicide thoughts and attempts. For instance,
      13.1 percent of those who had experienced religious rejection in the past year had attempted
      suicide in the past year; by contrast, 6.3 percent of respondents who had experienced religious
      acceptance in the past year attempted suicide in the past year.
    • Experiences of violence, including intimate partner violence (IPV) are associated with higher
      prevalence of suicide thoughts and attempts. Over 30 percent of those who were physically
      attacked in a place of public accommodation reported attempting suicide in the past year, which
      is over four times the prevalence among respondents who were not similarly attacked.
    • Those who had "de-transitioned" at some point, meaning having gone back to living according to
      their sex assigned at birth, were significantly more likely to report suicide thoughts and attempts,
      both past-year and lifetime, than those who had never "de-transitioned." Nearly 12 percent of
      those who "de-transitioned" attempted suicide in the past year compared to 6.7 percent of those
      who have not "de-transitioned."
    • People who are not viewed by others as transgender and those who do not disclose to others
      that they are transgender reported lower prevalence of suicide thoughts and attempts. For
      instance, 6.3 percent of those who reported that others can never tell they are transgender
      attempted suicide in the past year compared to 12.2 percent of those who reported that others
      can always tell they are transgender.
    • The cumulative effect of minority stress is associated with higher prevalence of suicidality. For
      instance, 97.7 percent of those who had experienced four discriminatory or violence experiences
      in the past year (being fired or forced to resign from a job, eviction, experiencing homelessness,
      and physical attack) reported seriously thinking about suicide in the past year and 51.2 percent
      made a suicide attempt in the past year.



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  We also found that there are some factors that are associated with lower risk of suicide thoughts and
  attempts for USTS respondents:

    • Respondents with supportive families reported lower prevalence of past-year and lifetime suicide
      thoughts and attempts.
    • Those who wanted, and subsequently received, hormone therapy and/or surgical care had
      substantially lower prevalence of past-year suicide thoughts and attempts than those who
      wanted hormone therapy and surgical care and did not receive them.
    • A lower proportion of respondents who lived in a state with a gender identity nondiscrimination
      statute reported past-year suicide thoughts and attempts than those who lived in states without
      such a statute.

  Our findings underscore the urgency of research to identify promising intervention and prevention
  strategies to address suicidality in this population. USTS respondents have the elevated risk of
  suicide thoughts and attempts that one would expect based on general risk factors that affect the
  U.S. population, such as substance use and serious psychological distress. Yet, it's clear that minority
  stress experiences, such as family rejection, discrimination experiences, and lack of access to gender-
  affirming health care, create added risks for transgender people. Furthermore, the cumulative
  effect of experiencing multiple minority stressors is associated with dramatically higher prevalence
  of suicidality. Future research that supports the design and evaluation of suicide intervention and
  prevention strategies for the transgender population is urgently needed.




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  INTRODUCTION
  Over the past 20 years, a growing body of research has focused on suicidality among transgender
  individuals, including prevalence estimates and risk factors associated with suicide thoughts and
  attempts. In a meta-synthesis of studies from the U.S. and Canada, Adams, Hitomi, and Moody
  reviewed 42 studies that appeared in peer-reviewed publications and in other literature from 1997
  to 2016 with findings regarding suicide thoughts and attempts among transgender people.' They
  found a prevalence of lifetime suicide ideation of 55.5 percent (ranging from 28.9% to 96.5% across
  studies) and lifetime suicide attempts of 28.9 percent (ranging from 10.7% to 52.4% across studies).
  Additionally, they found 50.6 percent prevalence of suicide ideation in the past year (ranging from
  30.8% to 80.2% across studies) and 10.7 percent prevalence of suicide attempts in the past year
  (ranging from 4.2% to 19.0% across studies).

  Using data from the U.S. National Comorbidity Survey, a nationally representative sample, researchers
  have found a prevalence of lifetime suicide ideation in the U.S. population of 13.5 percent and
  lifetime suicide attempts of 4.6 percent.2 According to the National Survey of Drug Use and Health,
  4.3 percent of U.S. adults had suicidal thoughts in the past year, and 0.6 percent attempted suicide.'
  Comparing the findings of Adams and colleagues to these benchmarks, transgender adults have a
  prevalence of lifetime suicidal thoughts about four times higher, and lifetime suicide attempts about
  six times higher, than the U.S. population. In the past year, the prevalence of suicide ideation among
  transgender adults is nearly twelve times higher than in the U.S. population, and the prevalence of
  suicide attempts is about eighteen times higher.

  Although the research literature to date has coalesced around the conclusion that transgender
  people are at an elevated risk of suicide thoughts and attempts, there is still much to learn about
  why transgender people are particularly at risk. Existing studies suggest that not only do transgender
  people have many of the same risk factors for suicidality found in the general population, such as
  depression and substance use, but in addition have risk factors related to minority stressors, such as
  experiences of discrimination, stigma, family rejection, and lack of access to gender-affirming health




   Adams, N., Hitomi, M., & Moody, C. (2017). Varied Reports of Adult Transgender Suicidality: Synthesizing and Describing
  the Peer-Reviewed and Gray Literature. Transgender Health, 2(1). 60-75. Their review included 32 studies of lifetime
  suicide attempts, 23 studies of lifetime suicide ideation, 5 studies of suicide attempts in the past year, and 5 studies of
  suicide ideation in the past year. In this report, suicide ideation and suicide thoughts refer to serious thoughts about
  suicide, including thoughts about suicide plans. The term suicidality includes suicide thoughts and behaviors, such as
  attempts.
    Kessler, R.C., Borges, G., & Walters, E.E. (1999). Prevalence of and Risk Factors for Lifetime Suicide Attempts in the
  National Comorbidity Survey. Archives of General Psychiatry, 56(7), 617-626; Nock, M.K., & Kessler, R.C. (2006). Prevalence
  of and Risk Factors for Suicide Attempts Versus Suicide Gestures: Analysis of the National Comorbidity Survey. Journal of
  Abnormal Psychology, 115(3). 616-623.
  3 Substance Abuse and Mental Health Services Administration. (2018). Key substance use and mental health indicators in the

  United States: Results from the 2017 National Survey on Drug Use and Health (HHS Publication No. SMA 18-5068, NSDUI-1
  Series H-53). Rockville, MD: Center for Behavioral Health Statistics and Quality, Substance Abuse and Mental Health
  Services Administration. Retrieved from httos:f/www.samhsa.gov/data



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  care.4 Minority stress experiences are commonly reported in studies of the transgender population,
  which puts this population at unique risk for suicide ideation and attempts.s

  In 2008-2009, the National Center for Transgender Equality (NCTE) and the National LGBTQ Task
  Force fielded the National Transgender Discrimination Survey (NTDS) to better understand the lives
  and experiences of transgender adults in the United States.6 The NTDS, which yielded about 6,500
  respondents. asked a single suicide-related question, "Have you ever attempted suicide?" In 2014,
  the Williams Institute and the American Foundation for Suicide Prevention published a report that
  described the risk factors associated with lifetime suicide attempts for NTDS respondents. Our study
  found that the high prevalence of lifetime suicide attempts among NTDS respondents (41%) was
  exacerbated by discrimination experiences and other minority stressors, including family rejection
  and violence.' Our analysis was limited, however, by the limited number and scope of questions
  related to suicide in the NTDS questionnaire, including about mental health.

  In August 2015, NCTE launched the U.S. Transgender Survey (USTS), a follow-up to the NTDS, which
  generated the largest survey sample of the U.S. transgender population to date (n=27,715).8 The USTS
  included a new section on suicide thoughts and attempts that was based on validated measures
  from the National Survey of Drug Use and Health (NSDUH) and the U.S. National Comorbidity
  Survey Replication (NCS-R). Having addressed the limitations of the prior NTDS question on lifetime
  suicide attempts, and with a much larger sample, the USTS found that 40.4 percent of respondents
  had attempted suicide in their lifetimes, a difference of only one percentage point from NTDS.
  Suicide thoughts and attempts are individually distinct experiences and risk profiles for each differ.9
  Therefore, the inclusion of measures for both thoughts and attempts in USTS offers a fuller picture
  of suicidality among transgender people. In addition to lifetime suicide attempts, the USTS found that
  81.7 percent of respondents had seriously thought about killing themselves in their lifetimes, and 48.3
  percent had done so in the past year; 7.3 percent had attempted suicide in the past year.




  4 Meyer, I.H. (2003). Prejudice, Social Stress, and Mental Health in Lesbian, Gay, and Bisexual Populations: Conceptual
  Issues and Research Evidence. Psychological Bulletin, 129(5), 674-697; Bockting. W., Miner, M.H., Swinburne Romine,
  R.E., Hamilton, A., & Coleman, E. (2013). Stigma, mental health, and resilience in an online sample of the U.S. transgender
  population. American Journal of Public Health, 103(5), 943-951; Testa, R. J., Habarth, J., Peta, J., Balsam, K., & Bockting, W.
  (2015). Development of the gender minority stress and resilience measure. Psychology of Sexual Orientation and Gender
  Diversity, 2(1), 65-77.
  5 See, for instance, Grant, J.M., Mottet. L.A., Tanis, J., Harrison, J., Herman, J.L., & Keisling, M. (2011). Injustice at Every Turn:

  A Report of the National Transgender Discrimination Survey. Washington, DC: National Center for Transgender Equality and
  National Gay and Lesbian Task Force; James, S. E., Herman, J. L., Rankin, S., Keisling, M., Mottet, L., & Anafi, M. (2016). The
  Report of the 2015 U.S. Transgender Survey. Washington, DC: National Center for Transgender Equality.
  6James, S.E., et al., (2016).
    Haas, A.P., Rodgers, P.L., & Herman, J.L. (2014). Suicide Attempts among Transgender and Gender Non-ConformingAdults:
  Findings of the National Transgender Discrimination Survey. Los Angeles, CA: The Williams Institute and the American
  Foundation for Suicide Prevention.
  9James, S.E., et al., (2016).
  9 Klonsky, E.D.. May, A.M., & Saffer, B.Y. (2016). Suicide, Suicide Attempts, and Suicidal Ideation. Annual Review of Clinical

  Psychology, 12,307-330.



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  In addition to providing new data about suicide-related behaviors, the USTS improved upon the NTDS
  by incorporating validated measures of mental and physical health, and revised measures assessing
  discrimination and other minority stress experiences, violence, conversion therapy, law enforcement
  interactions, incarceration experiences, civic participation, and other topics. This new wealth of
  data from the USTS has given us the opportunity to further examine the key risk factors associated
  with lifetime and past-year suicide thoughts and attempts among a large and diverse sample of
  transgender people. In this report, we present our findings, discuss their implications, and conclude
  by identifying issues that remain to be examined in future research.




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  METHODS
  The 2015 U.S. Transgender Survey was an online survey of transgender adults, ages 18 and over,
  which was fielded in August and September of 2015.'° The survey was announced and distributed
  with the assistance of over 300 organizations across the United States and was made available in
  English and Spanish. The survey questionnaire contained over 300 items covering a wide range of
  topics, such as demographics, experiences at work and school, interactions with law enforcement,
  identity documents, politics and civic participation, violence, family relationships, gender-affirming
  health care, mental health, substance use, and suicide thoughts and attempts. The 27,715
  respondents came from all 50 U.S. states, three U.S. territories, and overseas military bases.

  Overall, the survey sample was young, with a median age of 26 years compared to 38 years for
  the U.S. population." About a third of respondents identified as gender non-binary. The sample
  had generally higher educational attainment than the U.S. population, with 87 percent of USTS
  respondents having at least some college education compared to 56 percent of U.S. adults ages
  18 to 24 and 60 percent of U.S. adults ages 25 and older.`' Yet, respondents overall reported lower
  household income, with median household income of $35,000-$39,999 compared to $56,500 for U.S.
  households at that time2 The sample had a higher proportion of white (non-Hispanic) adults (82%)
  compared to the U.S. population (62%) and also had an unusually high number of 18 year-olds.'' A
  weight was developed to adjust the survey sample to the racial and ethnic composition of the U.S.,
  based on the 2014 American Community Survey, and to adjust for the overabundance of 18 year-old
  respondents. This survey weight was applied in all analyses for this report."5

  The analyses presented in this report are mainly descriptive and rely on bivariate statistical techniques
  to assess the relationship between characteristics and experiences of USTS respondents and suicide
  thoughts and attempts. Specifically, we use Pearson's chi-square tests of independence to test the
  statistical significance of relationships. Due to the large sample size, nearly all chi-square tests were
  statistically significant at the p<0.05 level. Throughout the report, we note in the tables the relationships
  that were no: found to be statistically significant.'s In addition, in some cases seemingly small
  differences among groups were found to be statistically significant because of the large sample size.




  '° The USTS was for individuals who identify as transgender, trans, non-binary, crossdressers, and other gender minority
  identities. In keeping with The Report of the 2015 U.S. Transgender Survey, we use the term "transgender" to describe
  those whose gender identity differs from their sex assigned at birth. We use this as an "umbrella term" to describe USTS
  respondents, keeping in mind the diversity of gender identities in this sample. This work is based on data generated from
  the 2015 U.S. Transgender Survey, which was conducted by the National Center for Transgender Equality. To find out
  more about the U.S_ Transgender Survey, visit http://www.ustranssurvey.org/reports.
  1
     U.S. Census Bureau. (2015). Annual Estimates of the Resident Population: April 1, 2010 to July 1, 2015, available
  at: httns://factfinder.census.gov (last accessed August 18, 2019).
  12 James. S.E., et al., (2016).
     U.S. Census Bureau. (2015).
  .s
  '`James. S.E., et al., (2016).
  '5
     For a detailed description of the USTS methodology and survey sample, please refer to the relevant chapters and
  appendices in the USTS report, The Report of the 2015 U.S. Transgender Survey, available online at www.ustranssurvey.ors.
  .6 All
         frequencies, chi-square test statistics, and p-values are on file with the lead author.



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  Information reported by USTS participants about suicide ideation and suicide attempts should not be
  used as the basis of inferences about suicide deaths among transgender people. No jurisdiction in
  the U.S. routinely and systematically collects information about decedents' gender identity at the time
  of death, and as a result, little is known about death among transgender people, whether by suicide
  or any other manner or cause. Systematic data from general population studies show differences in
  demographic characteristics (in particular, age and gender), and suicide risk factors among people
  who die by suicide, compared to those who seriously consider or attempt suicide.`' In the absence
  of specific information about whether transgender people show similar differences, no implications
  about suicide death should be drawn from findings presented in this report.




  :7DeJong, T.M., Overholser, J.C., & Stockmeier, C.A. (2010). Apples to oranges? A direct comparison between suicide
  attempters and suicide completers. Journal of Affective Disorders, 124(12). 90-97; Brown, G.K., Beck, AT., Steer. R.A.,
  & Grisham, J.R. (2000). Risk factors for suicide in psychiatric outpatients: A 20-year prospective study. Journal of
  Consulting and Clinical Psychology. 68(3), 371-377; Duberstein, P.R., Conwell, Y., & Caine, E.D. (1994). Age differences in
  the personality characteristics of suicide completers: Preliminary findings from a psychological autopsy study. Psychiatry,
  57(3), 213-224.



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  FINDINGS

  As shown in Table 1, lifetime and past-year suicide thoughts and attempts were less commonly
  reported among older USTS respondents, a pattern that has also been observed in general population
  studies. Lifetime and past-year suicide thoughts and attempts were most commonly reported by
  Alaska Native/American Indian and Biracial/Multiracial respondents, and least commonly by White/
  Middle Eastern/North African respondents. Respondents who were assigned male sex at birth had
  a lower prevalence of lifetime suicide thoughts and attempts compared to those assigned female
  at birth. Those assigned male had birth also had a lower prevalence of suicide thoughts in the past
  year, although no significant difference was found in the prevalence of past-year suicide attempts
  between respondents assigned male, or female, at birth. Comparing respondents of different gender
  identities, the highest prevalence of lifetime suicide thoughts and attempts was found among
  transgender men and non-binary respondents assigned female at birth, while crossdressers reported
  substantially lower prevalence of both lifetime and past-year suicide thoughts and attempts.13 Higher
  prevalence across all suicide-related measures was found among respondents who had lower
  educational attainment, were unemployed, or had lower annual household income. In terms of
  relationship status, respondents who were partnered and living together with their partners had the
  lowest prevalence of suicide thoughts and attempts. Those who described their sexual orientation as
  heterosexual or straight had lower prevalence of suicide thoughts and attempts than respondents in
  other sexual orientation categories; pansexual respondents reported the highest prevalence on all
  suicide-related measures."3

  Figure 1. Suicide thoughts by age group




                                                                                                                56.6%




           18 TO 24                  25 10 44            451054                  55 10 64                 65+




        PA,.....          !f>TFJ€E




  18 The Report of the 2015 U.S. Transgender Survey provides the following definition for "crossdresser": "While definitions
  of `crossdresser' vary, many use this term to describe a person who dresses in away that is typically associated with a
  gender different from the one they were thought to beat birth, but who may not identify with that gender or intend to live
  full time as that gender" (p.40).
  19 Pansexual is defined, generally, as being attracted to people of all genders.




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Figure 2. Suicide attempts by age group




                      PAST YEAR




With few exceptions, the demographic patterns seen in the USTS data were consistent with findings
from our 2014 analysis of NTDS data. While generally confirming our earlier fi ndings related to
                                                                                                                          a
demographic characteristics of transgender people regarding the highest, and lowest, prevalence of
lifetime suicide attempts, the present analysis also shows a quite similar picture regarding past-year
suicide thoughts and attempts.

Table 1. Suicide thoughts and attempts by demographic characteristics



                                                                                                                                                   18 to 24
                                                                                                             .............. ..........................................       .                            61.2.
                                                                                                                                                                       ......:...................................                                   10.5.
                                                                                                                                                                                                                  .......:..................................                                   86.3.
                                                                                                                                                                                                                                                             ......:.......... .....................                                    42.1
                                                                                                                                                                                                                                                                                                     .. ......:. ....... ....... ........... ..... . ..:
                                                                                                                                                   25 to 44 .                                             43.6.                                         6.0 .                                  81.8.                                    42.2
     Current Age                                                                                                                                   45 to 54 s
                                                  ........ .......................................... .......................................... ............................:.............               32.2:
                                                                                                                                                                                            .............................:............                  3.2
                                                                                                                                                                                                                                       ............................:.............              74.4:
                                                                                                                                                                                                                                                                                  ......................                                 37.5
                                                                                                                                                                                                                                                                                                          .....:............. .........................<
                                                                                                                                                   55 to 64
                                                   ............................. .......................................... ..........................................                                     25.8:
                                                                                                                                                                       ......:...................................                                       2.1                                    68.4:
                                                                                                                                                                                                                  .......:.................................. ......:.......... .....................                                     28.6
                                                                                                                                                                                                                                                                                                     .. ......:. ....... ....... ...........  ..... . ..:
                                                                                                                                                      65 plus .                                           15.1                                          0.9 .                                   56.6.                                   17.5
                                                                 Alaska Native/American Indian alone                                                                                                       54.2:                                      10.4:                                      86.8:                                     57.3
                                                                                                                      Asian/N H/PI alone                                                                   44.8.                                          7.9                                    81.8.                                     40.3
                                                                                                                      Biracial/Multiracial                                                                  53.9                                      10.4                                       88.0.                                     50.4
      Race/Ethnicity                                                                                                                                                                                                      €                                          €                                          €                                        €
                                                                                      Black/African American alone '                                                                                       47.6.                                          8.7 '                                  81.2.                                     46.6
                                                                                                             Latinx/Hispanic alone .                                                                       52.5                                           9.1                                    84.1                                      44.5
                                                                                                                  White/ME/NA                               alone              '                           47.4.                                          6.3                                    80.8.                                     37.4
 .......................................................................................................................................................................................................................:.........................................:..........................................:........................................:
                                                                                                                                                        Female                                             50.9 ............... .................7.2 .............................85.1 ................         :               ...........42.7
      Assigned Sex                                                                                                                                             Male                                        44.8                                                                                   77.2
                                                                                                                                                                                                                                                          7.                                                                               37.2
.......................................................................................................................................................................................................................................................................................................................................................:
                                                                                                                                      Crossdresser
                                                   ........ .......................................... ..........................................  .......................... .                            22.0
                                                                                                                                                                                                    ......................;............                   2.7
                                                                                                                                                                                                                                        ............................;.............  ................50.8                                   15.1
                                                                                                                                   Trans
                                                                                                                                    ..................women                    :
                                                                                                                                                                     ... ...... ........                   46.8           €                               8.4        €                           79.4                                      39.9
                                                                                                                                                                                                     ............. .......:.................................. ......:.......... ..................... .. ........ ....... ....... ...........  ..... . ..:
      Gender
                                                                                                                                            Trans men                                                      45.3                                           6.7 ............. .............84.7...:............. ..........44.9
      Identity                                                                                                                                                                  .                   ......... . ... .                           ........... ... .......                                         .
                                                                                                                                  GQ/NB (AFAB)                                                             57.0
                                                                                                                                                                                                     .............        .
                                                                                                                                                                                                                   .............                          7.6
                                                                                                                                                                                                                                                 .............                                   85.5:
                                                                                                                                                                                                                                                               ................. .....................                                     40.6
                                                                                                                                                                                                                                                                                                       .. ........ ....... ....... ........... ..... . ...
                                                                                                                               GQ/NB (AMAB)                                                                43.5                                         5.0                                     76.0                                    31.5




1° Haas, A.P., et al., (2014).




                                                                                                                                                                                                                                                                                                                                              AR_026974
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  Table 1. Suicide thoughts and attempts by demographic characteristics (continued)




                                                        Less than high school                  63.1      17.3       85.0        51.8
                                                 High school grad (incl. GED)                  59.5      12.5       84.6        48.5
       Education               Some college (no degree)/Associate's                            53.7       8.5       84.9        44.1
                                                            Bachelor's degree                  40.4       4.0       78.6        33.7
                                    Graduate or professional degree,                           30.7       2.6       72.1        30.0
                                                                      Employed                 44.7       5.8       80.6        38.4.
       Workforce
                                                                  Unemployed                   62.5      12.6       87.1        46.4
       Participation
                                                       Out of the labor force                  50.9       8.5       81.7        42.9
                                                                   $1 to $9,999 ',             60.4 ',   11.3 ',    85.5 ',     47.3
       Annual                                              $10,000t0$19,999                    55.2      10.4       86.7        48.5
       Household                                           $20,000 to $49,999                  48.6       6.7       84.2        42.9
       Income                                            $50,000t0$100,000                     42.6       5.3       78.8        36.2
                                                            $100,000 or more                   36.5       3.9       74.0        29,6
                                                   Partnered, living together                  39.5       4.4       79.3
       Relationship                     Partnered, not living together                         56.0      10.5       85.5        43.5
       Status                                                              Single              51.5       8.0       81.9        39.5;
                                                              Not listed above                 47.1       7.4       83.0        40.8




                                                                                                                •
                                                                         Asexual               54.1       9.7       81.1        37.9
                                                                        Bisexual               48.0       7.2       81.1        40.1
                                   Gay/Lesbian/Same Gender Loving                              43.8       6.4       79.6        37.3
       Sexual
                                                       Heterosexual/Straight                   33.6       4.8       73.2        38.7
       Orientation
                                                                      Pansexual '              59.1       9.7       88.3        47.0
                                                                           Queer '.            49.2       6.3       83.9        39.2
                                                              Not listed above                 52.4       8.2       83.2        41.5
  NOTE: Text in           indicates there         no statistically significant relationship.
                   blue
                                            is
  The USTS collected data on a number of factors that have long been established to contribute to
  suicide risk in the general population, including depression and other mental health conditions,
  substance use, physical health and disability, and stressful life circumstances, such as homelessness
  or encounters with law enforcement.21 Prior analysis of the USTS data found that respondents
  reported experiencing such risk factors, such as serious psychological distress and homelessness,




  21
    See, for instance, Van Orden, K. A, Witte, T. K., Cukrowicz, K. C., Braithwaite, S., Selby. E. A., & Joiner, T E. (2010).
  The Interpersonal Theory of Suicide. Psychological Review, 117(2): 575-600; Russell. D., Turner, R. J. & Joiner, T. E.
  (2009). Physical Disability and Suicidal Ideation: A Community-Based Study of Risk/Protective Factors for Suicidal
  Thoughts. Suicide and Life-Threatening Behavior, 39(4),440-451; Steele, I. H., Thrower, N., Noroian, P., & Saleh, F. M.
  (2018). Understanding Suicide Across the Lifespan: A United States Perspective of Suicide Risk Factors, Assessment &
  Management. Psychiatry& Behavioral Science, 63(1), 162-171.


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  at a prevalence much higher than the U.S. general population. The relationship between these risk




                                                                   u
  factors and suicide thoughts and attempts are shown in Table 2.

  Similar to fi ndings in the general population, experiencing serious psychological distress and heavy
  alcohol use or illicit drug use (excluding marijuana) are significant risk factors for suicide thoughts and
  attempts among USTS respondents, both lifetime and past-year. As shown in Figure 3, respondents
  who rated their general health as "poor" had a dramatically increased prevalence of lifetime and past-
  year suicide thoughts and attempts, compared to those who described their health as "excellent." For
  instance, while 3.6 percent of those who reported excellent general health attempted suicide in the
  past year,19.9 percent of those who reported poor health attempted suicide in the past year.

  Figure 3. Suicide thoughts and attempts in the past year by general health

                                                                                       77.7%




          EXCELLENT               VERY W0)          GGCUD                PAI                 POOR



         THOUGHTS       ■   ATTEMPTS




  In regard to HIV status, those who reported living with HlV were more likely than those who are HIV
  negative or don't know their status to have attempted suicide at some point in their lives, although
  this group was the least likely to have attempted suicide in the past year. Respondents who indicated
  not knowing their HIV status were more likely than others to report thinking about and attempting
  suicide in the past year. Respondents who reported having a disability, either by meeting the
  definition of disability according to the American Community Survey or by personally identifying
  as having a disability, had higher prevalence on all suicide-related measures than those without
  disabilities.

  Similarly, experiencing homelessness was associated with a markedly higher prevalence of
  lifetime and past-year suicide thoughts and attempts compared to those who had not experienced
  home essness. Notably, over 20 percent of respondents who experienced homelessness in the past
  year had attempted suicide during that time. Finally, those who had been arrested for any reason in
  the past year were more likely to report suicide thoughts and attempts, both lifetime and past-year.




  "James, S.E., et al., (2016).



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  Table 2. Suicide thoughts and attempts by general risk factors




      Serious psychological                                                                                                          No .                                     29.6                                         2.9 ;                                  73.8                                     31.5
       distress (Kessler-6)
  ..............................................................................                                                    Yes                                       77.8                                     14.1                                       94.3                                     54.2
                                                                                y...............................................................:.........................................................................................................................................................................:
                                                                                                                                       No .
                                                                                  ................................... ............................:............. .................48.0.
                                                                                                                                                                                   . . . :.                                  6.9 .                                   81.4.                                   39.5
       Heavy alcohol use                                                                                                             Yes                                       53.1                                      11.8                                        85.2                                    50.3
                                                                                                                                      No                                      47.3.                                         6.8                                    80.8.                                    38.5
       Binge alcohol use
                                                                                                                                     Yes                                      51.3.                                         8.7                                    83.9.                                    45.5
  .....................................................................................................................................................................................................................................................................................................................:
       Illicit drug use                                                                                                               Nos
                                                                                  ............. ..........................................                                    47.2.
                                                                                                                                           ......:...................................                                       6.6
                                                                                                                                                                                      .......:..................................       .
                                                                                                                                                                                                                                 ......:..........                 81.0.
                                                                                                                                                                                                                                                   .....................                                    39.1
                                                                                                                                                                                                                                                                         .. ......:. ....... ....... ........... ..... . ..:
       (excluding marijuana)                                                                                                         Yes                                      60.3:                                     13.6:                                      88.6:                                    52.9
                                                                                                                     Excellent                                                29.1                                          3.6                                    66.9.                                    26.9
                                                                                 :............. .......................................... ......:................................... .......:.................................. ................. ..................... .. ........ ....... ....... ........... ..... . ...
                                                                                                                 Very good                                                     39.1                                         4.5                                     77.6                                    33.9
      General health                                                                                                           Good                                           51.9: ............ ............................:.............
                                                                                                                                                                                                                            7.6                                    84.8:                                     42.1
                                                                                                                                                                                                                                                      ......................  .....:............. .........................<
                                                                                                                                    Fair
                                                                                 :............. ..........................................                                    64.9
                                                                                                                                           ......:...................................                                   11.0
                                                                                                                                                                                      .......:..................................                                   90.3
                                                                                                                                                                                                                                 ......:.......... .....................                                     52.3
                                                                                                                                                                                                                                                                         .. ......:. ....... ....... ...........  ..... . ...
                                                                                                                                 Poor                                          77.7:                                     19.9:                                       95.8                                    65.0
                                                                                                    Living with HIV                                                            35.1                                          6.0                                    72.6:                                    48.4
       HIV status                                                                                          HIV negative
                                                                                 :............. ..........................................                                     43.9
                                                                                                                                            ................. ........................                                       6.5
                                                                                                                                                                                       .......:..................................                                    82.0
                                                                                                                                                                                                                                  ......:.......... .....................                                     43.4
                                                                                                                                                                                                                                                                           .. ......:. ....... ....... ........... ..... . ...
                                                                                           Don't know status                                                                   53.7:                                         8.2                                     81.7.                                    36.8
                                                                                                                                       No
                                                                                   ............. ..........................................                                    37.0.
                                                                                                                                            ...... ...................................                                       4.1
                                                                                                                                                                                       ....... .................................. ...... €.......... .....................
                                                                                                                                                                                                                                                                     75.7.                                    32.0
                                                                                                                                                                                                                                                                           .. ...... . ....... ....... ........... ..... . ..
      Disability (ACS)
                                                                                                                                     Yes                                       65.9.                                     12.2.                                       91.2.                                   53.0
                                                                                                                                       No                                      42.2: ............ ............................>.............
                                                                                                                                                                                                                   5.4                                    78.2.
                                                                                                                                                                                                                                             ......................                                35.0
                                                                                                                                                                                                                                                                    .....>............. .........................<
      Disability (self-identify)
                                                                                                                                     Yes €                                     64.5 €                          12.1 €                                     90.9 €                                   54.5
                                                                                                                                        No                                      44.7                                         5.3                                     77.7                                     32.2
       Homelessness (ever)
                                                                                                                                      Yes                                       56.6.                                     11.8.                                      91.0.                                    59.3
  ...............................................................................€...............................................................y..........................................y........................................y.........................................y.......................................:
       Homelessness                                                                                                                     No         €                            45.4           €                              5.6        €                           80.8            €                        38.2
                                                                                 :............. .......................................... ......:................................... .......:.................................. ......:.......... ..................... .. ......:. ....... ....... ...........   ..... . ..
       (past year)                                                                                                                    Yes                                       66.5.                                     20.4.                                      91.3.                                    63.5
                                                                                                                                                                                                                                                                                                         -------------------
       Arrested any reason                                                                                                              No
                                                                                   ................................... ..........................................               48.1
                                                                                                                                                                  ..........................................                  7.1
                                                                                                                                                                                                             ..........................................              81.6.
                                                                                                                                                                                                                                                        ......................  ................... .... 40.1
   .......(past        year)
           ..........................................                                                                                 Yes
                                                      ............................ ............. ..........................................                                     58.5
                                                                                                                                            ......:...................................                                    19.0
                                                                                                                                                                                       .......:..................................                                    88.1
                                                                                                                                                                                                                                  ......:...................................                                  58.1....
                                                                                                                                                                                                                                                                              ......:...................................




                                                                                                                                                                                                                                                                                                                                 AR_026977
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  LIJI[aIIJ11IiS*fSk.1
  As described above, transgender people have many of the same risk factors found in the U.S. general
  population. In addition, transgender people have risk factors that are unique to the transgender
  population, such as experiences related to disclosure of transgender status, access to gender
  affirming care, and exposure to minority stressors, such as experiences of discrimination, stigma, and
  family rejection. While cisgender people (i.e., people who are not transgender) sometimes experience
  discrimination and rejection for various reasons, the findings presented in this section describe the
  unique experiences of USTS respondents that were attributed to transgender status.

  "Outness" and Disclosure
  In addition to general risk factors, transgender individuals have unique factors in their lives that may
  increase risk of suicide thoughts and attempts. One unique factor is disclosure of transgender status
  to family, friends, and others (i.e., being "out" as transgender). The USTS asked respondents about the
  degree to which they were "out" to various people in their lives. Table 3 presents findings about how
  "outness" is related to suicide thoughts and attempts. While being "out" to immediate or extended
  family, boss, co-workers, classmates, or health care providers was not related to past-year suicide
  attempts, being "out" was associated with lower prevalence of past-year suicide thoughts compared
  with not being "out." Being "out" to an increasing number of LGBT and non-LGBT friends, however,
  was associated with higher prevalence of suicide thoughts and attempts, both lifetime and past-year.
  Strikingly, in regard to every group of people in respondents' lives examined by the USTS, respondents
  who indicated they had not disclosed their transgender status to anyone were the least likely to have
  reported lifetime suicide attempts compared to those who had disclosed their status to others. This
  replicates our previously reported finding from the NTDS that respondents who had told no one that
  they are transgender, and respondents who were not "out" to family, friends, or others, were the least
  likely to have reported lifetime suicide attempts.

  The USTS asked respondents whether they thought other people could tell that they are transgender.
  Twenty-four percent of LISTS respondents reported that people can never tell they are transgender,
  whereas 2 percent reported that people can always tell that they are transgender.L3 Those who
  reported that others can always tell they are transgender had the highest prevalence of both
  lifetime and past-year suicide thoughts and attempts. Due to the larger sample size and revised
  questionnaire, this finding is generally more robust than our 2014 analysis of NTDS data, where
  respondents who reported that others could always tell they are transgender had only a slightly
  elevated risk of lifetime suicide attempts. it should be noted, however, that those who reported they
  had not disclosed their transgender status to anyone and those who reported that people can never
  tell they are transgender reported a prevalence of suicide thoughts and attempts much higher than
  the U.S. general population.




  "James, S.E., et al., (2016).



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  Table 3. Suicide thoughts and attempts by "outness," disclosure, and perception by others




      "Out" to immediate                                                                               Some                                     53.1                                  7.7                               82.1                    37.9
      family                                                                                             Most                                   50.9                                  7.7                               83.5                    40.4'.
                                                                                                               All                              44.7                                  7.4                               82.1                    42.6
                                                                                                        None                                    52.7                                   7.1                              80.1                    35.2
                                                                                                       Sorne                                    51.7                                  7.8                               85.3                    43.6
      "Out" to extended family
                                                                                                         Most                                   46.3                                  7.3                               83.0                    42.5
                                                                                                               All                              38.1                                  6.6,                              80.0 ,                  43.1
                                                                                                        None                                    41.7                                  6.6                              72.3                     32.4
                                                                                                               Some
                                                                  ... .................... ... ....... ............                                           45.3 ............. ...........................
                                                                                                                    ... .......... .............. ...........................                   5.5 .. ........... ..........................
                                                                                                                                                                                                                           79.0                 35.2 '.
      "Out" to LGBT friends
                                                                                                                 Most                                         50.4                              5.9                        82.2                 38.2
                                                                                                               All                              48.8                                  8.0                               82.9                    42.9
                                                                                                        None                                    44.7                                  7.0                              75.6                     34.7'.
      "Out" to non-LGE31                                                                               Some                                     47.1                                  6.0                               81.1                    37.1
      friends                                                                                            Most                                   49.5                                  6.2                               82.9                    38.7
                                                                                                    All ...........................................:.........................................:..........................................
                                                                                                                                49.4
  ................................................................................................................................................            9.0                         83.8 ........................................
                                                                                                                                                                                                                        47.1
                                                                                                        None                                    48.8                                  6.5                               80.3                    36.2
                                                                                                       Some                                     44.8                                  6.4                               81.6                    41.5
      "Out" to boss
                                                                                                         Most                                   44.0                                  6.9                               80.0                    39.5
                                                                                                               All                              42.9                                  6.2                               81.1                    41.5
                                                                                                        None                                    48.8                                  6.7                              79.9                     36.6
                                                                                                       Some                                     45.9                                   5.7                              82.5                    39.4
      "Out" to co-workers
                                                                                                         Most                                   40.0                                  5.7                              79.5                     38.1
                                                                                                    All                         42.9                             6.4'                         80.2                          42.1
  ...............................................................................................................................................:...........................................:.........................................:..........................................:.....
                                                                                                        None                                    50.4                                  7.0                               80.7                    38.2
                                                                                                       Some                                     51.6                                  7.2'                              82.3                    39.6'.
      "Out" to classmates
                                                                                                         Most                                   47.1                                  7.7                               81.6                    40.0'.
                                                                                                               All                              46.1                                  8.7                               82.2 ,                  46.8
                                                                                                        None                                    53.4                                  7.6                               81.2                    36.5
      "Out" to health care                                                                             Some                                     50.0                                  6.6                               82.8                    39.1
      providers                                                                                          Most                                   45.9                                  6.0                               80.8                    40.6
                                                                                                               All                              42.5                                  7.4                              Si .6                    43.8
                                                                                                    Always '                                    62.0                               12.2                                 84.2 '                  47.0'.
                                                                             Most of the time                                                   49.6                                  9.6                               82.3                    42.2
      People can tell I'm trans,
                                                                                          Sometimes                                             50.3                                  7.2                               82.6                    41.4.
      even if I don't tell them
                                                                                                      Rarely                                    46.9                                  7.1                               81.5                    40.6

  ...................................................
                                               ..........................................                  Never.....:....................................
                                                                                   ..........................................               46.0                                   6.3.....:....................................
                                                                                                                                                    ......:...................................                    80.5.....:....................................
                                                                                                                                                                                                                                                37.6'.    ....
  NOTE: Text in blue indicates there is no statistically significant relationship.




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  Social and Medical Gender Affirmation
  USTS respondents were asked about whether they live full time according to their gender identity and
  whether and how they have accessed gender-affirming medical care (i.e., hormones or surgery). Table
  4 shows how these gender affirmation milestones are related to suicide thoughts and attempts. Those
  who do not want to live full time according to their gender identity generally were at similar or lower risk
  of lifetime suicide attempts compared to those who do not live full time yet but want to someday. Those
  who began to live full time according to their gender identity more recently have a higher prevalence of
  past-year suicide thoughts and attempts than those who began living full time longer ago. For instance,
  those who began to live full time according to their gender identity within the past year had nearly
  double the prevalence of past year suicide attempts than those who began ten or more years ago.

  There was no statistically significant relationship between suicide thoughts and attempts and current
  hormone use, but there was a significant relationship among people receiving hormone therapy
  based on where they got their hormones. Respondents who got their hormones only from licensed
  professionals were less likely to report past-year suicide thoughts and attempts and lifetime attempts
  than those who got their hormones from friends or other non-licensed sources. Those who wanted,
  and subsequently received, hormone therapy and/or surgical care had substantially lower prevalence
  of past-year suicide thoughts and attempts than those who wanted hormone therapy and surgical
  care but had not received them. For instance, 5.1 percent of those who wanted surgical care and
  received it attempted suicide in the past year compared to 8.5 percent of those who wanted surgical
  care but did not receive it.

  The USTS asked respondents if they had ever gone back to living according to their sex assigned
  at birth, which was referred to as "de-transitioning." Eight percent of respondents reported having
  "de-transitioned" at some point for reasons such as pressure from family and friends and having
  experienced too much harassment or discrimination. Those who had "de-transitioned" at some point
  were significantly more likely to report suicide thoughts and attempts, both past-year and lifetime,
  than those who had never "de-transitioned."

  Table 4. Suicide thoughts and attempts by gender affirmation milestones




                                                No           36.5           4.1          71.0           32.6
    Want to live in gender
                                               Yes           55.3           7.4          81.9           35.6
    identity someday
                                          Not sure           45.5           5.2          75.9           31.0
                                             0to1            54.7           9.7          84.3           42.3
    Years since began
                                             2 to 5          50.7           7.9          86.0           46.3
    to live according to
                                             6 to 9          39.2           6.6          80.2           45.6
    gender identity
                                           10 plus           31.5           5.2          78.4           43.1
    Currently taking                            No           43.0           7.3          79.2           40.8
    hormones                                   Yes           42.7            .3          82.1           42.6




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  Table 4. Suicide thoughts and attempts by gender affirmation milestones (continued)




                                            Only licensed
                                                                            41.6           5.8             81.7             41.6
                                            professionals
       Where get hormones              Professionals and
                                                                            53.7         11.6              87.0             51.4
                                           friends /other
                                      Only friends/other ,                  54.1         16.4              81.7             52.0
                                  Want them, haven't had                    57.9           8.9             84.4             41
       Had/have hormones
                                   Want them, have had                      42.9           6.5             81.9             42,4
                                     Want, have not had                     54.8           8.5             83.9             41.5
       Had/have surgery
                                         Want, have had                     38.2           5.'             79.0             39.5
                                                            No :                                                                   .
                                                                            44.2           6.7             81.6             41.8
       Ever "de-transitioned"
                                                           Yes              57.3         11.8              86.0             52.5
  NOTE: Text in biuc indicates there is no statistically significant relationship.




  Family rejection and social support

  Family rejection for being transgender can include such things as relationships ending, experiencing
  violence from a family member, being kicked out of the family home, not being allowed by their families
  to live according to their gender identity, and being forced to receive counseling or therapy. Table 5
  shows findings for suicide thoughts and attempts related to these experiences. Respondents with
  supportive families were less likely to report suicide thoughts and attempts than those who reported
  that their spouses, partners, or children rejected them because they are transgender. Respondents who
  ever ran away from home as youth because of being transgender had more than double the prevalence
  of past year suicide attempts than those who had not had that experience. Those with supportive co-
  workers and classmates had a lower prevalence of suicide thoughts and attempts.

  The availability and quality of resources for social support can have an impact on suicidality.24 As one measure
  of social support resources, the USTS asked respondents about whether and how they socialize with other
  transgender people. overall, there was no significant relationship between socializing with other transgender
  people and suicide thoughts or attempts. However, some significant relationships emerged when looking at
  specific ways in which respondents socialized with other transgender people. Those who socialize with other
  transgender people online were more likely to report suicide thoughts and attempts, while those who socialize
  with other transgender people in person were less likely to report suicide thoughts and attempts. Those who
  socialize with other transgender people in political activism had a higher prevalence of suicide thoughts and
  attempts than those who did not socialize with other transgender people in this way.




  24See, for instance, Bauer, G. R., Pyne, J., Francino, M. C.. & Hammond, R. (2013). Suicidality among trans people in Ontario:
  Implication for social work and social justice. Service Social, 59(1), 35-62; Zeluf, G., Dhejne, C., Orre, C., Mannheimer, L. N.,
  Deogan, C., Hoijer, J., Winzer, R., & Thorson, A. E. (2018). Targeted Victimization and Suicidality Among Trans People: A
  Web-Based Survey. LGBT Health, 5(3), 180-190.



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  Table 5. Suicide thoughts and attempts by experiences of family rejection and social support




                                                                            ........ ......                                           No                                     46.8:
                                                                                               ............... ............ ....... ............:.............................                                              6.4
                                                                                                                                                                               .......................................... .......................................... 81.5.                                      39.2
                                                                                                                                                                                                                                                                     ..............:........................... ...............:
                                                                                         Yes, only because I'm
       Spouse or partner                                                                                                                                                     48.8:                                       11.3                                        85.6.                                      54.3
       ended relationship                                                   ........ ............ ..................... ............ . trans
                                                                                                                                        ... ............<............................. .. .......... ............................ .......................................... ............ < ....................... .............
                                                                                      Yes, because I'm trans
                                                                                                                                                                                     '46x. '                                        8.4                                     83.4.                                   46.7
                                                                                                  and other reasons
                --------------------------------------------                 ---------------------------------------------------------------------------------------                                     ------------------------------------------------------------------------------- ------------
       Child ended                                                                                                                            No : ... ... ....... ....... 34.6
                                                                            .......................................... ..................................:...                                       : ....
                                                                                                                                                                                      ... ....... ...:......                        4.2
                                                                                                                                                                                                                          ............................                      74.1
                                                                                                                                                                                                                                                       ....................................:..... ................ ....... ....... ....
       relationship                                                                                                                         Yes                                       41.3 '                                          8.1                                     83.6.                                       50.5
                                                                                                                                                                                                --------------                                                                                 -----------------------
                                                                                                                       Supportive                                                     41.9.                                           5.8                                      79.3                                       37.3.
        Family support                                                                                                           Neutral
                                                                            .......................................... ..................................:.......                     50.8
                                                                                                                                                                  .......................................... ....                     7.4                                     84.2      . ................ .......42.4
                                                                                                                                                                                                                                                                                 .............                     ..
                                                                                                               Unsupportive                                                           60.3 '                                      13.1                                        89.9:                                       54.0
        Rejected by family of                                                                                                                  No                                      42.2                                           5.1                                     77.3                                        33.1
        origin                                                                                                                               Yes         '                             53.5                                       10.5                                        88.4           '                            52.0
  .....................................................................................................................................................................................................................................................................................................................................:
        Ever ran away from . . ............ ..................... ............ . No                                                                                                 ...45.6                                           6.4
                                                                                                                                                                                        .............:............................ .......................................... 81.2                                        38.4
                                                                                                                                                                                                                                                                               .......................................... ...............:
        home                                                                                                                                 Yes                                       61.1                                       17.2                                        91.6                                        67.5.
                                                                                                                       Supportive                                                      40.2                                           5.2                                     79.2                                        38.5
                                                                          ........................................... ...................................... ... ... ....... ....... ... ....... .......... .......................................... .......................................... ................ ....... ....... ....:
        Co-worker support                                                  ........ ............ ..................... ............Neutral
                                                                                                                                     ....... ............:.............................49.0                                           7.1
                                                                                                                                                                                        .............:............................ .......................................... 84.3:                                       42.7
                                                                                                                                                                                                                                                                               ..............:........................... ...............:
                                                                                                               Unsupportive                                                            66.3:                                      12.3                                        91.0                                        54.7

                                                                           ........ ............ .....................Supportive                                                       45.1                                           6.2
                                                                                                                        ............ ....... .......................................... .............:............................ .......................................... 79.9.                                       39.5.
                                                                                                                                                                                                                                                                               ..............:........................... ...............:
        Classmate support                                                                                                         Neutral                                              53.1                                           8.8                                     84.4.                                       43.3
                                                                                                               Unsupportive                                                            65.9                                       16.5                                        90.3.                                       55.0
  ........................................................................ .............................................................................:.............................................................................................................................................................................
                                                                                                                     do       socialize
        Socializing with other ........ ............ ..................... ............ ....... ............:............................. .............:............................ .......................................... ..............:........................... ................
                                                                                                                  I                                                                    48.5:                                          7.2                                     81.7.                                       404
        trans people                                                                                  I do not socialize                                                              66.5                                            7.7                                     81.4 €                                      39.9
        Socialize in political                                                                                                                 No ... ... ....... ....... 47.6.
                                                                            .......................................... ......................................                                                                         7.3
                                                                                                                                                                                       ... ....... ...:...... ..........................................                      80.3. ................ .......38.8
                                                                                                                                                                                                                                                         ....................................:.....                           ....... .....
        activism                                                                                                                             Yes                                       49.9.                                          7.2                                     84.7.                                       43.7
                                                                                                                                               Nos                                     40.8.                                          6.2                                     77.2.                                       36.9
        Socialize online
                                                                                                                                             Yes                                      50.3.                                         7.5                                     82.9:                                       41.3
  ......................................................................................................................................................:.................................................................................................................................:..........................................
                                                                                                                                               No                                     51.6.
                                                                            ........ ............ ..................... ............ ....... ............<............................. ... . . ;.                                 8.4                                      82.8.                                       41.5.
        Socialize in person
                                                                                                                                             Yes                                      46.5:                                         6.7                                     81.1                                        39.8
  ---                                                                                                                                                                                                                                            ----------------------
        Socialize in support                                                                                                                   Nos ... ... ....... ....... 49.1
                                                                             .......................................... ..................................:...                                       : ..........................................
                                                                                                                                                                                       ... ....... ...:......                       7.1                .....                82.1
                                                                                                                                                                                                                                                                         ..................:..... ................ .......39.6
                                                                                                                                                                                                                                                                                                                           ....... ....
        groups                                                                                                                               Yes                                      46.6.
   ........ .......................................... .................... ..................... .......................................... ............:............................. .............:.                             7.7
                                                                                                                                                                                                                              .. .....                                      80.9:                                       42.1
                                                                                                                                                                                                                                                                          .. ......................................... ...............:
  NOTE: Text in blue indicates there is no statistically significant relationship.


  Religion

  As can be seen in Table 6, lifetime suicide thoughts and attempts were marginally more common
  among respondents who had ever been a part of a religious or spiritual community, although this group
  showed marginally lower suicide thoughts and attempts in the past year. Elevated prevalence of both
  lifetime and past-year suicide thoughts and attempts was observed among respondents who had left a
  religious or spiritual community because they felt rejected, as well as those who reported experiencing
  religious rejection in the past year. Conversely, respondents who experienced religious acceptance in
  the past year were markedly less likely to report past-year suicide thoughts and attempts.




                                                                                                                                                                                                                                                                                                                                          AR_026982
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  Table 6. Suicide thoughts and attempts by experiences with religion




        Ever part of religious                                                                                                       No                                      49.7                                           8.1                                      80.7                                         38.6
       community                                                                                                                   Yes,............................................:.......................................................................................
                                                                                                                                                                    47.6,                                           6.8                                      82.2 _...........................................:
                                                                                                                                                                                                                                                                                               41.3
       Left religious community                                                                                                    No                               45.9                                            5.8                                     80.2                               36.8
       rejected                                                                                                                    Yes                                       54.7                                        11.0                                        90.8                                         60.4 .
       Found accepting religious                                                                                                     No                                      59.3                                        12.2                                        92.6                                         60.8
       community                                                                                                                   Yes                                       48.2                                            9.4                                     88.1                                         60.0
       Part of religious community                                                                                                   No                                      50.0                                            6.7                                     83.8                                         41.8
       (past year)                                                                                                                 Yes                                       42.0                                            7.2                                     78.4                                         40,1
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                    No                                       54.6                                        22.5
                                                                                                                                                                                                                           ........               ... ......         87.4
                                                                                                                                                                                                                                                                      ........               .. .......           46.3
                                                                                                                                                                                                                                                                                                                   ......
        Religious acceptance (past year)
                                                                                                                                   Yes                                       39.6                                         6.3                                        79.3                                         41.5
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                    No                                       38.9'                                           5.5                                     78.7                                         40.0
       Religious rejection (past year)
                                                                                                                                   Yes                                       46.1                                        13.1                                        84.1                                         49.1
  NOTE: Text in biue indicates there is no statistically significant relationship.


  Conversion therapy

  A prior analysis of USTS data found that 18 percent of respondents reported that a psychologist,
  counselor, religious advisor, or other professional with whom they had discussed their gender
  identity attempted to stop them from being transgender.25 Fourteen percent reported that such a
  professional had attempted to change their sexual orientation. As shown in Table 7, having either
  of these experiences is associated with a higher prevalence of both lifetime and past-year suicide
  thoughts and attempts. Whether the professional in question was a religious advisor or non-religious
  professional was not significantly related to these outcomes.

  Table 7. Suicide thoughts and attempts by experiences with conversion therapy



  ~~i,,,,                  ,,,n,,,,,            ,,,,~,,,,             ,,,n,,,,, ,,,,,,,,✓000~~0000~000~000~000~ ///~i~iiii/ioi~/i/~oo~/~i~ii%/~i~i/ii/~i~%~000~ ///~/iii/ice                                                                                                  .~i~/,~. ~i~/,,//~i~
        Professional tried to stop them                                                                                                    No                                    45.7                                           6.4                                      81.3                                      38.7
        being trans                                                                                                                      Yes                                     57.4                                        11.9                                        90.9                                      58.3
  .....................................................................................................:.............................................b..........................................:......................................................................................y...........................................
        Professional was a religious                                                                                                       No                                    57.3                                        11.'1                                       91.4                                      58.4
       counselor                                                                                                                        Yes                             57.7                            13.7                                        89.9                                       58.1
       Professional tried to change                                                                                                     No                              47.2                                6.5                                     82.4                                       39.9
       sexual orientation                                                                                                               Yes ..........................................
                                                                                                                                                                        59.4 ......................................................................................:............................................
                                                                                                                                                                                                        12.2                                        92.9                                       63.1
  NOTE: Text in blue indicates there is no statistically significant relationship.




  25
       James, S.E., et al.. (2016).



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  Violence

  Physical victimization, sexual violence, and intimate partner violence (IPV) have been shown to
  increase risk of suicidal ideation and behavior in the general population.26 Prior research suggests that
  transgender people experience violence more often than the general population, including violence
  that is related to transgender status.' Table 8 presents findings regarding relationships between
  experiences of violence and suicide thoughts and attempts. Past-year suicide thoughts and attempts
  were considerably more prevalent among respondents who reported having experienced physical
  attacks during the past year, compared to respondents who did not have that experience. The large
  majority of respondents who reported they had been physically attacked attributed the attack to their
  transgender status. This group of respondents was significantly more likely to report lifetime suicide
  thoughts and attempts than those who did not have that experience.

  Very similar results were obtained in relation to other types of violent experiences, including
  unwanted sexual contact and intimate partner violence (IPV), such as IPV centering on coercive control
  and also physically abusive IPV. In addition to other types of coercive control IPV, respondents were
  asked if an intimate partner had ever withheld hormones, threatened to "out" them, or told them they
  weren't a real man or women. Unwanted sexual contact and all aspects of IPV explored in the USTS
  were associated with a higher prevalence of suicide thoughts and attempts, both lifetime and in the
  past year.

  Table 8. Suicide thoughts and attempts by experiences with violence




        Physically attacked, any reason                                                                                              No                                      45.2                                            5.6                                      80.1                                        36.7
        (past year)                                                                                                                Yes                                       68.7                                        18.4                                         92.4                                        64.9
        Physically attacked because                                                                                                  No                                      46.2                                            6.0                                      80.5                                        37.7
        trans. (past       year)                                                                                                   Yes                        ......... 70.1                                             20.9                                         93.8                                        69.2
       ......... _......... ........ ......... ........                                                            ........          ....                                 ........                      .........              ........ .           ........              ........ .           .........            ........ ..:
                                                                                                                                     No                                      41.1                                            4.7                                      74.7                                        28.7
        Unwanted sexual contact (ever)
                                                                                                                                   Yes                                       56.5                                        10.2                                         89.7                                        53.6
        Unwanted sexual contact                                                                                                      No                                      45.8                                            5.9                                      80.4                                        38.2
        (past year)                                                                                                                Yes,                                      70.6                                        19.4                                         93.2                                        59.8
                                                                                                                                                                                                                                                                                                                  31.4,
                                                                                                                                     No                                      44.1                                            5.7                                      77.1
        coercive control IPV (ever)
                                                                                                                                    Yes                                       53.6                                           9.2                                      87.4                                          51.8
  s.............................................................................................................................................:........................................... ...........................................:........................................................................................<
        Coercive control IPV,                                                                                                         No                                      46.4                                           6.1                                       79.6                                        35.5
        trans-related (ever)                                                                                                       Yes                                       53.4                                        10.3                                         87.2                                        53.4




  26
     Klomek A.B., Kleinman M., Altschuler E., Marrocco, F., Amakawa, L., & Gould, M.S. (2013). Suicidal adolescents'
  experiences with bullying perpetration and victimization during high school as risk factors for later depression and
  suicidality. Journal of Adolescent Health, 53(1), Supplement, S37-42.
  27 Stotzer, R. L. (2009). Violence against transgender people: A review of United States data. Aggression and Violent

  Behavior, 14(3),170-179; Lombardi, E. L., Wilchins, R.A., Priesing, D., & Malouf, D. (2001). Gender violence: transgender
  experiences with violence and discrimination. Journal of Homosexuality. 42(1), 89-101.



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  Table 8. Suicide thoughts and attempts by experiences with violence (continued)




                                                                                                  No                           46.0                        6.1                           78.4                             32.8
       Physical IPV (ever)
                                                                                                Yes                            52.7                        9.4                           87.9                             54.3
                                                                                                  No                           46.0'                       6.0                           79.1                             34,1
      Severe physical IPV (ever)
                                                                                                Yes ...........................................
                                                                                                                               55.8 .....................................................................................................................................
  .............................................................................................................................................          11.2                            89.9                             60.2
                                                                                                  No                           43.7                        5.7                           75.8                             29.4.
      Any type of IPV (ever)
                                                                                                 Yes                           52.2                        8.6                           86.7                             49.7



  The USTS collected data on discrimination experiences across many areas of life, such as school,
  work, health care, and public accommodations, including public restrooms. Prior research shows
  that such discrimination experiences are minority stressors, which negatively impact mental and
  physical health.28 Tables 9a through 9g present findings related to the generally strong association of
  discrimination experiences and past-year and lifetime suicide thoughts and attempts.

  Denied equal treatment & verbal harassment

  As shown in Table 9, significantly large proportions of respondents who reported being denied equal
  treatment or being verbally harassed in the past year, either for any reason or specifically because of
  their transgender status, reported past-year suicide thoughts and attempts, compared to those who
  did not have these experiences.

  Table 9. Suicide thoughts and attempts by experiences of being denied equal treatment and
  verbal harassment




       Denied equal treatment, any                                                            No                           46.1                             6.2                            80.2                            37.5
       reason (past year)                                                                     Yes                          60.2                            12.8                            89.8                            55.7
       Denied equal treatment                                                                 No                           46.2                             6.3                            80.3                            37.8
       because trans (past year)                                                              Yes                          61.3                            13.4                            90.3                            56.4
       Verbally harassed, any reason                                                          No                           36.3                             4.1                            74.6                            30.7
       (past year)                                                                            Yes                          58.4                            10.0                            87.7                            48.5
       Verbally harassed because                                                              No                           39.5                             5.0                            76.1                            32.9
       trans (past year)                                                                      Yes                          58,8                            10.0                            88.4                            49.4




  28
    Tucker, R. P., Testa, R. J., Reger, M. A., Simpson, T L., Shipherd, J. C., & Lehavot, K. (2018). Current and Military-Specific
  Gender Minority Stress Factors and Their Relationship with Suicide Ideation in Transgender Veterans. Suicide Life-
  Threatening Behavior, 49(1),155-166; Testa, R. J. Michaels, M. S., Bliss, W, Rogers, M. L., Balsam, K. F., & Joiner, T. (2017).
  Suicidal ideation in transgender people: Gender minority stress and interpersonal theory factors. Journal of Abnormal
  Psychology, 126(1), 125-136.



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  Education

  Table 10 shows that USTS respondents who reported negative experiences in K-12 educational
  settings, such as being verbally harassed, physically attacked, or sexually assaulted, had higher
  prevalence of lifetime and past-year suicide thoughts and attempts than respondents who did not
  have such experiences. Similar patterns emerge for those who left school due to mistreatment or
  were expelled. Notably, the group with the lowest prevalence of suicide thoughts and attempts-
  much lower than the overall LISTS averages in some cases-are those who were not "out" or
  perceived by others to be transgender or lesbian, gay, bisexual, or queer (LGBQ) in K through 12. Yet,
  the prevalence of suicide thoughts and attempts in that group remains much higher than the U.S.
  general population. Those who reported harassment in college or who left college due to harassment
  had a higher prevalence of past-year and lifetime suicide attempts than those who did not have those
  experiences.

  Table 10. Suicide thoughts and attempts by experiences in educational settings



                                                                                                                        ,,.
                                                                                                     cut or perceived as
                                                                                                                                                                                              51.8                                           8.0                                     85.1                                        44.2
       Out or perceived as trans or                                                                          trans/LGBQ
       LGBQ in K-12                                                                                 Not out or perceived
                                                                                                                                                                                              36.5                                           4.4                                     70.5                                        27.1
                                                                                                          as trans/LGBQ
       Verbally harassed in K-1 2,                                                                                                                    No                                      51.2                                           7.9                                     83.1                                        41.6
       because                  trans                                                                                                               Yes                                       58.0                                       11.8                                        89.9
  ...........................................................................................:.........................................................................:.............................................:.............................................:............................................                 54.9
                                                                                                                                                                                                                                                                                                     ............................................:
       Physically attacked in K-1 2,                                                                                                                  No                                      53.6                                           8.4                                     85.1                                        43.5
       because trans                                                                                                                                Yes                                       59.1                                       15.2                                        92.2                                        65.7
       Unwanted sexual in K-12,                                                                                                                       No                                      53.8                                           8.8                                     86.1                                        45.9
       because trans ... ..                                                                                 _.........                              Yes
                                                                                                                                                            ........_            .... 61.9                                               18.1
                                                                                                                                                                                                                                   ___._........                                     91.9
                                                                                                                                                                                                                                                                  ...... ......_.........                 ............ ......... 67.6
                                                                                                                                                                                                                                                                                                                                         ._:.
       Left K-12 due to                                                                                                                               No                                      53.0                                           8.7                                     85.6                                        44.7
       mistreatment so bad                                                                                                                           Yes                                      64.3                                       16.6                                        92.7 ............................................:
  ...........................................................................................:.........................................................................:.............................................:.............................................:............................................                 69.3
                                                                                                                                                      No                                      54.4                                           9.5                                     86.4                                        47.7'.
       Expelled from K-12
                                                                                                                  Yes                            63.2                             18.2 ..                           94.2                              67.8
  ....................................................................................................................................................................:.............................................:.............................................:.....................
                                                                                                                                                                                                                                ............................................:
       Any negative K-1 2                                                                                                                             No                                     47.5                                            7.2                                     79.3                                        36.5
       experience                                                                                                                                   Yes                                       57.1                                       10.9                                        89.0                                        52.5
       Verbally harassed in college                                                                                                                   No                                     47.0                                            6.4                                     82.2                                        39.3
       because trans                                                                                                                                Yes                                       57.7                                       10.3                                        91.7                                        57.2
       Left college due to                                                                                                                            No                                      56.0                                           9.1                                     91 €                                        54.8
       mistreatment so bad                                                                                                                          Yes                                      66.0                                        15.4                                        95.0                                        69.6
  NOTE: Text in hue indicates there is no statistically significant relationship.


  Employment & Vforkt lace

  Table 11 presents findings about the relationship between employment and workplace discrimination
  to suicide thoughts and attempts. As shown, losing a job because of one's transgender status (as
  opposed to losing a job for any reason) was significantly related to past-year and lifetime suicide
  thoughts and attempts. Respondents who reported negative past-year work experiences because of
  their transgender status, such as being fired or forced to resign, not being hired, and being harassed,



                                                                                                                                                                                                                                                                                                                          AR_026986
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  attacked, or physically assaulted in the workplace had higher prevalence of past-year suicide thoughts
  and attempts than those who had not experienced these events. Those who took steps to avoid
  mistreatment at work, such as quitting their job or hiding their gender identity, were more likely
  to report suicide thoughts and attempts compared to those who did not take such steps to avoid
  mistreatment.

  Table 11. Suicide thoughts and attempts by experiences with employment and in the workplace




                                                                                                                                                      No
                                                                                                                                                       .. .......>............         48.3                                     7.3
                                                                                                                                                                                                                   ................................                  80.0.
                                                                                                                                                                                                                                                ........................................................... 36.4
            Ever lost job, any reason                                                                                                                                                                                                                                                                 ......................
                                                                                                                                                    Yes                                48.4                                     7.3                                  84.0:                                 45.7
                                                                                                                                                      No ........ .........47.9
                                                                                                                                              .......................                                                           7.0 ...................................
                                                                                                                                                                                        ....................... .................................                    80.7:................................  38.3 ..... .
            Ever lost job because trans/GNC
                                                                                                                                                    Yes                                51.5                                     9.2                                  88.5:                                  55.1
                                                                                                                                              ..................y............ .................................. ........................................................................4.............................................
            Denied promotion because trans                                                                                                            No
                                                                                                                                              ...................:.............         50.8
                                                                                                                                                                                ..................................              7.7
                                                                                                                                                                                                                   .................................                 83.1 .:.............
                                                                                                                                                                                                                                                                                 €
                                                                                                                                                                                                                                                ...................................                        40.3
                                                                                                                                                                                                                                                                                                ........................:
            (past year)                                                                                                                             Yes                                61.3                                     9.6                                  90.7.                                  59.1
            Fired/forced to resign because trans                                                                                                      No
                                                                                                                                                       .. ....................         50.8..............                       7.5
                                                                                                                                                                                                                   ................................                  83.2:
                                                                                                                                                                                                                                                ..................................:........................40.5 :
                                                                                                                                                                                                                                                                                                      ....................
            (past year)                                                                                                                             Yes                                64.1                                 15.3                                     90.3.                                  59.8
                                                                                                                                                      No                               48.2                                     6.5                                  81.4:                                  37.6
            Not hired because trans (past year)
                                                                                                                                                    Yes                                62.2
                                                                                                                                              ................................ ..................................           12.4                                     90.7:                                  54.6
                                                                                                                                                                                                                   ......................................................................................................................:
        Took steps to avoid discrimination at                                                                                                           No                                       33.6                                          4.7                                      76.0:                                      35.0
        work (past year)                                                                                                                              Yes                                        54.5
   ...............................................................................................................................................................................................................................              7.5                                     85.2                                       42.2
        Any mistreatment by employer                                                                                                                    No ....... . ..... ..................................
                                                                                                                          :...........................................                           46.5                                           5.8
                                                                                                                                                                                                                                   .................................                    80.8 .................
                                                                                                                                                                                                                                                                ...................................                                 36.2
                                                                                                                                                                                                                                                                                                                                      .......
        (past year)                                                                                                                                   Yes                                        60.1                                       10.4                                        90.6                                       54.9
                                                                                                                                                                                                                                                   ----- --------------------------------------------- -- ----------------------------------------
        Harassed, attacked, sexual assault at                                                                                                           No
                                                                                                                           .................................                                     47.0                                          5.9
                                                                                                                                                                                                     ..................... ................................
                                                                                                                                                            .......:..................................                                                                                  81.5
                                                                                                                                                                                                                                                                 .................................                                  37.7
        work (past year)                                                                                                                              Yes                                        64.6
  :.............................................................................................................................:........................................:........................................................          12.2                                        92.1                                       56.6
   NOTE: Text in blue: indicates there no statistically significant relationship.
                                                                                       is
  l #ou5!! g

  Housing instability is a known risk factor for suicide thoughts and attempts in the general
  population. Prior research suggests that transgender people have high prevalence of housing
  instability compared to the general population, including experiencing homelessness.3' The figures in
  Table 12 show the impact of recent housing discrimination and instability on suicidality among USTS
  respondents. Those who reported being evicted or denied a home or apartment in the past year
  due to their transgender status had an especially high prevalence of past-year suicide thoughts and
  attempts, with those being evicted having nearly four times higher prevalence of attempted suicide
  in the past year compared to those who were not evicted. Similarly, respondents who had "couch




  29
    Van Orden, K. A., et a ., (2010).
  30Begun, S. & Kattari. S.K. (2016). Conforming for survival: Associations between transgender visual conformity/passing
  and homelessness experiences. Journal of Gay & Lesbian Social Services, 28(1), 54-66; Spicer, S. S., Schwartz. A., & Barber,
  M.E. (2016). Special Issue on Homelessness and the transgender Homeless Population. Journal of Gay and Lesbian Mental
                267-270.
  Health,
                      14(4),
                                                                                                                                                                                                                                                                                                                        AR_026987
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  surfed" during the past year, meaning they relied on short-term accommodations in the homes of
  friends or family members to avoid being homeless, had over three times the prevalence of past-year
  suicide attempts than those who were not in that position.

  Table 12. Suicide thoughts and attempts by experiences with housing




       Evicted from home/apartment                                      Na                46.0                    6.1                    81.3                      40.0

  .....(past year)
              ......._ ........._ ........_ .........        ......._   Yes
                                                                         ...              69.1                 22.3
                                                                                                          ______.                  90.9
                                                                                                                ........ ........_ ........___.__
                                                                                                                                               .......              65.6
                                                                                                                                                                   .......
       Denied a home/apartment                                          No                46.1                    6.4                    81.5                      40.6
      (past year)                                                       Yes               65.0                  19.8                     88.4                      63.3
                                                                        No                44.4                    5.5                    80.6                      37.8
       Couch surfing (past year)
                                                                        Yes               69.0                  18.8                     90.9                      64.3

  Health Care

  The initial USTS report found that many respondents encountered discrimination within health care
  settings.31 As shown in Table 13, more respondents who were denied care from a health care provider
  in the past year reported suicide thoughts and attempts compared to those who were not denied
  care. Conversely, those who reported that their health care provider knew they were transgender and
  treated them with respect had significantly lower prevalence of suicide thoughts and attempts. Other
  negative health-care-related experiences in the past year, such as riot having health insurance, or
  being mistreated in any way by a health care provider, were also associated with a higher prevalence
  of past-year suicide thoughts and attempts.

  Table 13. Suicide thoughts and attempts by experiences in health care settings
              l
                                   l
                                                         l
                                                                               l
                                                                                                                          l
                                                                        No                56.4                   10.5                    85.6                       47.4.
       Has health insurance
                                                                        Yes               47.0                    6.7                    81.1                       39.2
        Doctor knew trans and treated                                 No                   55.2                  8.4                     82.3                       39.1
        with      respect      (past   year)
       ......... . ..._..... . _ ......_ ..I..... ........ . ........ Yes .. . ......... . 43.3
                                                                                               ..., . .........  6.4
                                                                                                                  ....... .   ........   81.4
                                                                                                                                          ........ .   .........    41.7 ..
                                                                                                                                                                     ........
        Doctor refused to give trans-                                 No                   46.7                  6.5                     81.0                       39.1
        related care (past year)                                      Yes                  62,0                 14.4                     90.8                       59,5
        Doctor refused to give other care                             No                   47.2                  6.8                     81.4                       39.8
        (past year)                                                   Yes                  68.2                 18.8                     91.8                       68.6
        Any negative experience in                                    No                   44.3                  5.7                     78.5                       35.5
        doctor/health setting (past year)                             Yes                  55.0                 10.2 ,'                  88.2                       51.3
  NOTE: Text in bue indicates there is no statistically significant relationship.




  31
       James, S.E., et al., (2016).



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   f'tibitc Acccmrnodai:ions

  Places of public accommodation, such as restaurants, public transportation, retail stores, hotels,
  and government agencies (DMV, Social Security Office) can be places of vulnerability for transgender
  people. in a prior analysis, nearly one-third of USTS respondents reported being denied equal
  treatment or service, verbally harassed, or physically assaulted in a place of public accommodation in
  the past year.'= Twenty percent of USTS respondents had avoided places of public accommodation in
  the past year to avoid mistreatment.33 As shown in Table 14, the present analysis shows that having
  negative experiences in places of public accommodation in the past year, or avoiding these places
  all together, is associated with a higher prevalence of suicide thoughts and attempts compared to
  respondents who did not have these experiences in the past year. Over 30 percent of those who were
  physically attacked in a place of public accommodation reported attempting suicide in the past year,
  which is over four times higher than the prevalence found among respondents who were not similarly
  attacked. Experiences in public restrooms reveal a similar pattern, with respondents who were denied
  access to restrooms, or harassed, physically attacked, or sexually assaulted in restrooms during the
  past year reporting more past-year suicide thoughts and attempts than those who did not have these
  experiences. Those who completely avoided using public restrooms in the past year had much higher
  prevalence of past-year suicide thoughts and attempts than those who did not avoid restrooms or
  only sometimes avoided them.

  Table 14. Suicide thoughts and attempts by experiences in places of public accommodation



        Avoided public accom for fear                                                                                                      No                                    44.9                                         6.1
                                                                                                                                                                                     ...........:..........................................<.......             79.7
                                                                                                                                                                                                                                               ..................................                      37.1
        of mistreatment (past year)                                                                                                       Yes                                    62.1                                      11.9;                                90.5                                   54.0
        Denied equal treatment in                                                                                                          No                                    47.6                                         6.7                               81.4                                   38.8
        public accom (past                                  year)                                                                         Yes                                    60.3                                      12.9.                                90.3                                   57.1
   ..................................................................................................y.......................................................................................................e.......
        Verbally harassed in public                                                                                                        No
                                                                                               ..........................................................                         45.8                                        6.1       s                       80.5
                                                                                                                                                      ......................................................................................................................                           37.0
                                                                                                                                                                                                                                                                         ........................................
                                                                                                                                                                                                                                                                                                              .......
        accom (past year)                                                                                                                 Yes                                    63.6                                      13.1                                 90.6                                   57.5
        Physically attacked in public                                                         ......................................       No                             ........48.4
                                                                                                                                  ..........................................                                                  7.0
                                                                                                                                                                                   ........................................................:.......             82.0 ................................
                                                                                                                                                                                                                                               .....................................                   40.0.   .....:
        accom (past year)                                                                                                                 Yes                                    75.1                                      30.9                                 93.1                                   74.5
        Any neg experience in public                                                                                                       No                                    45.3                                         5.9                               80.0                                   36.2
        accarn (past year)                                                                                                                Yes                                    61.5 y...........................................;
   ..........................................................................................................................................................................................................              12.4 ........................................................................................:
                                                                                                                                                                                                                                                                90.1                                   56.1
        Any neg experience with TSA                                                                                                        No                                    38.1                                         4.7                               76.0                                   32.1
        (past year)                                                                                                                       Yes                                    50.7
  :..................................................................................................y.......................................................................................................y.......         7.3 .                             82.8                                   41.7
        Told that you were in wrong                                                                                                        No                                     45.6 .....................................
                                                                                               ... ............. .......... ..................................................................                                6.2                               80.2........................................
                                                                                                                                                                                                                                  .............................................                        37.2   .......
        restroom (past year)                                                                                                              Yes                                    57.2                                      10.6                                 86.7                                   50.7
        Denied access to a restroom ......................................                                                                 No                             ........47.0
                                                                                                                                  ..........................................                                                  6.4
                                                                                                                                                                                   .............:..........................................<.......             80.9 ................................
                                                                                                                                                                                                                                               .....................................                   38.5    .....:
        (past year)                                                                                                                       Yes                                    62.1                                      15.9.                                89.6                                   59.8




  32
       James, S.E., et al., (2016).
  33
       James, S.E., et al., (2016).



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  Table 14. Suicide thoughts and attempts by experiences in places of public accommodation
  (continued)



  I///////HJJ/..            .YJJJJJJ...                     .JJJJJJJHJJJJJJJ//.~/////////.~///////~/I////////~/I/////////.~/////////.~///////~/I////~1J~/I//////~ ////J//J'/J////J//i.    'I~/I/JJ////~ ///J//J'/J//JJ/JII/J/J//////IJ////////u ////J/~%J//J////1.          '1
                                                                                                                                                                                                                                                                             JJJJJJ///H', ///J/~J///J//JJII/J/J/J/~'•//JJ////


        Harassed, attacked, sexual                                                                                                                   No                                  46.4                                        6.3                                   80.7                                    37.9
       assault in restroom (past year)                                                                                                             Yes                                   62.8                                     14.2 .........                           89.4                                    59.1
  ........______. ......._                  ........____......._                        ...           .......
       Any negative experience in                                                                                                                   No                                   45.1                                        6.0                                   79.9                                    36.5
       restroom                  (past          year)                                                                                              Yes                                   57.5                                     11.0                                     86.8                                    51.3
  .......................................................................................................................................................................:...........................................:...........................................:...........................................:...........................................:
                                                                                                                           Not avoided                                                   39,1                                        4.9                                  75.6                                     34.1
       Avoided restroorrrs                                                                             Sometimes avoided                                                                 51.9                                        7.9                                  84.7                                     42.8
       (past year)                                                                                                 Always avoided                                                        63.7                                    12.9                                     89.4                                     51.1
                                                                                                                Not listed above                                                         52.0                                        7.9                                  82.8                                     42.0'.



  Law Enforcement

  As can be seen in Table 15, respondents who described themselves as very uncomfortable seeking
  help from the police and those who reported being disrespected or mistreated by police in the past
  year all were more likely to report past year suicide thoughts and attempts than those who did not
  report having these experiences. Twenty-three percent of those who said they were not treated
  with respect in any past-year encounters with police attempted suicide in the past year. This is a
  prevalence nearly three times higher than those who reported having always been treated with
  respect by police in the past year.

  Table 15. Suicide thoughts and attempts by experiences with law enforcement




                                                                                                                           Very comfortable                                                          25.1                                       3.6                                  64.6                                   27.7
       How comfortable are                                                                                somewhat comfortable                                                                       35.2                                       4.2                                  73.6                                   31.6
       you seeking help from                                                                                                                          Neutral                                        43.9                                       6.0                                  79.9                                   37.3
       the police?                                                                                 Somewhat uncomfortable                                                                            52.4                                       6.7                                  84.9                                   40.1
                                                                                                                    Very uncomfortable                                                               63.2                                    11.5                                    90.9                                   51.9
                                                                                                 Never treated with respect                                                                          68.7                                    23.1                                    91.6                                   67.0
       Police treated you with
                                                                                   Sometimes treated with respect                                                                                    59.3                                    13.7                                    90.5                                   58 7
       respect (past year)
                                                                                               Always treated with respect                                                                           43,1 .                                     8.4                                  79.2                                   41.6
       Any mistreatment by                                                                                                                                         No                                41.5                                       6.1                                  79.2                                   40.8
       police (past year)                                                                                                                                        Yes                                 62.3                                    17.6                                    90.7                                   60.9



  Protection against gender identity discrimination

  The Movement Advancement Project (MAP) has tracked state-level policies that positively or
  negatively impact the transgender population in the United States, including state statutes prohibiting




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  discrimination against transgender people in employment, housing, and public accommodations.34
  By providing at least some level of protection against discrimination based on gender identity,
  state nondiscrimination policies are thought to enhance the health and well-being of transgender
  people.35 Because LISTS respondents reported their state of residence, we were able to categorize
  respondents by whether they lived in states that had, or did not have, a statute prohibiting gender
  identity discrimination in employment, housing, and public accommodations at the time of the survey
  (2015).3E As is shown in Table 16, a lower proportion of respondents who lived in a state with a gender
  identity nondiscrimination statute reported past-year suicide thoughts and attempts than those who
  lived in states without such a statute.

  Table 16. Suicide thoughts and attempts by presence of state gender identity nondiscrimination
  statutes in state of residence




    No comprehensive statute                   49.9            7.8
    Has comprehensive statute                  46.8            6.7


  Cumulative effect of minority stressors

  Minority stress can be exacerbated when multiple discriminatory experiences occur within a period
  of time. This can have a compounding effect on mental and physical health. To better understand
  this "cumulative effect" of minority stress experiences, we "scored" respondents using four selected
  discriminatory experiences that we considered to be of relatively high impact in one's life, were
  measured in the past-year time frame, and were attributed by the respondent to their transgender
  status: being fired or forced to resign from a job, eviction, experiencing homelessness, and physical
  attack. Respondents received a score of 0, which means they had none of these experiences, up to a
  score of 4, which means they had all four of these experiences in the past year.

  Figure 4 shows how these scores were associated with suicide thoughts and attempts in the past
  year. With each added experience, the prevalence of suicide thoughts and attempts increases. Among
  those who had all four experiences in the past year, 97.7 percent had suicide thoughts in the past
  year and 51.2 percent made a suicide attempt. Additionally, Figure 4 shows that a higher number of
  discrimination experiences is associated with a higher prevalence of serious psychological distress.
  As was described earlier in this report, serious psychological distress is related to suicidality, so as
  the number of discriminatory experiences increases, the higher prevalence of serious psychological
  distress acts as a possible pathway for increased suicide thoughts and attempts.




     Movement Advancement Project. "Equality Maps?' Available at http://www.lgbtmap.org/equal itv-maps/legal equality
  by state (last accessed August 18, 2019).
  35
     Hatzenbuehler, M.L. (2016). Structural Stigma and Health Inequalities: Research Evidence and Implications for
  Psychological Science. American Psychologist, 71(8), 742-751.
  36
     Movement Advancement Project. "Equality Maps?' Additional adjustments to the nondiscrimination maps to reflect the
  2015 state policy landscape provided by Christy Mallory of the Williams Institute.



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  Figure 4. Current serious psychological distress and past-year suicide thoughts and attempts by
  cumulative discrimination experiences in the past year

                                                                                                               97.7%



     80                                                                                        75.4%           85.5%
                                                                          71.7%

                                                                                                70.4%

                                                                                                               51.2%
                                                                          58.5%

                                  _,,.,..---"'""..
     60   >......                                    47.7%
                                                                                               30.
                    35.7%
                                                                           24.2%

     zn                                              13.8%

                    5.14




                                                 Number of major discrimination experiences in the past year


                    ATTi.M.9%TS         •      S.RiOUS;) TTR'SS   •T?hOUG>1TS




  Other Potential Risk Factors

  The broad scope of topics included in the USTS provided an opportunity to explore relationships
  between suicide thoughts and attempts and potential risk/protective factors that have not received
  much attention in prior research among transgender people. Table 17 describes relationships
  between suicide thoughts and attempts and non-binary identity disclosure, identity documents, sex
  work and other work in the underground economy, and political and civic participation.

  Non-binary respondents were asked what they do when someone incorrectly assumes their gender.
  Those who always disclose that they are non-binary were more likely to report past-year suicide
  attempts and lifetime suicide thoughts and attempts, compared to those who do not always disclose
  that that are non-binary. Those who have no identity documents listing their correct name and
  gender had higher prevalence of suicide thoughts and attempts than those having some or all correct
  identity documents. Respondents who have engaged in sex work and who work in the underground
  economy reported a higher prevalence of suicide thoughts and attempts than those who have not
  engaged in those types of work. In regard to civic participation, those who believe they can influence
  government decisions were less likely to report suicide thoughts and attempts than those who
  believed they could not influence government decisions. Engaging in political activity, protests, and
  rallies were either not statistically significantly associated with suicide thoughts or attempts or the
  differences between those who do and do not engage in these activities were small.



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  Table 17: Suicide thoughts and attempts by other potential risk factors




      Nonbinary respondents:                                      Let them assume I'm man/woman                                               52.6                         6.9                                                                                                                   81.4                                    34.8
      When someone assumes                                               Sometimes tell them I'm NB/GQ                                        55.4                        6.6                                                                                                                    85.2                                    41.0
      wrong gender                                                          Always      tell   them I'm   NB/GQ                               65,7                      14.0                                                                                                              89.5                                    57.5
       ----------_----------------------......... ---------.:-........ .      -----------......... -----------
                                                                                                          ............----------.:..........------------.......
                                                                                                                                               ..            ------------........
                                                                                                                                                                           .                                                                                                  ------------.........                           ............
                                                                                                                                                                                                                                                                                                                       -----------
                                                                                                                    All                       29.5                        4.0                                                                                                                    73.4                                    34.0
      Name and gender correct
                                                                                                             Some                             39.3                         6.3                                                                                                                   81.0                                    43.0
      on IDs
                                                                                                              None                            54.2                         8.1                                                                                                                   83.4                                    40.7
                                                                                                                                                                      No                                     47.4                                         6.5                                    81.2                                    38.1
      Ever engaged in sex work
                                                                                                                                    Yes .....................................................................................................................................................................:
                                                                                                                                                                   55.2
  ..................................................................................b...........................................................................................................            12.8                                       85.6                                   57.4
      Engaged in sex work                                                                                                                                             No                                     47.6                                         6.7                                    81.5                                    39.4
      (past year)                                                                                                                   Yes ........................................................................................................................................................................:
                                                                                                                                                                    61.1                                      17.3                                       85.4                                    57.8
  ..................................................................................b...........................................................................................................
      Drug sales/underground                                                                                                                                          No                                     47.1                                         6.8                                    80.5                                    37.8
      economy (ever)                                                                                                                                                 Yes                                      57.6                                     10.7                                      90.4                                    59.5
      Drug sales/underground                                                                                                                                          No                                      52.2                                        7.8                                    89.5                                    57,6
      economy (past year)                                                                                                                                            Yes                                      66.9                                     16.3                                      91.5                                    63.3
                                                                                                                                     Strongly
                                                                                                                                          ... agree
                                                                                                                                               ......                                                         61.5                                     13.7                                      87.5                                    50.5
      Someone like me can't                                                                                                                                   Agree                                           53.4                                        6.9                                    83.5                                    40.8
      influence government                                                                        Neither agree nor disagree                                                                                 48.8                                         7.0                                    82.0                                    39.3
      decisions                                                                                                                                      Disagree                                                42.9                                         5.1                                    79.7                                    36.8
                                                                                                                             Strongly disagree                                                               40.7                                         6.8                                    78.0                                    39.9
      Civic or political activity                                                                                                                                     No                                     46.0                                         8.3                                    78.6                                    39.5
      (past year)                                                                                                                                                    Yes                                     49.1                                         6.8                                    82.9                                    40.7
                                                                      b........................................................................................................... .....................................................................................................................................................................:
      Attended political protest                                                                                                                                      No                                     48.0                                         7A                                     80.5                                    38.9
      or rally (past year)                                                                                                                                           Yes                                     49.1                                         7.0                                    84.3                                    43.5
  NC)TE Text in tsitf : indicates there is no statistically significant relationship.




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  DISCUSSION
  The U.S. Transgender Survey provides a unique and valuable data source for understanding suicide
  risk factors among transgender people. Our findings underscore the urgency of research to identify
  promising intervention and prevention strategies to address suicide thoughts and attempts in
  this population. The prevalence of lifetime suicide attempts remained consistent with the prior
  iteration of the survey (i.e., 41% in the NTDS). Since the USTS sample is substantially younger than
  the U.S. population generally, one might assume that high overall prevalence of reported suicide
  thoughts and attempts is driven, at least in part, by age. However, as shown in Figures 6 and 7, USTS
  respondents reported substantially higher prevalence of suicide thoughts and attempts in each age
  group compared to the 2015 NSDUH, which is a representative sample of the U.S. population. Factors
  beyond age must explain the relatively high overall prevalence of suicide thoughts and attempts
  among USTS respondents.

  Figure 6. Suicide thoughts in the past year by age group, USTS v. NSDUH

        60.5%




                                           :GTO 49                       SC:




  Figure 7. Suicide attempts in the past year by age group, USTS v. NSDUH



         10.2%
                                       5.6%



                1610 t5                       251'0 49                    5::'•




                      NSDWI



  Our 2014 study examining risk factors for suicidality among NTDS respondents and our current
  study of USTS respondents found very similar relationships between demographic factors and
  discrimination experiences and suicide attempts. Overall, it is a consistent finding that those who
  are younger, assigned female at birth, have lower incomes and educational attainment, are not
  partnered, and do not identify as heterosexual or straight have higher prevalence of suicide attempts.




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  It is also a consistent finding that being 'but" to others about being transgender can be an added
  risk factor in some circumstances, including being "out" to LGBT and non-LGBT friends. Additionally,
  the ways in which transgender people socialize with each other may be related to an increase or
  decrease in risk of suicide thoughts and attempts. Findings regarding "outness" and socializing may
  reflect added or reduced stress that results from negative or positive aspects of relationships that
  transgender people navigate. Alternately, other aspects of life that may be related to suicidality, such
  as isolation or living far from other transgender people, may necessitate making social connections
  in certain ways (e.g., online versus in person, or in ways that don't meet one's needs for socialization).
  Furthermore, it should be noted that not being 'but" and socializing with trans people in ways that
  appear to be positive for suicide thoughts and attempts are both associated with a prevalence of
  suicidality much higher than the U.S. general population. This suggests that there are more complex
  factors that contribute to risk of suicide thoughts and attempts for these groups.

  The present analysis indicates that the elevated risk of suicide thoughts and attempts among
  USTS respondents is related, in part, to the same risk factors that affect the U.S. population as a
  whole, including substance use and serious psychological distress. At the same time, it is also clear
  that minority stress experiences, such as family rejection, discrimination experiences, and lack of
  access to gender-affirming health care, create added risks for transgender people. In particular,
  "de-transitioning" is associated with a higher risk of suicide thoughts and attempts compared
  to those who are living their lives according to their gender identity and those who have not yet
  begun to, signaling that "de-transitioning" is a uniquely stressful experience for transgender people.
  Furthermore, the cumulative effect of experiencing multiple minority stressors dramatically increases
  serious psychological distress and suicidality.

  A strength of this report, compared to our 2014 report using NTDS data, was our ability to look at
  timing of gender-affirming care and suicide thoughts and attempts in the past year time frame. We
  found that transgender people who want to have gender-affirming medical care (i.e., hormones
  and/or surgery) and are able to get it have a lower prevalence of suicide thoughts and attempts,
  particularly in the past year time frame. This finding is not surprising given that a thorough review of
  the 73 extant studies on mental and physical health outcomes for transgender people who have had
  gender-affirming medical care found that gender-affirming care effectively treats symptoms of gender
  dysphoria, improves well-being and quality of life, and reduces suicide risk factors, like depression
  and substance use, as well as reducing suicidality itself.' In our prior 2014 report using NTDS data, we
  were only able to look at gender-affirming care and lifetime suicide attempts, which is a time frame
  that does not allow the effects of receiving gender-affirming health care to be assessed.




  ~7 W hat We Know. (2017). What does the scholarly research say about the effect of gender transition on transgender well-being?
  New York: Cornell University, available at https://whatweknow.inequali .cornell.edu/to~i ebt-gguality/what-does-
  the-scholarly-research-say-about-the-well-being-of-trans ender-peo ple/#top (last accessed August 18, 2019).



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  LIMITATIONS
  The findings presented in this report have some notable limitations. USTS was a cross-sectional
  study that asked respondents to report information about suicide thoughts and attempts and other
  experiences across their lifetimes, and responses may have been affected by recall bias and temporal
  ordering. Additionally, the USTS sample, though large, diverse, and nationally well-distributed, was
  not randomly selected and thus cannot be considered nationally representative. Findings in this
  report should be understood to represent the nearly 28,000 USTS respondents rather than the full
  U.S. transgender population. Further, our analysis relied on bivariate techniques, which did not adjust
  for other respondent characteristics, like age, nor simultaneously account for other experiences, like
  discrimination and other factors that may help explain the relationship between the two variables
  presented. Despite these limitations, a major strength of this report is that we are able to present
  topically broad findings, which point to characteristics and experiences that are related to an elevated
  prevalence of suicide thoughts and attempts (i.e., risk factors). We then point to areas needing further
  examination to understand additional related factors that may contribute to that elevated prevalence
  and help target and design interventions.




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  FUTURE RESEARCH
  Future research that supports the design and evaluation of suicide intervention and prevention
  strategies for the transgender population is urgently needed. For instance, in-depth understanding
  of risk factors and the timing of suicide thoughts and attempts compared to gender affirmation
  milestones would help to target prevention and intervention strategies. We are currently limited
  by the availability and quality of data about the transgender population in the United States. Large
  surveys like the NTDS and USTS can provide a wealth of knowledge about the lives and experiences
  of transgender people in the United States, but are limited in their generalizability. This report has
  presented descriptive analyses that provide a broad view of suicide risk factors for USTS respondents.
  Additional, more topically-focused research utilizing multi-variate models is needed to provide better
  depth of understanding of particular risk factors. In addition to surveys like the NTDS and USTS
  that provide large samples and describe experiences relevant to the transgender population, large,
  nationally representative surveys, like the National Survey of Drug Use and Health, could provide
  valuable, population-based data about the transgender population and suicide risk if they were to
  include questions to identify transgender respondents. While much progress has been made, further
  research is needed to refine and field gender identity measures in large, nationally representative
  surveys.

  The USTS provides the ability to create time lines of gender affirmation milestones, suicide attempts,
  and timing of discriminatory experiences, substance use, and experiences of serious psychological
  distress. With the large sample size, additional bivariate and multivariate models could be created
  to understand how gender affirmation milestones relate to timing of discriminatory experiences
  and measures of mental and physical health. This could inform research into suicide intervention
  and prevention by pinpointing particular time periods of vulnerability relative to gender affirmation
  milestones where intervention and prevention strategies would be most needed and most effective.
  Research that makes use of these rich data is highly recommended.

  Over 20 percent of USTS respondents who have attempted suicide reported having done so five or
  more times. Our analyses in this report did not address multiple attempts. indicators of past year
  and lifetime suicide attempts lump together respondents who have had one or more attempts, but
  respondents in this group are diverse in number of attempts and recent timing of attempts. Future
  research is needed that accounts for a broader range of co-existing and co-occurring experiences,
  including mapping out milestones of those reporting multiple attempts, to describe these diverse
  groups and their different risk profiles.

  In this report, we found that cumulative discrimination experiences are associated with higher risk of
  suicide thoughts and attempts. The USTS gives us the ability to not only look at multiple discrimination
  experiences based on anti-transgender bias, but to also look at discrimination experiences based on
  other characteristics, such as race, age, and disability. Analyses using intersectional approaches could
  further elucidate the ways in which discrimination experiences based on multiple experiences and
  multiple characteristics affect suicidality. Studies that aim to assess effective strategies to decrease
  minority stress, including structural stigma, would help inform suicide prevention and intervention
  strategies that focus on alieviating such risk factors.




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  Finally, this report points to new areas of research that are promising for expanding knowledge
  about suicide risks, interventions, and prevention. For instance, the USTS provides a large sample
  and geographic coding down to the zip code level. It would be possible with this dataset to expand
  analyses of structural types of stigma, such as public policy environments, and its relationship to
  suicide. This study suggests that there is more to learn about the associations between suicidality and
  socializing with others, disclosure of transgender status, and civic and political participation. A better
  understanding is needed of how and why community connectedness, social isolation, HIV status,
  political and civic engagement, and disclosure of transgender status affect suicide thoughts and
  attempts, including through qualitative studies.




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  Acknowledgments

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  Conron, Jocelyn Samuels, Rachel Dowd, Winston Luhur, and Ilan Meyer for their thoughtful reviews
  and other contributions. The authors would also like to thank the National Center for Transgender
  Equality for access to the 2015 U.S. Transgender Survey dataset.




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              AUSTIN KNUDSEN                              STATE OF MONTANA




  Hon. Miguel Cardona
  Secretary of Education
  U.S. Department of Education
  400 Maryland Avenue SW
  Washington, DC 20202

                                   September 12, 2022


   Re: Docket ID ED-2021-OCR-0166, RIN 1870-AA16

  Nondiscrimination on the Basis of Sex in Education Programs or Activities
  Receiving Federal Financial Assistance


  Dear Secretary Cardona:

         We submit these formal comments to duly note our opposition to the
  Department of Education's proposed rulemaking on Title IX of the Education
  Amendments of 1972 ("Title IX"). As a general matter, the Department has not
  provided sufficient reasoning for why it's embarking on a new Title IX rulemaking
  less than two years after the 2020 regulations went into effect. In May 2020, after
  thoroughly considering over 124,000 public comments, the Department issued its
  historic Title IX Regulations, Nondiscrimination on the Basis of Sex in Education
  Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30026
  (May 19, 2020) ("2020 Rule"), to better align the Title IX regulations with the text
  and purpose of 20 U.S.C. § 1681, Supreme Court precedent and other case law, and
  to address the practical challenges facing students, employees, and schools with
  respect to sexual harassment allegations. For the first time in history, regulations
  regarding sexual harassment under Title IX were codified into law. The Department
  has not presented sufficient evidence that the current Title IX system requires
  modification. In many instances, moreover, the Department's Proposed Rule conflicts
  with the text, purpose, and longstanding interpretation of Title IX. It also negatively
  impacts free speech, academic freedom, and campus life. We also once again call for
  Assistant Secretary Lhamon to recuse herself from the rulemaking process.




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     I. THE PROPOSED RULE WRONGLY INCLUDES "GENDER IDENTITY" IN THE
        DEFINITION OF "SEX."

           A. The proposed         rule    exceeds    the   Department's      statutory
              authority.

          The Department proposes defining "sex discrimination" under Title IX to
  include discrimination on the basis of "gender identity." 87 Fed. Reg. 41390, 41391,
  41392, 41410 (July 12. 2022). With this proposal, the rule would make it unlawful
  for a school to deny participation in any education program or activity consistent with
  a student's "gender identity." 87 Fed. Reg. at 41410. These changes constitute a
  stunning affront to the purpose of Title IX, which is to provide equal access to
  education and prohibit denial of education benefits and opportunities on the basis of
  sex. "Sex" means what it has meant since the beginning of time: the immutable fact
  of being male or female.

         The Department's reimagining of Title IX to cover discrimination on the basis
  of gender identity plainly exceeds its rulemaking authority under Title IX. Title IX
  prohibits discrimination "on the basis of sex" in any education program or activity
  receiving Federal financial assistance. Statutory and regulatory text and structure,
  contemporaneous Supreme Court authorities, and the U.S. Department of
  Education's historic practice demonstrate that the ordinary public meaning of the
  term "sex" at the time of Title IX's enactment could only have been biological
  distinctions between male and female. A person's biological sex is relevant for Title
  IX considerations involving athletics, and distinctions based on sex are permissible
  (and may be required) because the sexes are—simply—not similarly situated for all
  purposes. See 20 U.S.C. §§ 1681(a), 1686; 34 C.F.R. §§ 106.32(b), 106.33, 106.34,
  106.40, 106.41, 106.43. 106.52, 106.59, 106.61; Meriwether v. Hartop, 992 F.3d 492,
  510 n.4 (6th Cir. 2021) (noting Title IX expressly authorizes separation based on sex
  in certain circumstances). This is because biological females and biological males
  possess profound physiological differences that are relevant in certain circumstances.
  See United States v. Virginia, 518 U.S. 515, 533 (1996) (per Ginsburg, J.) ("Physical
  differences between men and women, however, are enduring.").

            B. The Proposed Rule fails to define the terms "sex" and "gender
               identity."

         The proposed rule asserts that discrimination on the basis of sex includes
  discrimination on the basis of "gender identity," 87 Fed. Reg. at 41,410, but fails to
  define either. Without definitions for these terms, the rule is vague, arbitrary, and
  capricious.

        Additionally, in the preamble to the current regulations, the Department
  stated: "Title IX and its implementing regulations include provisions that presuppose

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  sex as a binary classification, and provisions in the Department's current regulations
  ... reflect this presupposition." 85 Fed. Reg. 30,178. It continued, "[i]n promulgating
  regulations to implement Title IX, the Department expressly acknowledged
  physiological differences between the male and female sexes." Id.

        The Proposed Rule clearly attempts to change the starting point for all of Title
  IX—the definition of sex. Yet the Department provides no alternate definition(s) for
  the public to evaluate and scrutinize. It simply waives its hand and—by regulatory
  fiat—alters a fundamental term, as if its novel definition was axiomatic. As
  discussed, the baseline, historical, scientific definition currently used by the
  Department (biological sex) cannot include gender identity.

         Without a definition, the concept of "gender identity"—already an extremely
  amorphous concept—becomes a moving target. It's also internally inconsistent to fail
  to define a key term such as "sex" but then claim the Department understands sex to
  include "gender identity. As a result, the Proposed Rule fails to provide recipients
  adequate notice of the types of discrimination they must address to meet their
  obligations under Title IX.

                 C. Defining sex discrimination to include gender identity will
                    cause discrimination on the basis of sex.

                          1. The Proposed Rule will harm students by eliminating
                             single-sex facilities.

        The Proposed Rule's inclusion of gender identity in its definition of sex
  discrimination will harm students and violate Title IX. Single-sex spaces, such as
  bathrooms and locker rooms, are important for students to preserve bodily privacy
  and personal dignity from exposure of one's body to members of the opposite sex. This
  would fall especially hard on young females because in addition to privacy and dignity
  harms, girls and women are vulnerable in intimate spaces to being sexually harassed
  and even assaulted by boys and men. For example, the NPRM fails to take into
  consideration incidents such as one in Loudon County, Virginia in 2021 where a
  transgender teenager was allowed access to the girls' restroom.1 After the assault,
  the perpetrator was transferred to another school where he allegedly assaulted a
  second female student in early October.2

         That also violates Title IX. The ordinary public meaning of the term "sex" at
  the time of Title IX's enactment (and now) was biological sex, male or female. That

  1 Caroline Downey, Judge Rules Loudoun County Teen Sexually Assaulted Female Student in Girls'
  Bathroom, YAHOO NEWS (Oct. 26, 2021), lkt:t. ys:,','riews.vaalhoo.c;c)m/iui.l (2-rule. -loudorral-cxourl.t. -ixteal-
   1.3141.3442.1►t:rnl.
  2 Id.


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  too was the meaning given to the term when it was used in the Department's
  implementing regulations approved by Congress. See, e.g., Bell, 456 U.S. at 531-32;
  34 CFR §§ 106.32(b)(1), 106.33, 106.34, 106.40, 106.41, 106.43. 106.52, 106.59, 106.61.
  34 C.F.R. § 106.33 permits schools to provide separate bathrooms, locker rooms, and
  showers "on the basis of sex," as long as the school provides comparable facilities for
  "each sex." So under Title IX's ordinary public meaning, the law requires a recipient
  to provide a "separate toilet, locker room, and shower facilities on the basis of sex" to
  regulate access based on biological sex.

                       2. The Proposed Rule will deny equal access to athletics for
                          women and girls and jeopardize their safety.

         The Department's Proposed Rule defeats the entire original purpose of Title IX
  and will have a devastating impact on women's athletics. Since its enactment in
  1972, Title IX has led to an important increase in athletic opportunity for girls and
  women in sports.3 In the name of equity, the proposed Rule travels backward to a
  pre-Title IX era when schools had no obligation to provide equal, safe, and fair athletic
  opportunities for women and girls. It mandates open access to every education
  program and activity based on the amorphous concept of "gender identity." So now,
  any school, college, or university that separates athletic teams based solely on
  biological sex will be actively committing a federal civil rights violation.

         In turn, the Department's definition of discrimination will actually
  discriminate against female athletes by denying them equal athletic opportunity and
  endangering their safety. Forcing female athletes to compete against male athletes
  is unfair and ignores science.4 Biological differences between males and females
  mean that girls and women are at an enormous disadvantage when competing
  against biological men in many sports. This also puts women and girls at greater risk
  of injury when competing against biological males in contact and combat sports.



  3 Tn 2021, 3.4 million girls played high school sports and 219,000 women played NCAA sports. Tn fact,

  NCAA statistics show that since 1982 (when the NCAA began separating male and female
  participation rates) female participation rates in athletics have risen from 43% of the male
  participation rate (74,329 to 169,800) in 1982 to 78% (219,177 to 278,988) in 2021—almost doubling.
  NCAA          Sports        Sponsorship         and       Participation        Rates     Database,
  https:llwww.ncaa.org/sports/2018/10/10/ncaa-sports-sponsorsh ip-and-participation-rates-
  database.aspx.
  4 Males typically have a 10-50% performance advantage, depending on the particular sport. Males
  have 45% more lean body mass, 33% more lower body muscle mass and 40% more upper body muscle
  mass, 54% higher knee extension strength, and 30% higher maximum cardiac output. By the ages of
  14-15, many adolescent males have surpassed the best measurable elite female performances in
  nearly all sports. See Hilton, E.N., Lundberg, T.R., Transgender Women in the Female Category of
  Sport: Perspectives on Testosterone Suppression and Performance Advantage, Sports Med. 2021
  Feb;51(2): 199-214.

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         Several of the states have enacted legislation to protect athletic opportunities
  for women by prohibiting biological males from competing in female athletics. See,
  e.g., H.B. 112, 2021 Leg. (Mt. 2021); H.B. 25, 87th Sess. (Tx. 2021); H.B. 3293, 2021
  Leg., H.B. 500, 65th Leg., 2d Sess. (Id. 2020). Those laws undoubtedly conflict with
  the Department's Proposed Rule. Cf. City of L.A. v. Barr, 929 F.3d 1163, 1174 (9th
  Cir. 2019) ("[I]f Congress decides to impose conditions on the allocation of funds to
  the states, it must do so unambiguously ... enabl[ing] the States to exercise their
  choice knowingly, cognizant of the consequences of their participation.") (quoting
  South Dakota v. Dole, 483 U.S. 203, 207 (1987)).

            D. The Proposed Rule infringes on parental rights.

         Even more pernicious, the Proposed Rule would federally coerce schools to
  indoctrinate children into gender identity theories that are heavy on political asperity
  and light on scientific corroboration. This would require everyone in the school
  environment to accept that being a boy, girl, both, or neither is only a matter of
  subjective identity. Under this Proposed Rule, schools would have to treat any
  skepticism of "gender identity" as discrimination/harassment, which would
  effectively override the fundamental rights of parents to rear their own children in
  matters of reason, morality, and faith. Because it treats failure to affirm gender
  identity the same as traditional forms of discrimination (e.g., excluding girls from the
  debate team), a school wouldn't need to obtain parental consent before pushing
  "gender affirmation" of whatever self-declared identity a child announces in school;
  the school would never have to disclose that affirmation program to the child's
  parents, and must—at any rate—pursue it even over parents' objections.

     II. THE PROPOSED RULE WILL INFRINGE UPON AND CHILL FREE SPEECH BY
         VASTLY EXPANDING THE DEFINITION OF SEXUAL HARASSMENT IN 34 C.F.R
         § 106.30.

         The Department proposes changing the current definition of "sexual
  harassment" contained in 34 C.F.R § 106.30. The Department's new definition of
  hostile environment sexual harassment not only conflicts with Supreme Court
  precedent, but will have a detrimental impact on free speech, campus life, and the
  free exchange of ideas. When combined with the Department's proposed changes to
  the current due process protections, the proposed rule will chill protected speech—
  allowing unscrupulous students and ideologically biased bureaucrats to weaponize
  Title IX against those with whom they disagree on hotly contested issues of political,
  societal, religious, and moral importance. At private schools, where the First
  Amendment does not apply, the Department still lacks the power to compel schools
  to suppress speech that would violate the First Amendment.




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           A. The Proposed Rule improperly deviates from the Supreme
              Court's Title IX threshold.

                    1. The Gebser/Davis standard

         Not every unpleasant interaction in the course of an educational program or
  activity automatically amounts to a federal civil rights violation. The Supreme Court,
  in fact, has set a relatively high threshold for when sex-based speech rises to that
  level. The current regulations respect that threshold. The Proposed Rule does not.

          In Cannon v. Univ. of Chi., 441 U.S. 677, 680 (1979), the Supreme Court held
  that a judicially implied private right of action exists under Title IX. In Franklin v.
  Gwinnett Cty. Pub. Sch., 503 U.S. 60, 62 (1992), the Court held that money damages
  are an available remedy in a private lawsuit alleging a school's intentional
  discrimination in violation of Title IX. The Court acknowledged in Franklin that
  sexual harassment and sexual abuse of a student by a teacher may mean the school
  itself engaged in intentional sex discrimination.

         In Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998), the Court
  analyzed the conditions under which a school district will be liable for money
  damages for an employee sexually harassing a student. The Gebser Court began its
  analysis by stating that while Franklin acknowledged that a school employee
  sexually harassing a student may constitute the school itself committing intentional
  discrimination on the basis of sex, it was necessary to craft standards defining "the
  contours of that liability." Gebser held that where a school has "actual knowledge" of
  an employee sexually harassing a student but responds with "deliberate indifference"
  to such knowledge, the school itself has engaged in discrimination, subjecting the
  school to money damages in a private lawsuit under Title IX. The Gebser Court was
  particularly concerned about the possibility of requiring a school to pay money
  damages for harassment of which it was not aware and in amounts that exceeded the
  recipient's level of Federal funding. Gebser, 524 U.S. 289-90.

          In 1999, the Court decided Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629,
  (1999), and held that where sexual harassment is committed by a peer rather than
  an employee, the same standards of actual knowledge and deliberate indifference
  apply. The Davis Court additionally crafted a definition of when sex-based conduct
  becomes actionable sexual harassment, defining the conduct as "so severe, pervasive,
  and objectively offensive" that it denies its victims equal access to education. Id. at
  651. Davis and Gebser built upon the Supreme Court's previous Title IX decisions in
  Cannon and Franklin to establish a three-part framework describing when a school's
  inadequate response to sexual harassment constitutes the school itself committing
  discrimination. The three parts of this framework are: definition of actionable sexual
  harassment, the school's actual knowledge, and the school's deliberate indifference
  (sufficiency of the school's response).




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         Nothing in the Gebser or Davis framework purports to restrict the
  GebserlDavis framework only to private lawsuits for money damages. For example,
  a variety of courts have used the framework to award injunctive relief. E.g.,
  Fitzgerald v. Barnstable Sch. Dist., 555 U.S. 246, 255 (2009) ("In addition, this Court
  has recognized an implied private right of action .... In a suit brought pursuant to
  this private right, both injunctive relief and damages are available.") (internal
  citations omitted; emphasis added); Hill v. Cundiff, 797 F.3d 948, 972-73 (11th Cir.
  2015) (reversing summary judgment against plaintiffs claims for injunctive relief
  because a jury could find that the alleged conduct was "severe, pervasive, and
  objectively offensive" under Davis); B.H. ex rel. Hawk v. Easton Area Sch. Dist., 725
  F.3d 293, 322-23 (3d Cir. 2013) (upholding preliminary injunction against school for
  banning students from wearing bracelets because the school failed to show that the
  "bracelets would breed an environment of pervasive and severe harassment" under
  Davis); Haidak v. Univ. of Mass. at Amherst, 299 F. Supp. 3d 242, 270 (D. Mass. 2018)
  (denying plaintiffs request for a preliminary injunction because he failed to show that
  the school was deliberately indifferent to an environment of severe and pervasive
  discriminatory conduct under Davis), aff°d in part, vacated in part, remanded by
  Haidak v. Univ. of Mass.-Amherst, 933 F.3d 56 (1st Cir. 2019).

          Accordingly, the starting place for describing a school's legal obligations under
  Title IX is adoption of the Gebser/Davis framework because that framework describes
  when sexual harassment amounts to a school, itself, discriminating on the basis of
  sex. The definition of "hostile environment sexual harassment" should, likewise,
  continue to align with the standard set by the Supreme Court's cases assessing
  liability under Title IX for money damages in private litigation. The Supreme Court's
  decisions in Gebser and Davis are based on a textual interpretation of Title IX and
  important policy rationales that the Department has failed to consider in its NPRM.
  The current Title IX regulations predominantly follow the Davis standard—and for
  good reason.

        There are several key reasons why the Department shouldn't depart from the
  GebserlDavis framework. The Court, importantly, held that Title IX governs
  misconduct by recipients, not by third parties such as teachers and students. Title IX
  was "designed primarily to prevent recipients of federal financial assistance from
  using the funds in a discriminatory manner." Gebser, 524 U.S. at 292; see also
  Cannon v. Univ. of Chicago, 414 U.S. 677, 704 (1979) (primary congressional purpose
  behind the statutes was "to avoid the use of federal resources to support
  discriminatory practices"). So it's a recipient's own misconduct—not that of
  employees, students, or other third parties—that subjects the recipient to liability
  under Title IX.

         Next, since Congress enacted Title IX under its Spending Clause authority, the
  obligations it imposes on recipients resemble those of a contract. Gebser, 524 U.S. at

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  286; Davis, 526 U.S. at 640. The Supreme Court reasoned in Davis that it follows
  from this that recipients must be on clear notice of what conduct is prohibited and
  that recipients must be held liable only for conduct over which they have control. Id.
  at 644-45. As its (now-repealed) 2001 Guidance said, the Department has an interest
  in providing recipients with "consistency and simplicity in understanding what is
  sexual harassment for which the school must take responsive action." U.S. Dep't. of
  Education, Office for Civil Rights, Revised Guidance on Sexual Harassment:
  Harassment of Students by School Employees, Other Students, or Third Parties (Jan.
  19, 2001), at vi.

         Third, the Court reasoned in Davis that any interpretation of Title IX must
  leave room for flexibility in schools' disciplinary decisions and not place courts in the
  position of second-guessing disciplinary decisions made by administrators and
  faculty. Davis, 526 U.S. at 648.

        Finally—and most importantly—the plain text of Title IX prohibits only
  discrimination that has the effect of denying access to the recipient's educational
  program or activities. Id. at 650-52. Title IX, therefore, does not prohibit sex-based
  misconduct that does not rise to that level of severity. All speech related
  considerations in the Final Rule should follow this principle.

        The current Title IX regulations define sexual harassment as:

        (1) An employee of the recipient conditioning the provision of an aid,
        benefit, or service of the recipient on an individual's participation in
        unwelcome sexual conduct;
        (2) Unwelcome conduct determined by a reasonable person to be so
        severe, pervasive, and objectively offensive that it effectively denies a
        person equal access to the recipient's education program or activity; or
        (3) "Sexual assault" as defined in 20 U.S.C. 1092(f)(6)(A)(v), "dating
        violence" as defined in 34 U.S.C. 12291(a)(10), "domestic violence" as
        defined in 34 U.S.C. 12291(a)(8), or "stalking" as defined in 34 U.S.C.
        12291(a)(30).

  34 C.F.R. § 106.30. The law currently applies the Davis standard verbatim for
  category 2 (hostile environment sexual harassment).

        The Proposed Rule changes the definition of hostile environment sexual
  harassment to:

        Unwelcome sex-based conduct that is sufficiently severe or pervasive,
        that, based on the totality of the circumstances and evaluated
        subjectively and objectively, denies or limits a person's ability to


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         participate in or benefit from the recipient's education program or
         activity (i.e., creates a hostile environment).

  87 Fed. Reg. at 41410. The Department's "tentative view" that this proposed hostile
  environment framework appropriately captures the key concepts articulated by the
  Supreme Court in Davis and protects the First Amendment rights and interests of
  students and employees is sorely mistaken. Id. at 41413.

         The Department should withdraw its proposal to change the definition of
  hostile environment sexual harassment.

                       2. The proposed definition of sexual harassment lowers the
                          threshold for what counts as "harassment."

         Title IX prohibits discrimination—not offensive speech. The Davis standard
  forces recipients to punish true harassment under Title IX while leaving lesser
  disciplinary matters to school conduct codes (and applicable legal requirements such
  as the First Amendment). Incidents such as so-called "microaggressions," offensive
  jokes, and social media banter are not per se, or even putative, federal civil rights
  violations. But the proposed new definition radically lowers the threshold for what
  counts as "harassment." This will allow schools to investigate speech that is
  subjectively offensive to anyone—even if it is neither severe, nor pervasive, or nor
  objectively offensive. This will massively chill academic and campus debates over
  sex, gender identity, and other issues implicated by the Proposed Rule.5

        Offensive speech is protected in many instances and contexts. Indeed, the
  preamble to the current regulations emphasizes that offensive speech is protected,
  particularly at the postsecondary level:

         The Supreme Court has also rejected the idea that "because of the
         acknowledged need for order, First Amendment protections should
         apply with less force on college campuses than in the community at
         large. Quite to the contrary, 'the vigilant protection of constitutional
         freedoms is nowhere more vital than in the community of American
         schools." Healy v. James, 408 U.S. 169, 180 (1972) (internal citations
         omitted). Further, these protections apply even to highly offensive
         speech on campus: "[T]he mere dissemination of ideas—no matter how
         offensive to good taste—on a state university campus may not be shut
         off in the name alone of `conventions of decency." Papish v. Bd. of
         Curators, 410 U.S. 667, 670 (1973) (internal citations omitted).



  5 See, e.g., Cantu and Jussim, Microaggressions, Questionable Science, and Free Speech, TEx. REV. L.
  & PoL. (Feb. 2021), available at ittp itssrn _c.om!abstr c:t= 82262P.




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  85 Fed. Reg. at 30141 n. 623. Higher education institutions differ from the workplace.
  In workplaces, it may be natural to ban offensive speech to maximize efficiency or
  prevent a hostile or offensive environment. Colleges, however, exist for the very
  purpose of exchanging ideas and pursuing the truth—even if words and ideas offend
  listeners. See, e.g., Dambrot v. Cent. Mich. Univ., 55 F.3d 1177 (6th Cir. 1995)
  (holding hostile environment harassment code was unconstitutionally vague and
  overbroad and was not a valid prohibition of fighting words). The Proposed Rule's
  new lower threshold will no doubt stifle the airing of controversial (but protected)
  ideas on campus.

        As for elementary and secondary education, the Davis Court expressly
  required that conduct be severe and pervasive for Title IX liability. This is because,
  unlike workplace conduct under Title VII, elementary and secondary school students
  frequently behave in ways that would be unacceptable among adult workers. Davis,
  526 U.S. at 651-52 (citing Mentor, 477 U.S. at 67).

                    3. The Department has failed to provide adequate reasoning
                       for the definition change to sexual harassment in §106.30.

          The Proposed Rule recognizes that the new definition of hostile environment
  sexual harassment abandons the verbatim Davis standard used in the current
  regulations, but reasons that that caselaw allows the Department to promulgate
  rules requiring conduct that—in its absence—would not constitute sex
  discrimination. 87 Fed. Reg. at 41413. The Department then adopts its new standard
  "because the [new] definition of `sex-based harassment' covers a broader range of
  sexual misconduct than that covered ... in the current regulations," and because
  "Title IX's plain language prohibits any discrimination on the basis of sex." Id. To be
  sure, the Department may adopt prophylactic requirements that are broader than
  the requirement to refrain from discrimination on the basis of sex. But such
  prophylaxis must be designed to prevent discrimination on the basis of sex—not some
  other undefined classification. Here, instead, the Department is attempting to
  redefine sex discrimination itself, broadening that discernable concept beyond
  recognition. Because the NPRM neither defines the concept nor explains why it must
  be expanded so dramatically, the Proposed Rule reveals its own arbitrariness.

         Next, the Department fails to explain why it dropped the "objectively offensive"
  element from the current definition. See 34 C.F.R. 106.30 ("(2) Unwelcome conduct
  determined by a reasonable person to be so severe, pervasive, and objectively
  offensive that it effectively denies a person equal access to the recipient's education
  program or activity"). The objectively offensive element is important because it judges
  the content by the standards of what a reasonable person would observe. Thus, in
  order for speech to create a hostile environment, it must offend a reasonable person.
  The Department has no good reason for dropping this crucial element of the Davis
  standard.

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          Finally, the Department fails to adequately explain why its new definition is
  tied to the Title VII framework. In fact, the only insight provided is the Department's
  tentative assertion that "this alignment will better facilitate recipients' ability to
  comply with their obligations" under both statutes. 87 Fed. Reg. at 41415. But
  elsewhere, the Department also admits that the analysis of whether a hostile
  environment exists is necessarily fact-specific and, among other things, must consider
  how a student—versus an employee—reasonably perceives the environment. Since
  the analyses differ for students and employees, it's unclear what benefits accrue to
  schools from similarity between the Title VII and Title IX formulations (especially
  where analysis of peer-on-peer discrimination is at issue). In contrast, the Preamble
  to the current regulations explained that aligning the Title VII and Title IX
  definitions of sexual harassment didn't further the purpose of Title IX or benefit
  students and employees participating in education programs or activities. 85 Fed.
  Reg. at 30151 (citing, e.g., Azhar Majeed, The Misapplication of Peer• Harassment Law
  on College and University Campuses and the Loss of Student Speech Rights, 35 J.
  CoLL. & UNIV. L. 385, 449 (2009) (arguing that restrictions on workplace speech
  "ultimately do not take away from the workplace's essential functions—to achieve the
  desired results, make the client happy, and get the job done" and free expression in
  the workplace "is typically not necessary for that purpose" such that workplaces are
  often "highly regulated environments" while "[o]n the other hand, freedom of speech
  and unfettered discussion are so essential to a college or university that
  compromising them fundamentally alters the campus environment to the detriment
  of everyone in the community" such that free speech and academic freedom are
  necessary preconditions to a university's success.).

        The Department must provide a sufficient explanation.

            B. The proposed change to the definition of sexual harassment in
               § 106.30 will violate First Amendment rights and chill the free
               exchange of ideas.

         The NPRM pays lip service to free speech in its preamble. See 87 Fed. Reg. at
  41415 ("Title IX protects individuals from sex discrimination and does not regulate
  the content of speech as such. OCR has expressed this position repeatedly in
  discussing Title IX in prior guidance. See 2001 Revised Sexual Harassment Guidance
  at 22; 2003 First Amendment Dear Colleague Letter; 2014 Q&A on Sexual Violence
  at 43-44. The Department emphasizes that in cases of alleged sex-based harassment,
  the protections of the First Amendment must be considered if, for example, issues of
  speech or expression.").

         The Department has failed to heed the warnings of the past and account for
  the reasons why the current regulations were put into place. In the preamble to the
  2020 regulations, the Department stated:

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        The "Sexual Harassment" subsection of the "Section 106.30 Definitions"
        section of this preamble discusses in greater detail how the Davis
        definition of sexual harassment as "severe, pervasive, and objectively
        offensive" comports with First Amendment protections, and the way in
        which a broader definition, such as severe, persistent, or pervasive (as
        used in the 1997 Guidance and 2001 Guidance), has led to infringement
        of rights of free speech and academic freedom of students and faculty.

  85 Fed. Reg. at 30036 n.88; see also id. at 30130 ("Failure to recognize and respect
  principles of free speech and academic freedom has led to overly broad anti-
  harassment policies that have resulted in chilling and infringement of constitutional
  protections."). The current definition contained in § 106.30 captures categories of
  misconduct likely to impede educational access while avoiding a chill on free speech
  and academic freedom. The failure to recognize and respect free speech principles
  and academic freedom has led to overly broad anti-harassment policies in the past
  that have resulted in chilling and infringement of constitutional protections. Several
  provisions in the Proposed Rule tread the same, anti-speech path.

                    1. The Proposed Rule would modify 34 C.F.R. § 106.44 to
                       require schools to respond to sex discrimination,
                       regardless of whether schools know about it, and impose
                       monitoring duties on Title IX coordinators, which would
                       chill speech.

         The current regulations require that a recipient must possess "actual
  knowledge" in order to be held liable under Title IX. See 34 CFR § 106.44(a) ("A
  recipient with actual knowledge of sexual harassment in an education program or
  activity of the recipient against a person in the United States, must respond promptly
  in a manner that is not deliberately indifferent."); see also 85 Fed. Reg. at 30038
  ("These final regulations adopt the actual knowledge condition from the
  Gebser/Davis framework so that these final regulations clearly prohibit a recipient's
  own intentional discrimination, but adapt the Gebser/Davis condition of actual
  knowledge to include notice to more recipient employees than what is required under
  the Gebser/Davis framework, in a way that takes into account the different needs and
  expectations of students in elementary and secondary schools, and in postsecondary
  institutions, with respect to sexual harassment and sexual harassment allegations.");
  id. at 30035 ("The withdrawn 2011 Dear Colleague Letter continued to recommend
  that schools act upon constructive notice (rather than actual knowledge) and to hold
  schools accountable under a strict liability standard rather than deliberate
  indifference.").

        The NPRM proposes modifying 34 C.F.R. 106.44(a) and (b) to say:


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        (a) A recipient must take prompt and effective action to end any sex
        discrimination that has occurred in its education program or activity,
        prevent its recurrence, and remedy its effects.
        (b) A recipient must .... Require its Title IX Coordinator to monitor the
        recipient's education program or activity for barriers to reporting
        information about conduct that may constitute sex discrimination under
        Title IX.



         This new duty will lead to Title IX coordinators zealously policing protected
  speech as a prophylactic measure to avoid Title IX violations. Unsurprisingly, this
  will have a detrimental effect on campus culture and campus life.

                     2. Schools are expected to counter "derogatory"
                        speech.

        Under the Proposed Rule, schools must counter "derogatory opinions," making
  a non-response to any such opinions a potential Title IX violation. The NPRM says:

         For instance, although the First Amendment may prohibit a recipient
         from restricting the rights of students to express opinions about one sex
         that may be considered derogatory, the recipient can affirm its own
         commitment to nondiscrimination based on sex and take steps to ensure
         that competing views are heard. The age of the students involved and
         the location or forum in which such opinions are expressed may affect
         the actions a recipient can take consistent with the First Amendment.

  87 Fed. Reg. at 41515. Institutions of higher education cannot suppress student
  thought on controversial issues simply because some students find it "offensive."
  Under the proposed rule (particularly in light of the lower threshold for hostile
  environment claims), cancel culture will become the norm on K-12 and college
  campuses, as students, teachers, and professors are threatened or punished for
  engaging in protected First Amendment speech on sex or LGBT issues. See W. Va.
  State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943) ("If there is any fixed star in
  our constitutional constellation, it is that no official, high or petty, can prescribe what
  shall be orthodox in politics, nationalism, religion, or other matters of opinion or force
  citizens to confess by word or act their faith therein.). And, even without official
  action to enforce these new rules, the threat of Title IX investigations will intimidate
  students and faculty into keeping quiet on controversial issues. Schools are likely to
  ostracize students who express disfavored political, moral, and social opinions,
  including on gender identity. But, as the Supreme Court has said:




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        Probably no deeper division of our people could proceed from any
        provocation than from finding it necessary to choose what doctrine and
        whose program public educational officials shall compel youth to unite
        in embracing. Ultimate futility of such attempts to compel coherence is
        the lesson of every such effort from the Roman drive to stamp out
        Christianity as a disturber of its pagan unity, the Inquisition, as a
        means to religious and dynastic unity, the Siberian exiles as a means to
        Russian unity, down to the fast failing efforts of our present totalitarian
        enemies. Those who begin coercive elimination of dissent soon find
        themselves exterminating dissenters. Compulsory unification of opinion
        achieves only the unanimity of the graveyard.

  Id. at 641. This principle has even more teeth at institutions of higher learning. See
  Healy v. James, 408 U.S. 169, 180 (1972) ("[T]he precedents of this Court leave no
  room for the view that, because of the acknowledged need for order, First Amendment
  protections should apply with less force on college campuses than in the community
  at large. Quite to the contrary, the vigilant protection of constitutional freedoms is
  nowhere more vital than in the community of American schools.") (cleaned up).

        The Department should withdraw this proposed change to protect free speech.

                    3. The NPRMRemoves the current prohibition in § 106.44(a)
                       on using speech suppression to prevail in OCR
                       investigations.

         The current regulations provide that: "The Department may not deem a
  recipient to have satisfied the recipient's duty to not be deliberately indifferent under
  this part based on the recipient's restriction of rights protected under the U.S.
  Constitution, including the First Amendment, Fifth Amendment, and Fourteenth
  Amendment." 34 CFR § 106.44(a). This means that institutions—public and
  private—cannot use Title IX as an excuse for suppressing protected student or faculty
  speech. The Proposed Rule removed this provision. See 87 Fed. Reg. at              41432,
  41572-41575. The Department has not explained why it removed this provision and
  must do so. The Department should withdraw this proposal to prevent schools from
  using their obligations under federal civil rights law to shut down protected speech.

                    4. The Proposed Rule's gender identity provisions turn
                       protected speech into harassment.

         As discussed above, the proposed rule defines sex-based harassment to include
  offensive conduct on the basis of "gender identity." The proposed Rule effectively
  requires schools to micromanage and control the speech of all students, teachers, and
  staff. This now includes things like (1) compelling the use of each person's preferred


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  pronouns that may contradict the person's sex; and (2) characterizing as punishable
  harassment any objection to allowing male participation on girls sports teams.

         The Proposed Rule vaguely defines both the hostile environment standard and
  the obligation of the school to provide "supportive measures." Under this paradigm,
  an accusation by a student or teacher of "sex-based harassment" could arise from any
  other student or teacher refusing to "validate" or "affirm" the person's "gender
  identity." This could happen when a student refuses to use another student's neo-
  pronoun or if a lesbian turns down a date with a man, who has "identified" as a
  woman and tells the man the objective fact that she doesn't date men.

         This clearly violates students' and teachers' First Amendment rights to express
  their views on scientific, moral, and religious issues. See Janus v. AFSCME, Council
  31, 138 S. Ct. 2448, 2464 (2018) ("Forcing free and independent individuals to endorse
  ideas they find objectionable is always demeaning, and ... a law commanding
  involuntary affirmation of objected-to beliefs would require even more immediate and
  urgent grounds than a law demanding silence) (internal quotations omitted); Reed v.
  Town of Gilbert, 576 U.S. 155, 168 (2015) ("Government discrimination among
  viewpoints—or the regulation of speech based on the specific motivating ideology or
  the opinion or perspective of the speaker—is a more blatant and egregious form of
  content discrimination.") (internal quotations omitted)).

          Even worse, it compels students and faculty to deny objective truth.6

                       5. The Proposes Rule removes the provision in 34 C.F.R.
                          § 106.71(b)(1) that makes clear that exercise of rights
                          protected under the First Amendment does not constitute
                          retaliation

        34 C.F.R. § 106.71 prohibits recipients or individuals from retaliating against
  individuals who participate in the Title IX process:

         No recipient or other person may intimidate, threaten, coerce, or
         discriminate against any individual for the purpose of interfering with
         any right or privilege secured by title IX or this part, or because the
         individual has made a report or complaint, testified, assisted, or
         participated or refused to participate in any manner in an investigation,
         proceeding, or hearing under this part. Intimidation, threats, coercion,
         or discrimination, including charges against an individual for code of
         conduct violations that do not involve sex discrimination or sexual
         harassment, but arise out of the same facts or circumstances as a report

  6 Legend has it that when Galileo was put on trial for his heretic belief that the Earth revolved the

  Sun and eventually forced to recant, he muttered under his breath "Eppur si muove" or "it still moves."

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        or complaint of sex discrimination, or a report or formal complaint of
        sexual harassment, for the purpose of interfering with any right or
        privilege secured by title IX or this part, constitutes retaliation. The
        recipient must keep confidential the identity of any individual who has
        made a report or complaint of sex discrimination, including any
        individual who has made a report or filed a formal complaint of sexual
        harassment, any complainant, any individual who has been reported to
        be the perpetrator of sex discrimination, any respondent, and any
        witness, except as may be permitted by the FERPA statute, 20 U.S.C.
        1232g, or FERPA regulations, 34 CFR part 99, or as required by law, or
        to carry out the purposes of 34 CFR part 106, including the conduct of
        any investigation, hearing, or judicial proceeding arising thereunder.
        Complaints alleging retaliation may be filed according to the grievance
        procedures for sex discrimination required to be adopted under
        § 106.8(c).

  34 C.F.R. § 106.71(a). The regulations also, however, make clear that "the
  exercise of rights protected under the First Amendment does not constitute
  retaliation prohibited under paragraph (a) of this section." 34 C.F.R.
  § 106.71(b)(1).

         The Proposed Rule eliminates § 106.71(b)(1). The NPRM reasons that
  "106.71(b)(1) is redundant and its removal would be appropriate" because "[a]s
  explained in the discussion of the definition of prohibited "sex-based
  harassment" (proposed § 106.2), the Department has long made clear that it
  enforces Title IX consistent with the requirements of the First Amendment."
  This discussion and rationale are wholly inadequate. Removal of § 106.71(b)(1)
  will chill free speech and infringe on First Amendment rights.

         The NPRM fails to take into account the real-life examples of Title IX's
  retaliation provisions being abused to chill free speech. For example, the saga
  of Northwestern Professor Laura Kipnis is instructive:

        In 2015, she published a polemic in The Chronicle of Higher Education
        titled "Sexual Paranoia Strikes Academe." Kipnis argued that students'
        sense of vulnerability on campus was expanding to an unwarranted
        degree, partly owing to new enforcement policies around Title IX, which
        prohibits sex discrimination at educational institutions that receive
        federal funds. The new Title IX policies on sexual misconduct which
        were then sweeping campuses perpetuated "myths and fantasies about
        power," Kipnis wrote, which enlarged the invasive power of institutions
        while undermining the goal of educating students in critical thinking
        and resilience. "If you wanted to produce a pacified, cowering citizenry,
        this would be the method," she concluded. Kipnis wrote of a philosophy

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           professor, Peter Ludlow, whom Northwestern disciplined for sexual
           harassment; Kipnis questioned the logic of the accusations against him.
           One of Ludlow's accusers, a graduate student (unnamed in Kipnis's
           essay), then joined a fellow graduate student in the philosophy
           department in filing Title IX complaints against Kipnis, under
           Northwestern's sexual-misconduct policy. Through her essay and a
           subsequent tweet about the essay, Kipnis was alleged to have violated
           the part of the sexual-misconduct policy prohibiting "retaliation";
           additionally, she was alleged to have created a "hostile environment"
           and a "chilling effect" on complaints. Northwestern launched a formal
           Title IX investigation of Kipnis.

           Most people under Title IX investigation don't speak publicly about it,
           even to defend themselves. But Kipnis responded by publishing a follow-
           up essay in the Chronicle, called "My Title IX Inquisition," decrying the
           investigation as a misuse of Title IX that allowed "intellectual
           disagreement to be redefined as retaliation." On the same day,
           Northwestern cleared Kipnis of wrongdoing, finding that "viewpoint
           expression" is not retaliation, and that a "reasonable person" in the
           complainant's position "would not suffer a hostile environment on
           account of' the essay and the tweet.7

  The Department demonstrates absolutely no awareness of harmful instances such as
  this—and its effects on free speech and weaponization of the Title IX process. The
  Department fails to provide a reasoned explanation for eliminating § 106.71(b)(1).

                           6. The Proposed Rule plainly ignores the mountain of
                              evidence demonstrating that it will chill free speech on
                              campus.

        The Proposed Rule is arbitrary and capacious because it wrongly believes its
  new definition of sexual harassment will not chill free speech. The Department
  claims that "Title IX protects individuals from sex discrimination and does not
  regulate the content of speech as such. OCR has expressed this position repeatedly
  in discussing Title IX in prior guidance. See 2001 Revised Sexual Harassment
  Guidance at 22; 2003 First Amendment Dear Colleague Letter; 2014 Q&A on Sexual
  Violence at 43-44." 87 Fed. Reg. at 41415. But this proclamation is contradicted by
  a mountain of public evidence and the Department's past statements.



  7 Jeanie Suk Gersen, Laura Kipnis's Endless Trial by Title IX, THE NEW YORKER (Sept. 20, 2017); see

  also Laura Kipnis, My Title IX Inquisition, THE CHRONICLE OF HIGHER EDUCATION, May 29, 2015,
  htt ://]a+lralsi ni ..iOlaaiw -rsolltelitha 1loail J2():I.o'o i 1 -Title-IX-Ir.1r. 11isithJn-'I he-(_`hronicl.e-R.eview-
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           Free speech was routinely suppressed or punished from 2011 to 2017 under
  Title IX. Through sub-regulatory guidance and administrative enforcement OCR
  created an expansive definition of sexual harassment that included "verbal conduct"
  (i.e., speech) such as "making sexual comments, jokes or gestures," "spreading sexual
  rumors," and "creating e-mails or Web sites of a sexual nature."8 The environment
  became so precarious that Harvard Law School professor Jeannie Suk Gersen wrote
  in 2014 that law school faculty were increasingly reluctant to teach rape law for fear
  of offending or upsetting their students.9 When the University of Montana sensibly
  incorporated the Davis standard into its sexual harassment policy, OCR objected.'°
  OCR insisted in 2013 that the university establish policies to "encourage students to
  report sexual harassment early, before such conduct becomes severe or pervasive, so
  that it can take steps to prevent the harassment from creating a hostile
  environment."11 The broad definition of sexual harassment was a so-called "national
  blueprint" for schools12 and led OCR to regulate conduct that was not covered under
  Title IX.13 Two scholars wrote that OCR's guidance required schools to regulate
  student conduct "that is not creating a hostile environment and therefore is not
  sexual harassment and therefore not sex discrimination."14

        The Department itself recognized this in 2020. See, e.g., 85 Fed Reg. at 20036
  ("The `Sexual Harassment' subsection of the `Section 106.30 Definitions' section of
  this preamble discusses in greater detail how the Davis definition of sexual
  harassment as `severe, pervasive, and objectively offensive' comports with First
  Amendment protections, and the way in which a broader definition, such as severe,
  persistent, or pervasive (as used in the 1997 Guidance and 2001 Guidance), has led


  8 Id
  9 THE NEW YORKER, Dec. 15, 2014, htt.lr://www.n.ewyorker.eomh:reties/news-deskit.rouble-teachin.„-za -
  I w.; see also Jacob Gersen and Jeannie Suk, The Sex Bureaucracy, The Chronicle of Higher Educ.
  (Jan. 6, 2017) (https:// www.chromcle.com/article/The-College-Sex-Bureaucracy/238805) (OCR's
  "broad definition" of sexual harassment has "grown to include most voluntary and willing sexual
  contact").
  10 U.S. Dep't. of Education, Office for Civil Rights, Letter of Findings to University of Montana, May

  8, 2013, 1 !;t:1)5 i/_v..v:: _w2;eE].I;c)v/cic}t_u►.Ictrzt%/r)ra ys-r[ lea.4zes/TIlc.ni 111a-rrii soul l-lf tter:l>d1;.
  11 BROOKINGS INSTITUTION, Jan. 24, 2019, hi                                                                  s,edu/bk ~Lr/br wn-c ent[ r-
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  l)r, .orld•the-rhot.oriu.
  12 FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION, Departments of Education and Justice:
  National `Blueprint" for Unconstitutional Speech Codes, ht.t s://w .y'.,. efire.or. ;case>/del;art:lllents-
  of r•d►.rcation-anrl ' tice-rlatina!-rerruir.r..tent-ffr-unconstit.u...ional• :3i.eeh-code:/.
  13 See, e.g., Jacob Gersen and Jeannie Suk, The Sex Ru.reaucracy, 104 CALIF. L. REV. 881, 902-03 (2016)
  (Asserting that the Obama OCR's guidance required schools to regulate student conduct "that [was]
  not creating a hostile environment and therefore is not sexual harassment and therefore not sex
  discrimination" and concluding that OCR's guidance overstep[ped] OCR's jurisdictional authority).
  14 E.g., Jacob Gersen and Jeannie Suk, The Sex Bureaucracy, 104 CALIF. L. REV. 881, 902-03 (2016).




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  to infringement of rights of free speech and academic freedom of students and
  faculty.").

        The Department's failure to recognize these incontrovertible facts renders its
  explanation insufficient, arbitrary, and capricious.

       III. THE PROPOSED RULE REMOVES KEY DUE PROCESS PROTECTIONS FROM THE
            CURRENT REGULATIONS.

         Due process is a fundamental constitutional principle in American
  jurisprudence. Due process is a legal principle which has been shaped and developed
  through the process of applying and interpreting a written constitution. "Fair
  process" or "procedural justice" increases outcome legitimacy. Indeed, "[r]esearch
  demonstrates that people's views about their outcomes are shaped not solely by how
  fair or favorable an outcome appears to be but also by the fairness of the process
  through which the decision was reached. A fair process provided by a third party
  leads to higher perceptions of legitimacy; in turn, legitimacy leads to increased
  compliance with the law."15

         As a result, due process protections are a critical part of a Title IX. Fair
  grievance procedures benefit both complainants and respondents, as well as
  recipients. Both parties benefit from equal opportunities to participate by setting
  forth their own views of the allegations. Everyone benefits from processes geared
  toward reaching factually accurate outcomes. The grievance process prescribed in
  the current regulations provides a fair process rooted in due process protections that
  improves the accuracy and legitimacy of the outcome for the benefit of both parties.




  15Rebecca Holland-Blumoff, Fairness Beyond the Adversary System: Procedural Justice Norms for
  Legal Negotiation, 85 FORDF-LAM L. REV. 2081, 2084 (2017) (internal citations omitted).

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  Any Title IX grievance procedure mandated by the Department must comport with
  due process guarantees16 as well as fundamental fairness.17

              A. The Proposed Rule removes or modifies important due process
                 safeguards in the Title IX grievance process.

                        1. The Proposed Rule violates due process because it
                           removes the provisions in 34 CFR § 106.45 requiring
                           evidence to be provided to both parties.

       The Department should withdraw its proposal to modify the provisions of 34
  CFR § 106.45 relating to the opportunities of parties to inspect and review evidence
  during the grievance process. The current regulations require the recipient to:

          Provide both parties an equal opportunity to inspect and review any
          evidence obtained as part of the investigation that is directly related to
          the allegations raised in a formal complaint, including the evidence upon
          which the recipient does not intend to rely in reaching a determination
          regarding responsibility and inculpatory or exculpatory evidence
          whether obtained from a party or other source, so that each party can
          meaningfully respond to the evidence prior to conclusion of the
          investigation.

  34 CFR § 106.45.



  16See Goss v. Lopez, 419 U.S. 565, 583-84 (1975) ("On the other hand, requiring effective notice and
  informal hearing permitting the student to give his [or her] version of the events will provide a
  meaningful hedge against erroneous action. At least the disciplinarian will be alerted to the existence
  of disputes about facts and arguments about cause and effect. He may then determine himself to
  summon the accuser, permit cross-examination, and allow the student to present his own witnesses.
  In more difficult cases, he may permit counsel. In any event, his discretion will be more informed and
  we think the risk of error substantially reduced."); Nicola A. Boothe-Perry, Enforcement of Law
  Schools'1%/on-Academic Honor Codes: A Necessary Step Towards Professionalism?, 89 NFR. L. RFv. 634,
  662-63 (2012) ("Thus, while well-settled that there is no specific procedure required for due process in
  school disciplinary proceedings, the cases establish the bare minimum requirements of: (1) adequate
  notice of the charges; (2) reasonable opportunity to prepare for and meet them; (3) an orderly hearing
  adapted to the nature of the case; and (4) a fair and impartial decision .... Where disciplinary measures
  are imposed pursuant to non-academic reasons (e.g., fraudulent conduct), as opposed to purely
  academic reasons, the courts are inclined to reverse decisions made by the institutions without these
  minimal procedural safeguards.") (internal citations omitted).
  17 E.g., Kathryn M. Reardon, Acquaintance Rape at Private Colleges and Universities: Providing for
  Victims' Educational and Civil Rights, 38 SUFFOLK UNIV. L. REV. 395, 406-07 (2005) ("Courts around
  the nation have taken a relatively consistent stance on what type of process private colleges and
  universities owe to their students .... Courts expect that schools will adhere to basic concepts of fairness
  in dealing with students in disciplinary matters. Schools must employ the procedures set out in their
  own policies, and those policies must not be offensive to fundamental notions of fairness.").

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         The Department proposes allowing parties to be given, instead, an "oral
  description" of the evidence: "(4) Provide each party with a description of the evidence
  that is relevant to the allegations of sex discrimination and not otherwise
  impermissible, as well as a reasonable opportunity to respond." 87 Fed. Reg. at 41481.
  To maintain a transparent process, however, the parties need a complete
  understanding of the evidence obtained by the recipient and how a determination
  regarding responsibility is made. A written description places parties—particularly
  respondents—at a severe disadvantage, forcing them to trust that a school has
  provided a complete and accurate description of every piece of relevant evidence. We
  know from experience that the single-investigator model has a tremendous potential
  for abuse. See Part III(B), infra.

        Additionally, this puts educational institutions in the position to pre-judge
  important issues such as relevance. It would, thus, permit these institutions to make
  a determination regarding relevance and then withhold evidence on that basis.

        The Department should withdraw the proposal.

                    2. The Department should require schools to maintain a
                       consistent evidentiary standard in 34 CFR 106.45.

        The current regulations provide:

        Schools must use either "the preponderance of the evidence standard or
        the clear and convincing evidence standard, [and] apply the same
        standard of evidence for formal complaints against students as for
        formal complaints against employees, including faculty, and apply the
        same standard of evidence to all formal complaints of sexual
        harassment."

  34 CFR § 106.45. The Proposed Rule tweaks the current evidentiary rule in 34 C.F.R.
  § 106.45: "Schools must "[u]se the preponderance of the evidence standard of proof to
  determine whether sex discrimination occurred, unless the recipient uses the clear
  and convincing evidence standard of proof in all other comparable proceedings,
  including proceedings relating to other discrimination complaints, in which case the
  recipient may elect to use that standard of proof in determining whether sex
  discrimination occurred." 87 Fed. Reg. at 41576.

        First, this creates an internal contradiction. One reason the NPRM gives for
  this provision is that "a singular imposition of a higher standard for sex
  discrimination complaints would impermissibly discriminate on the basis of sex." 87
  Fed. Reg. at 41486. But the Proposed Rule permits using a lower standard for sex
  discrimination than for other complaints, including racial discrimination complaints.


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  So by the Rule's own logic, schools may discriminate on the basis of race by imposing
  a lower standard for racial than for sex discrimination. That makes no sense.

        And, the Department fails to offer a justification for mandating that sex
  discrimination complaints be addressed under no higher standard than other
  complaints but—at the same time—refusing to mandate that they also be addressed
  under no lower a standard.

         The Department should maintain the current evidentiary standard
  requirements set forth in 34 CFR 106.45. If it, however, does wish to change the
  current standard, it should not deviate further from the Proposed Rule. It's
  important that (1) recipients not use an evidentiary standard below the
  preponderance of the evidence; (2) a recipient's grievance process state up front which
  of the two permissible standards of evidence the recipient has selected and (3) apply
  that selected standard to all formal complaints of sexual harassment, including those
  against employees.




         The current regulations flatly prohibit the single investigator model. See
  34 CFR § 106.45 ("The role of Title IX Coordinator and the role of the Title IX
  investigator must be distinct from the role of Title IX adjudicator."). This is because
  fundamental fairness to both parties requires that the intake of a report and formal
  complaint, the investigation (including party and witness interviews and collection of
  documentary and other evidence), drafting of an investigative report, and ultimate
  decision about responsibility should not be left in the hands of a single person (or
  team of persons each of whom performed all those roles). Rather, after the recipient
  has conducted its impartial investigation, a separate decision-maker must reach the
  determination regarding responsibility; that determination can be made by one or
  more decision-makers (such as a panel), but no decision-maker can be the same
  person who served as the Title IX Coordinator or investigator.

         The Proposed Rule eliminates this prohibition and expressly permits the
  decision-maker to be the same person as the Title IX coordinator. Integrating the
  investigative and decision-making functions will (1) substantially impair the overall
  fairness of the grievance process; (2) decrease the reliability of fact-finding and the
  accuracy of outcomes; (3) lower party and public confidence in outcomes; and (4)
  decrease the accuracy of the determination regarding responsibility in Title IX cases
  because individuals who perform both roles may have confirmation bias and other
  prejudices that taint the proceedings, whereas separating those functions helps
  prevent bias and prejudice from impacting the outcome.




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         Prior to the current regulations, Both OCR and the White House pressured
  schools to employ the single investigator model.18           Schools housed these
  investigators/adjudicators in their Title IX offices, which had strong incentives to
  ensure the school stayed compliant with the DCLs to avoid losing federal funding.
  Many Title IX offices assumed every role in the process, acting as prosecutor, judge,
  jury, and appeals board

        The biases of individuals in the single-investigator role had disastrous
  consequences. See, e.g., Laura Kipnis, UNWANTED ADVANCES 33 (2017) ("The reality
  is that a set of incomprehensible directives, issued by a branch of the federal
  government, are being wielded in wildly idiosyncratic ways, according to the whims
  and biases of individual Title IX officers operating with no public scrutiny or
  accountability. Some of them are also all too willing to tread on academic and creative
  freedom as they see fit"). Even proponents of a strong role for Title IX coordinators
  acknowledged that corruption existed in the process.19

         Indeed, courts have called the fairness of this model into question over the last
  few years. See, e.g., Doe v. Claremont McKenna Coll., 25 Cal. App. 5th 1055, 1072-73
  (Cal. App. 2018) (all decision makers "must make credibility determinations, and not
  simply approve the credibility determinations of the one Committee member who was
  also the investigator."); Doe v. Miami Univ., 882 F.3d 579, 601, 605 (6th Cir. 2018)
  (court found "legitimate concerns" raised by the investigator's "alleged dominance on
  the three-person [decision-making] panel" because "she was the only one of the three
  with conflicting roles."); Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 573 (D. Mass.
  2016) (referring to the "obvious" "dangers of combining in a single individual the
  power to investigate, prosecute, and convict, with little effective power of review");
  Doe v. Alice, 30 Cal. App. 5th 1036, 1068 (Cal. App. 2019) ("As we have explained, in
  USC's system, no in-person hearing is ever held, nor is one required. Instead, the
  Title IX investigator interviews witnesses, gathers other evidence, and prepares a

  18 See Doe v. Univ. of Scis., 961 F.3d 203, 213 (3d Cir. 2020) (describing the pressure universities faced
  as a result of the Dear Colleague Letter). In the "single investigator" model, there is no hearing. One
  person conducts interviews with each party and witness, and then makes the determination whether
  the accused is responsible. No one knows what the investigator hears or sees in the interviews except
  the people in the room at the time. This makes the investigator all-powerful. Neither accuser nor
  accused can guess what additional evidence to offer, or what different interpretations of the evidence
  to propose because they are completely in the dark about what the investigator is learning and are
  helpless to fend off the investigator's structural and personal biases as they get cooked into the
  evidence-gathering.
  19 See, e.g., Association of Title IX Administrators (ATIXA), ATIXA Position Statement: Why Colleges

  Are in the Business of Addressing Sexual Violence 3-4 (Feb. 17, 2017) (acknowledging that due process
  has been denied in some recipients' Title IX proceedings but insisting that "Title IX isn't the reason
  why due process is being compromised .... Due process is at risk because of the small pockets of
  administrative corruption ... and because of the inadequate level of training currently afforded to
  administrators. College administrators need to know more about sufficient due process protections and
  how to provide these protections in practice.") (emphasis added).

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  written report in which the investigator acts as prosecutor and tribunal, making
  factual findings, deciding credibility, and imposing discipline. The notion that a single
  individual, acting in these overlapping and conflicting capacities, is capable of
  effectively implementing an accused student's right of cross-examination by posing
  prepared questions to witnesses in the course of the investigation ignores the
  fundamental nature of cross-examination: adversarial questioning at an in-person
  hearing at which a neutral fact finder can observe and assess the witness'
  credibility.").

         The Proposed Rule pays lip service to the concerns of the 2020 rule in ensuring
  that a person's experience investigating a claim of harassment does not bias him or
  her in a subsequent role of determining whether harassment occurred. It somehow
  concludes, however, that unifying the investigatory and adjudicatory roles does not
  raise a substantial risk of bias because "the recipient is not in the role of prosecutor
  seeking to prove a violation of its policy," but rather "the recipient's role is to ensure
  that its education program is free of unlawful sex discrimination, a role that does not
  create an inherent bias or conflict of interest in favor of one party or another." 87 Fed.
  Reg. at 41467.

        Perhaps most shockingly, the Department wrongly claims that a separate
  adjudicator would not help the reliability of the grievance process. 87 Fed. Reg. at
  41466-41467. It cites no evidence in support of this claim. Id. This rationale is
  inadequate and fails to account for the real-world evidence that led to the 2020
  Regulations.

         A separate, neutral adjudicator is also necessary because of the Title IX
  incentive structure. The incentive structure pushes recipients toward findings of
  fault. That is, if there is discrimination that a recipient fails to redress, they could
  lose federal funding, so they are incentivized to stamp out as many Title IX violations
  as possible. On the other hand, however, if there is non-discriminatory conduct that
  schools redress, it often costs the recipient nothing. It's common sense, moreover,
  that an investigator may come to hold views that favor one party or another during
  an investigation. A neutral decisionmaker is one of the best ways to ensure a fair
  process.

        The Department's proposed change would return to the flawed and highly
  unfair system that led to the enactment of the 2020 Regulations.

                     4. The Proposed Rule violates Due Process by removing
                        written notice provisions in 34 C.F.R. 106.45(b)(2)(i)(B).

        The current regulations require the recipient to provide written notice of a
  formal complaint to a respondent. In that written notice, a respondent must be


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  provided with (1) presumption of innocence statement; (2) right to advisor of choice;
  (3) penalty for false statements:

        The written notice must include a statement that the respondent is
        presumed not responsible for the alleged conduct and that a
        determination regarding responsibility is made at the conclusion of the
        grievance process. The written notice must inform the parties that they
        may have an advisor of their choice, who may be, but is not required to
        be, an attorney, under paragraph (b)(5)(iv) of this section, and may
        inspect and review evidence under paragraph (b)(5)(vi) of this section.
        The written notice must inform the parties of any provision in the
        recipient's code of conduct that prohibits knowingly making false
        statements or knowingly submitting false information during the
        grievance process.

  34 CFR 106.45(b)(2)(i)(B). The Proposed Rule removes those three requirements from
  the written notice:

        (c) Notice of allegations. Upon initiation of the recipient's grievance
        procedures, a recipient must provide notice of the allegations to the
        parties whose identities are known. (1) The notice must include: (i) The
        recipient's grievance procedures under this section, and if applicable
        § 106.46, and any informal resolution process under § 106.44(k); (ii)
        Sufficient information available at the time to allow the parties to
        respond to the allegations. Sufficient information includes the identities
        of the parties involved in the incident, the conduct alleged to constitute
        sex discrimination under Title IX, and the date and location of the
        alleged incident, to the extent that information is available to the
        recipient; and (iii) A statement that retaliation is prohibited.

  87 Fed. Reg. at 41575. The Department has failed to provide any justification for why
  it removed the requirements that recipients inform accused students about the
  presumption of innocence, the right to counsel, or the penalties for false statements.




        The Title IX regulations currently require a live hearing at the postsecondary
  level. 34 CFR § 106.45(b)(6)(i) ("For postsecondary institutions, the recipient's
  grievance process must provide for a live hearing."). The Proposed Rule removes that
  requirement. 87 Fed. Reg. at 41462, 41497, 41498. "A postsecondary institution's
  sex-based harassment grievance procedures may, but need not, provide for a live
  hearing."


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        Relatedly, under the current regulations the parties must be allowed at live
  hearings to ask questions directly through their advisors:

         At the live hearing, the decision-maker(s) must permit each party's
         advisor to ask the other party and any witnesses all relevant questions
         and follow-up questions, including those challenging credibility. Such
         cross-examination at the live hearing must be conducted directly, orally,
         and in real time by the party's advisor of choice and never by a party
         personally, notwithstanding the discretion of the recipient under
         paragraph (b)(5)(iv) of this section to otherwise restrict the extent to
         which advisors may participate in the proceedings.

  34 C.F.R. § 106.45(b)(6)(i).

         At the postsecondary level, live hearings are key to seeking truth and
  determining responsibility. Because most parties and witnesses are adults there,
  grievance procedures' live cross-examination at a hearing is both appropriate and
  worthwhile. The current regulations require institutions to provide a live hearing,
  and to allow the parties' advisors to cross-examine the other party and witnesses.

         The current regulations balance the importance of cross-examination with any
  potential harm from personal confrontation between the complainant and the
  respondent by requiring questions to be asked by an advisor aligned with the party.
  Further, they allow either party to request that the recipient facilitate the parties
  being located in separate rooms during cross-examination while observing the
  questioning live via technological means. The current regulations thereby provide
  the benefits of cross-examination while avoiding any unnecessary trauma that could
  arise from personal confrontation between the complainant and the respondent.20

        The Proposed Rule obviously doesn't require a live hearing. But it also now
  appears to only require schools to let parties submit written questions to each other
  on the limited topic of "credibility":

         This assessment of credibility includes either (i) Allowing the
         decisionmaker to ask the parties and witnesses, during individual

  20 Cf. Baum, 903 F.3d at 583 ("Universities have a legitimate interest in avoiding procedures that may
  subject an alleged victim to further harm or harassment. And in sexual misconduct cases, allowing
  the accused to cross-examine the accuser may do just that. But in circumstances like these, the answer
  is not to deny cross-examination altogether. Instead, the university could allow the accused student's
  agent to conduct cross-examination on his behalf. After all, an individual aligned with the accused
  student can accomplish the benefits of cross-examination— its adversarial nature and the opportunity
  for follow-up—without subjecting the accuser to the emotional trauma of directly confronting her
  alleged attacker.").



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        meetings with the parties or at a live hearing, relevant and not
        otherwise impermissible questions under §§ 106.2 and 106.45(b)(7) and
        follow-up questions, including questions challenging credibility, before
        determining whether sex-based harassment occurred and allowing each
        party to propose to the decisionmaker or investigator relevant and not
        otherwise impermissible questions under §§ 106.2 and 106.45(b)(7) and
        follow-up questions, including questions challenging credibility, that the
        party wants asked of any party or witness and have those questions
        asked during individual meetings with the parties ...

  87 Fed. Reg. at 41577-41578. The wording of this provision is vague, but it appears
  that recipients can exclude questions between parties as long as credibility isn't in
  dispute. We request further clarification as to when a recipient may exclude
  questions between the parties. If the Department does not provide clarification,
  the Proposed Rule is arbitrary and capricious.

          Finally, at the postsecondary level, the Proposed Rule imagines that college
  students will mostly "self-advocate" in harassment proceedings. Although students
  would be entitled to an advisor, postsecondary institutions would not have to permit
  parents to be involved in the process. The Department has failed to give any
  meaningful reason for excluding parents from these proceedings. Students in higher
  education would undoubtedly benefit from a parent's counsel and the Proposed Rule
  fails to provide a single reason for excluding parents from the process.

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         The proposed rule allows "supportive measures" that temporarily burden a
  respondent only during the pendency of the proceedings. 87 Fed. Reg. at 41421. This
  provision is internally contradictory because, elsewhere in the NPRM, it emphasizes
  the need for equitable treatment in the Title IX process between complainants and
  respondents. Id. at 41453. Here, however, both are not subject to the same rules and
  the Department has not acknowledged or explained that departure. This is also
  irrational because there's no basis for distinguishing between complainants and
  respondents on the basis of their conduct. Since respondents are afforded the
  presumption of innocence by the NPRM, id. at 41488, 41508, this makes no sense.

         This provision is also flawed because there are no limits to how burdensome
  the supportive measures may be. In theory, a respondent could be suspended from all
  classes and dismissed from campus on the basis of an unproven allegation. A school
  wouldn't even need to find that the complainant is likely to prevail on his or her claim
  of discrimination to impose that de facto sanction.




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                B. The totality of the Proposed Rule returns to the problematic
                   paradigm from the 2011-17 era and fails to adequately consider
                   the mountain of evidence that strong due process protections
                   are necessary for Title IX grievances procedures.

         The current regulations in 34 CFR § 106.45 (and elsewhere) set forth clear
  legal obligations that require schools to promptly respond to allegations of sexual
  harassment, follow a fair grievance process to resolve those allegations, and provide
  remedies to victims. It guarantees victims and accused students strong, clear
  procedural rights in a predictable, transparent process designed to reach reliable
  outcomes.21 When taken as a whole, the current regulations were enacted following
  regulatory and constitutional mess from 2011 to 2017. The proposed rule would re-
  institute many of those flawed policies.

         OCR's 2011 Dear Colleague Letter: Sexual Violence ("2011 DCL") wreaked
  havoc  on campuses across the country (The 2011 DCL was expanded upon by a 2014
  Questions and Answers on Title IX and Sexual Violence). It was a Kafkaesque
  disciplinary disaster that resulted in hundreds of successful lawsuits against schools
  and widespread criticism from across the ideological spectrum. The 2011 DCL
  compelled schools to adopt the lowest standard of proof for proving sexual harassment
  and sexual assault claims—preponderance of the evidence—and pressured schools to
  find accused students responsible for sexual misconduct even where there was
  significant doubt about culpability.22

        A laundry list of due process violations—reminiscent of Star Chamber—
  stacked the deck against accused students: schools failed to give students the
  complaint against them, or notice of the factual basis of charges, the evidence
  gathered, or the identities of witnesses; schools fail to provide hearings or to allow

  21 See, e.g., U.S. Dep't of Educ. YouTube Channel, OCR Webinar on Due Process Protections under the
  New Title IX Regulations (July 21, 2020), hu;ps:/fyoutu.be/48LJwobt.iK!M; U.S. Dep't of Educ. YouTube
  Channel, OCR Title IX Webinar: Bias and Conflicts of Interest (Jan 15, 2021),
  bt.tns://www.yout.ube.comiwat.cb?v=vlIppcOdrzCg.
  22 OCR found numerous institutions in violation of Title IX for failing to adopt the preponderance of
  the evidence standard in its investigations of sexual harassment, even though the notion that the
  preponderance of the evidence standard is the only standard that might be applied under Title IX was
  set forth in the 2011 Dear Colleague Letter and not in the Title IX statute, current regulations, or
  other guidance. E.g., U.S. Dep't. of Education, Office for Civil Rights, Letter of Findings to Harvard
  Law School 7, Dec. 10, 2014, klE:t.(>4:Ilww~vZ_epct, c~vlritfCULLif'flEtiljl:CE;,',+,y'-Cf lc. sa sl sar r~]-law-lettc?x:,.pc.f
  ("[I]n order for a recipient's grievance procedures to be consistent with the Title IX evidentiary
  standard, the recipient must use a preponderance of the evidence standard for investigating
  allegations of sexual harassment, including sexual assault/violence."); see also Blair A. Baker, When
  Campus Sexual Misconduct Policies Violate Due Process Rights, 26 CORNELL J. L. & PUB. POLY 533,
  542 (2016) (The 2011 DCL "forced universities to change their former policies drastically, with regards
  to their specific procedures as well as the standard of proof, out of fear that the Department of
  Education will pursue their school for a violation of Title IX.").




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  the accused student's lawyer to attend or speak at hearings; schools barred the
  accused from putting questions to the accuser or witnesses, even through
  intermediaries; schools denied parties the right to see the investigative report or get
  copies for their lawyers for preparing an appeal; schools allowed appeals only on very
  narrow grounds such as new evidence or procedural error, providing no meaningful
  check on the initial decisionmaker. A study by the Foundation for Individual Rights
  in Education found that 73% of the top universities in America did not guarantee the
  presumption of innocence in campus proceedings.23

         By 2014, OCR had stopped using the terms complainant/alleged victim and
  alleged perpetrator and replaced them with victim/survivor and perpetrator. OCR
  then began keeping a public list of the schools at which it was investigating possible
  Title IX violations, putting schools under a cloud of suspicion.

      This resulted in a Title IX system that quite literally resembled Kafka's The
  Trial.24 Here are just a few examples of the infamous system created during the
  2011-17 paradigm:

             An athlete of color at Colorado State University-Pueblo was accused of
             sexually assaulting a female trainer, but not by her. Despite the trainer saying
             that she had not been raped, University officials pointed out that according to
             Title IX, they got to decide the accused student's fate and the student was
             found guilty and expelled.25

        • At USC, a student-athlete was kicked out of school for abusing his girlfriend—
          despite the fact his girlfriend never reported any abuse and vehemently
          denied any abuse ever took place—after a neighbor saw the couple playfully
          roughhousing in the front yard.26

             A Howard University law professor was punished, following a 16-month
             investigation, because an exam question he wrote involving a bikini wax was
             deemed to have created an unsafe environment after a student "allegedly




  23 FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION, Dec. 18, 2018, 11ti.1Jr I< vw                                       ..J.1.Te.Q ! lx?._#..
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  24 See, e.g., COMMENTARY MAGAZINE, June 2017, httrs://www.co                                       n.ntarvrnagazine.coni/art.ic.1es/k.c.
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  25 REASON, Apr. 19, 2016,11l:ip: itl:B~asEIII:.rc}rri1201.6` /0411 3118±Eli Ic; -sl;,,i(lerit:- ;         iii-iit) fizic,-.;jxl(t-i-w: istill.
  26 REASON, Aug. 2, 2017, ; lE; ;11.:Li         t         1,   )t;iLc   i1) ,'St:t.t t',rlt-i.El;


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                           believed the question's premise somehow required her to reveal to the class
                           whether she'd had a Brazilian wax."27

                • A judge rebuked Brandeis University for denying fundamental due process
                  rights to a student who was found guilty of sexual misconduct for a variety of
                  non-violent offenses: most notably, because he had awakened his then-
                  boyfriend with nonconsensual kisses.L3

                           Northwestern University Professor Laura Kipnis (herself a liberal feminist)
                           faced a Title IX complaint and investigation simply for writing an essay about
                           sex on campus and criticizing sexual harassment policies (the complaint
                           alleged she created a "chilling environment" for reporting sexual harassment
                           or assaults).29

                • Carleton College suspended a student for drunken sex and then expelled the
                  student as soon as he appealed the suspension, with the Dean writing to him
                  that "the fact you continue to assert that it was okay to engage in sexual
                  activity with a person in [Jane Doe's] condition is deeply troubling."30

                • A University of Tennessee student was investigated for sexual harassment
                  because he wrote his instructor's name wrong.31

                           Resident Advisors at University of Massachusetts-Amherst told students that
                           making jokes about Harambe, the dead gorilla and internet meme, could
                           constitute a violation of Title IX. 32




  27 FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION, July 6, 2017, https:iiw-ww.the~f r.~.orgia-sticky-
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  28  REASON, Apr. 1, 2016, lti („ ; ;.='i.'~: ,iE)rl:r<t ................................._......._...........                    nr"`?i)1,Fiit)4101,,'iuclga~-4icl>:• .-~F~i#ll-g :-1~t .j. . . i . ; - h .i!..
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  29 THE CHRONICLE OF HIGHER EDUCATION, May 29, 2015, http://lau.r,, kipnis.comiwp-
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  31 REASON, Oct. 12, 2016, 1,I:                                                                   I;,            . .'.:::Qtrti2ill.Fi/lii 12,'ut.-stucl[~r~.t-rzc~u:-l)[ irig-i lvctsPi                                                                               ±AEI-fc,r-sc,,•.
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  32 REASON, Sept. 6, 2016, ht,t                                                                  r                   .crc3 t, ? 1. 6;0:: 'ii U                                                                                                                                           i't- m/.


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        One of the more tragic ironies is that the 2011 DCL resulted in a
  disproportionate number of expulsions and scholarship losses for Black male
  students.33

         The criticisms of the 2011-17 system spanned the ideological spectrum. Here
  are just a few examples:

       • Four feminist law professors at Harvard wrote that the Biden/Lhamon Title
         IX system "put pressure on [schools] to stack the system so as to favor alleged
         victims over those they accuse and that "procedures for enforcing [definitions
         of sexual harassment] are frequently so unfair as to be truly shocking."34
       • More than two dozen other Harvard Law School professors wrote a letter in
         2014 objecting to the school's Title IX process as unfair.36
       • A group of 16 law professors from the University of Pennsylvania argued "we
         believe that OCR's approach exerts improper pressure upon universities to
         adopt procedures that do not afford fundamental fairness."36
       • Janet Halley, a self-described feminist and professor at Harvard Law School
         told Congress that "the rate of complaints and sanctions against male
         (including transitioning to male) students of color is unreasonably high."37




  33                 REALCLEAREDUCATION,                           Jan.                 21,                  2019,
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  34   EIizabei.h Bartholet et al., Fairness For All Students Under Title 1X, Aug. 21, 2017,
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  h.t•    Id:. b... rva rd .e ltt/bitstream/llandle/1/3333789434/Fairness%20for"%i20A]1%20St.uilents.p)d#?;seQu


  35 BOSTON GLOBE, Oct.    14, 2014, ht.Lps:llwww.bost.ongtobe.com/oninion/201.4/10/i.4/reth ink-ha rva:rd.
         Ihar    siil+.'.'.,tl _ poliy11-I.F[)pi/N7t1U2tJwiuUTluW UlrzabWsto:ry html
                                                                           ("Harvard has adopted
  procedures for deciding cases of alleged sexual misconduct which lack the most basic elements of
  fairness and due process").
  36 Open Letter from Members of the Penn Law School Faculty, Sexual Assault Complaints: Protecting

  Complainants and the Accused Students at Universities, WALL ST. J., Feb. 18, 2015,
  http://online.wsj.com/public/resources/documents/ 2015_0218_upenn.pdf (statement of 16 members of
  the University of Pennsylvania Law School faculty).
  37 THE COLLEGE FIX, Aug. 4, 2015, ht.tps://www.thecoiiet:efix.comish.ut-opt.t.-of-sexual-assault•hearin-

  crpt:cs.oi.pro.accuser..Iegis1atiori.fiood.seria L(• -corn iiIitt(•e.w: ;h.L•st4n1onv/ ; Additionally, Harvard Law
  Professor Jeannie Suk Gersen wrote in The New Yorker in 2015 that the administrators and faculty
  members she'd spoken with who "routinely work on sexual-misconduct cases" said that "most of the
  complaints they see are against minorities." The New Yorker, Dec. 11, 2015,
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           • The past President of the American Civil Liberties Union remarked in 2015
             that "OCR's distorted concept of sexual harassment actually does more harm
             than good to gender justice, not to mention to free speech."38
            • The American College of Trial Lawyers issued a report concluding that OCR
              had imperiled due process and free speech.39

         The due-process deficiencies in the 2011 DCL and 2014 Q&A led to over 600
  lawsuits by accused students against their academic institutions.40 These lawsuits,
  more often than not, 41 resulted in victories for accused students across the country in
  state and federal court, including key wins at the appellate level. See, e.g., Doe v.
  Oberlin Coll., 963 F.3d 580, 581 (6th Cir. 2020); Doe v. Univ. of the Scis., 961 F.3d
  203, 205 (3d Cir. 2020); Doe v. Purdue Univ., 928 F.3d 652, 656 (7th Cir. 2019);
  Haidak v. Univ. of Mass.-Amherst, 933 F.3d 56,60 (1st Cir. 2019); Doe v. Miami Univ.,
  882 F.3d 579 (6th Cir. 2018); Doe v. Baum, 903 F.3d 575 (6th Cir. 2018); Doe v. Univ.
  of Cincinnati, 872 F.3d 393 (6th Cir. 2017); Doe v. Claremont McKenna Coll., 25 Cal.
  App. 5th 1055, 1070 (2018); Doe v. Regents of Univ. of Cal., 28 Cal. App. 5th 44, 61
  (2018).

         The Department has proposed returning—in large part—to the problematic
  Title IX grievance system from the 2011-17 era. It has utterly failed to reconcile
  these past failures of OCR policy with its Proposed Rule.




  88 Shorenstein               Center, Nadine Strossen: "Free Expression: An Endangered Species on Campus?"
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  39 American College of Trial Lawyers, Task Force on the Response of Universities and Colleges to
  Allegations of Sexual Violence, White Paper on Campus Sexual Assault Investigations, 2017,
  ht                                                                                                      lault(:I(x (1rrE 11{:li )1 i ri )t ,it.i()nsi;aiB Ell a'a{'-fl)dwhi{.P ) & rsl
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  40 See Milestone: 600+ Title IX/Due Process Lawsuits in Behalf of Accused Students, TITLE IX FOR ALL,

  Apr. 1, 2020, httl~s:JJwww.t.it:lEixfor{~.tl.comJmilestc))le 6(){.3-t,Ft.lEi-ix-(tue-process-1{~.wsr~its-rn liehalf-of-
  ac-c,u§t               it; see also Diane Heckman, The Assembly Line of Title IX Mishandling Cases
  Concerning Sexual Violence on College Campuses, 336 WEST'S EDUC. L. REP. 619, 631 (2016) (stating
  that since 2014 "there has been an influx of lawsuits contending post-secondary schools have violated
  Title IX due to their failure to properly handle sexual assault claims. What is unusual is that both
  sexes are bringing such Title IX mishandling cases due to lack of or failure to follow proper process
  and due process from each party's perspective. A staggering number of cases involve incidents of
  alcohol or drug usage or intoxication triggering the issue of the negating a voluntary consent between
  the participants.") (internal citations omitted).
  41 See Samantha Harris & KC Johnson, Campus Courts in Court: The Rise in Judicial Involvement in
  Campus Sexual Misconduct Adjudications, 22 N.Y.U. J. LEGIS. & PUB. POLY 49 (2019).

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     IV.    ASSISTANT SECRERTARY LHAMON MUST RECUSE FROM THE RULEMAKING
            PROCESS

         Assistant Secretary Lhamon must recuse herself from the rulemaking process.
  The 2020 Rule was enacted in response to a constitutional and regulatory mess
  created by OCR from 2011 to 2016. As Assistant Secretary for Civil Rights from 2013
  to 2017, Assistant Secretary Lhamon played a crucial role in creating this problem.
  OCR's infamous 2011 Dear Colleague Letter: Sexual Violence ("2011 DCL") and 2014
  Questions and Answers on Title IX and Sexual Violence ("2014 Q&A") wreaked havoc
  on campuses across the country. OCR compelled schools to adopt the lowest standard
  of proof for proving sexual harassment and sexual assault claims—preponderance of
  the evidence—and pressured schools to find accused students responsible for sexual
  misconduct even where there was significant doubt about culpability.

         At OCR, Assistant Secretary Lhamon pressured schools to employ the single
  investigator model that gives one person appointed by the school's Title IX
  coordinator authority both to investigate alleged misconduct and to determine guilt
  and innocence. OCR didn't merely put its thumb on the scale of justice under her
  leadership, it became a biased institution. Investigations were not an inquiry into
  discrete complaints, but instead fishing expeditions into every aspect of schools'
  adjudication process and campus life. By 2016, "the average investigation had been
  open for 963 days, up from an average in 2010 of 289 days." Former and current
  OCR investigators told the media "the perceived message from Washington was that
  once an investigation into a school was opened, the investigators in the field offices
  were not meant to be objective fact finders. Their job was to find schools in violation
  of Title IX."

        Given her past statements and record, there's no possible way OCR or the
  Department can conduct the rulemaking process in accordance with the
  Administrative Procedure Act's requirements for reasoned decision-making. When
  the 2020 Rule was released, Assistant Secretary Lhamon claimed that it was "taking
  us back to the bad old days, when it was permissible to rape and sexually harass
  students with impunity." During her subsequent Senate Confirmation hearing, she
  confirmed that this was still her view. With her mind already made up regarding
  the 2020 Rule—and her attachment to the defective regime it replaced—her
  involvement would taint the rulemaking process with bias. See, e.g., Citizens to Pres.
  Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971) (a strong showing of bad faith
  may require the administrative officials who participated in a decision to give
  testimony explaining their action); United States v. Oregon, 44 F.3d 758, 772 (9th Cir.
  1994) (decisionmaker cannot possess "an unacceptable probability of actual bias").
  Further, any future rationale for changing the 2020 Rule that's offered by the
  Department would be invalid because her statements prove the Department's
  outcome is pre-ordained. See Dep't of Commerce v. New York, 139 S. Ct. 2551, 2573


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  (2019) (uncontested that decision resting on "pretextual basis" "warrant[s] a remand
  to the agency").

         We brought this conflict of interest to the Department's attention via letter on
  April 5, 2022 (Attachment A), and then again on June 23, 2022 (Attachment B). The
  Proposed Rule, however, doesn't discuss these concerns. If the Department doesn't
  provide an adequate explanation regarding Assistant Secretary Lhamon's
  involvement, the rulemaking process is tainted and the Final Rule is arbitrary and
  capricious.

     V.      THE DEPARTMENT MUST CLARIFY THAT TAX-EXEMPT STATUS ALONE DOES
             NOT CONSTITUTE "FEDERAL FINANCIAL ASSISTANCE."

         Title IX applies only to entities that are recipients of federal financial
  assistance. 20 U.S.C. § 1681(a). The current Title IX regulations define the term
  federal financial assistance:

          Federal financial assistance means any of the following, when
          authorized or extended under a law administered by the Department:

               (1) A grant or loan of Federal financial assistance, including funds
          made available for:

                       (i) The acquisition, construction, renovation, restoration, or
                       repair of a building or facility of any portion thereof; and

                       (ii) Scholarships, loans, grants, wages or other funds
                       extended to any entity for payment to or on behalf of
                       students admitted to that entity, or extended directly to
                       such students for payment to that entity.

                 (2) A grant of Federal real or personal property or any interest
          therein, including surplus property, and the proceeds of the sale or
          transfer of such property, if the Federal share of the fair market value
          of the property is not, upon such sale or transfer, properly accounted for
          to the Federal Government.

                (3) Provision of the services of Federal personnel.

                 (4) Sale or lease of Federal property or any interest therein at
          nominal consideration, or at consideration reduced for the purpose of
          assisting the recipient or in recognition of public interest to be served
          thereby, or permission to use Federal property or any interest therein
          without consideration.

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                  (5) Any other contract, agreement, or arrangement which has as
           one of its purposes the provision of assistance to any education program
           or activity, except a contract of insurance or guaranty.

   34 C.F.R. § 106.2(g).

         Two federal district courts have now determined that an entity's tax-exempt
  status under Section 501(c)(3) of the Internal Revenue Code, 26 U.S.C. § 501(c)(3),
  constitutes federal financial assistance. See E.H. v. Valley Christian Acad., 2022 U.S.
  Dist. LEXIS 132893, at *17 (C.D. Cal. July 25, 2022); Buettner-Hartsoe v. Bait.
  Lutheran High Sch. Ass'n, 2022 U.S. Dist. LEXIS 130429, at *15 (D. Md. July 21,
  2022). Both decisions held that 501(c)(3) status made private high schools indirect
  recipients of federal financial assistance, therefore, subjected them to Title IX.

         Prior to these decisions, 501(c)(3) had never been considered federal financial
  assistance. Income tax exemptions are "conspicuously absent from [the] laundry list"
  of examples in 34 C.F.R. § 106.2(g). Johnny's Icehouse, Inc. v. Amateur Hockey Ass'n,
  134 F. Supp. 2d 965, 971 (N.D. Ill. 2001); see also Zimmerman v. Poly Prep Country
  Day Sch., 888 F. Supp. 2d 317, 332 n.2 (E.D.N.Y. 2012) (citing, e.g., Stewart v. New
  York Univ., 430 F. Supp. 1305, 1314 (S.D.N.Y. 1976)).

         The Department should clarify in 34 C.F.R. § 106.2(g) that 501(c)(3) status does
  not constitute federal financial assistance. Extending Title IX to schools because of
  501(c)(3) status would be a drastic extension of Title IX. It would force every private
  school enjoying tax-exempt status to comply with Title IX.

     VI.      THE DEPARTMENT MUST ASSESS THE IMPACT OF THE PROPOSED
              REGULATIONS ON FAMILIES AND PARENTAL RIGHTS PURSUANT TO 5 U.S.0
              § 601.

        Section 654 of the Treasury and General Government Appropriations Act,
  1999, Pub. L. 105-277, codified at 5 U.S.0 § 601, provides:

           Before implementing policies and regulations that may affect family
           well-being, each agency shall assess such actions with respect to
           whether ... the action strengthens or erodes the authority and rights of
           parents in the education, nurture, and supervision of their children.

  5 U.S.0 § 601 (statutory notes). As discussed in Part I(D), the Proposed Rule infringes
  on parental rights because it treats failure to "affirm[] gender identity" the same as
  traditional forms of discrimination (e.g., excluding girls from the debate team), a
  school wouldn't need to obtain parental consent before pushing "gender affirmation"
  of whatever self-declared identity a child announces in school; the school would never

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  have to disclose that affirmation program to the child's parents, and must—at any
  rate—pursue it even over parents' objections. The statute clearly provides that the
  Department must evaluate its proposed actions with respect to whether the "action
  strengthens or erodes the authority and rights of parents in the education, nurture,
  and supervision of their children." Id.

         The Department must conduct the impact analysis as required by Pub. L. 105-
  277, codified at 5 U.S.0 § 601, or the Proposed Rule is arbitrary, capricious, and not
  in accordance with law.

        Sincerely,




        AUSTIN KNUDSEN
        ATTORNEY GENERAL OF MONTANA




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  STEVE MARSHALL                                DEREK SCHMIDT
  ATTORNEY GENERAL OF ALABAMA                   ATTORNEY GENERAL OF KANSAS



  LESLIE RUTLEDGE
  ATTORNEY GENERAL OF ARKANSAS                  DANIEL CAMERON
                                                ATTORNEY GENERAL OF KENTUCKY



  CHRISTOPHER M. CARR
  ATTORNEY GENERAL OF GEORGIA                   JEFF LANDRY
                                                ATTORNEY GENERAL OF LOUISIANA




  THEODORE E. ROKITA
  ATTORNEY GENERAL OF INDIANA                   LYNN FITCH
                                                ATTORNEY GENERAL OF MISSISSIPPI



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             s
  DOUG PETERSON
  ATTORNEY GENERAL OF NEBRASKA                  KEN PAXTON
                                                ATTORNEY GENERAL OF TEXAS



  JOHN M. O'CONNOR
  ATTORNEY GENERAL OF OKLAHOMA
                                                SEAN D. REYES
                                                ATTORNEY GENERAL OF UTAH

  ALAN WILSON
  ATTORNEY GENERAL OF SOUTH
  CAROLINA
                                                JASON MIYARES
                                                ATTORNEY GENERAL OF VIRGINIA

  MARK VARGO
  ATTORNEY GENERAL OF SOUTH DAKOTA




  JONATHAN SKRMETTI
  ATTORNEY GENERAL OF TENNESSEE




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                                                                          TONY THURMOND
              CALIFORNIA DEPARTMENT                                    SIAlE SUl'ERINIENDEN1 OF
                   OF EDUCATION                                           PUBLIC INSTRUCTION
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                                         ........
              1430 N STREET, SACRAMENTO, CA 95814-5901 * 916-319-0800 * WWW.CDE.CA.GOV



                                      August 25, 2022

  The Honorable Suzanne Goldberg
  Office of Civil Rights
  U.S. Department of Education
  400 Maryland Avenue SW
  Washington, DC 20202

  Dear Acting Assistant Secretary Goldberg:

  The California Department of Education (CDE) appreciates and supports the U.S.
  Department of Education's (ED's) Title IX proposed rule related to discrimination in the
  form of sexual harassment, sexual violence in educational environments, and
  discrimination based on sexual orientation, gender identity, and gender expression.

  The CDE believes that all students, staff, and faculty should be treated fairly and be
  afforded a positive educational environment. In California, the definition of sexual
  harassment is comprehensive, covering all unwelcome conduct of a sexual nature that
  has the purpose or effect of having a negative impact on the individual's academic
  performance or of creating an intimidating, hostile, or offensive educational
  environment. That is also why we applaud ED's commitment to protect all students and
  employees from discrimination and retaliation in a prompt manner when entities become
  aware of troubling allegations.

  Additionally, California is a state that prohibits discrimination based on sexual
  orientation, gender identity, and gender expression. The disregard of, or unwillingness
  to accept, a student's gender expression is a form of bullying and harassment. We know
  that when students' gender identities are respected. they thrive. That is why California
  strongly supports the updated protections for LQBTQIA+ students outlined in the
  proposed rule.

  The CDE would like to suggest some changes to the proposed Title IX rule in order to
  provide greater clarity and efficiency for schools. The CDE has concerns related to the
  proposed language for 34 CFR 106.8(e), which states that if a student with an
  Individualized Education Program (IEP) is either the complainant or the respondent in a
  complaint of sex-based discrimination, the Title IX coordinator must consult with the




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  student's "IEP team" to ensure compliance with the Individuals with Disabilities
  Education Act (IDEA) throughout the Title IX investigative process. This language may
  be confusing to the field, and difficult to implement, as explained below.

  The first concern is with the language that states that the Title IX coordinator must
  consult specifically with "the IEP team." The "IEP team" is an often-changing group of
  people whose specific membership is identified only in the context of a particular IEP
  meeting for a particular student. Also, the proposed regulation could be read to suggest
  that the consultation needs to take place in the context of an IEP meeting, because that
  is the only occasion when the "IEP team" is assembled. Such an interpretation would
  result in the Title IX regulations imposing a new meeting requirement on IEP teams that
  does not otherwise exist in IDEA or its implementing regulations. We recommend that
  the proposed language "IEP team" be changed to "a school administrator familiar with
  the student's IEP" in order to (1) provide more specificity as to who should be consulted
  and (2) clarify that there is no expectation that the consultation must take place in the
  context of an additional IEP team meeting.

  The second concern is that while it is reasonable to have the Title IX coordinator consult
  with a school administrator familiar with the IEP of a student who is a complainant or
  respondent, the proposed wording states that the purpose of doing so is to ensure
  compliance with "the requirements of IDEA." Instead, in our view the purpose would be
  to ensure that the Title IX investigation properly considers the impact of the student's
  disability. The CDE recommends changing the proposed regulation to strike the
  reference to "to help ensure that recipient complies with the requirements of IDEA" and
  add language clarifying that the purpose of the consultation is to "ensure that the Title IX
  investigation properly considers any impact of the student's disability."

  Similarly, we have a concern regarding the language in the proposed 34 CFR 106.8(e)
  that states that if a student with a disability covered by Section 504 of the Rehabilitation
  Act is either the complainant or the respondent, the Title IX coordinator must consult
  with the "group of persons responsible for the student's placement decision," or "Section
  504 team," to help ensure compliance with Section 504 throughout the Title IX
  investigative process. First, while IDEA specifically provides for an IEP team, IEP team
  meetings, and written IEPs, the Section 504 regulations do not specifically provide for a
  particular group of persons who are responsible for the student's placement or who
  would make up a student's "Section 504 team," nor do they specifically provide for
  Section 504 team meetings or a written Section 504 plan. We suggest that the
  references to a "group of persons responsible for the student's placement" and a
  "Section 504 team" be removed and replaced with a reference to "a

  school administrator familiar with the student's disability and written 504 plan, if any."
  Second, we recommend removing the reference to "to help ensure that the recipient
  complies with the requirements of Section 504." Instead, language might be added to
  clarify that the purpose of the consultation is to "ensure that the Title IX investigation
  properly considers any impact of the student's disability."




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  The proposed 34 CFR 106.10 expands the scope of Title IX to include any
  discrimination on the basis of sex, including discrimination on the basis of sex
  stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,
  and gender identity. California currently has a robust complaint and appeal system in
  place to address these types of formal complaints. Expanding the scope of the Title IX
  regulations would be duplicative and may cause confusion at the school and district
  level for these kinds of formal complaints. Title IX regulations should explicitly allow for
  flexibility for states like California that already have systems in place to address
  discrimination complaints to the same high standards set out in the rule. The California
  Code of Regulations, Title 5 (5 CCR), Section 4600 et seq. establishes Uniform
  Complaint Procedures (UCP) to be followed for complaints of discrimination,
  harassment, intimidation, and/or bullying based on a protected class. The regulations
  require each local educational agency (LEA) to adopt policies and procedures for
  accepting and investigating complaints of discrimination, harassment, intimidation,
  and/or bullying based on a protected characteristic. When investigating, LEAs must
  submit an investigation report to complainants within 60 days. In addition, California has
  established a state appeal process by which complainants may appeal the LEA's
  investigation report.

  California greatly appreciates the opportunity to provide comment and support of the
  Title IX proposed rule. We believe it is vital to protect all students and staff in order to
  advance educational equity and opportunity for all. If additional information regarding
  this request is needed, please contact Joseph Saenz, Federal Policy Liaison,
  Government Affairs Division, by telephone at 916-591-6391 or by email at[
  HYPERLINK "mailto:jsaenz(c~cde.ca.gov" ].

  Sincerely,



  Malia Vella
  Deputy Superintendent of Superintendent's Initiatives
  California Department of Education




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          September 1, 2022

          Submitted via www.regulatfons.gov

            Dr. Miguel Cardona                                 Catherine E. Lhamon
            Secretary of Education                             Assistant Secretary, Office for Civil Rights
            U.S. Department of Education                       U.S. Department of Education
            400 Maryland Ave SW                                400 Maryland Ave SW
            Washington, DC 20202                               Washington, DC 20202

          Re: ED Docket No. ED-2021-OCR-0166, RIN 1870-AA16, Nondiscrimination on the
          Basis of Sex in Education Programs or Activities Receiving Federal Financial
          Assistance.

          Dear Secretary Cardona and Assistant Secretary Lhamon:

          On behalf of the National Parent Teacher Association and our millions of members
          nationwide, we appreciate the opportunity to comment on the U.S. Department of
          Education's proposed rule implementing Title IX of the Education Amendments of 1972.
          Based on our experience working in schools and for children across the country, we
          believe the proposed rule represents a critical step towards helping to decrease
          harassment in our schools and ensure that schools are safe, supportive and inclusive
          environments for all of our students.

          PTA is the oldest and largest child advocacy association in America, comprised of
          millions of parents, teachers, grandparents, caregivers, foster parents and other caring
          adults who share a commitment to improving the education, health and safety of all
          children. Our association believes all children deserve the opportunity to reach their full
          potential in safe and welcoming environments. As such, we support federal policies that
          protect against sexual harassment and sex discrimination in education, including policies
          that specifically protect LGBTQI+ youth, and local practices that create and maintain
          safe, affirming, and inclusive learning environments for all students.

          Response to Sexual h arassment & Sexual Violence Afffectine Students

          National PTA and its constituent associations have long believed that every child
          deserves to go to school excited to learn in a safe and nurturing environment, without the
          fear of bullying, violence or discrimination. To that end, we support the strengthening of
          Title IX and other federal, state and local laws that identify, address the effects of, and
          prohibit sexual harassment and sexual violence impacting students. Our PTAs collaborate
          with school administrations, institutions of higher learning, and community partners to
          ensure that every school provides support services for victims of sexual harassment and
          sexual violence, presents awareness and prevention programs that address sexual
          harassment and sexual violence affecting students, and include training on the



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          responsibilities of educational institutions, as well as the rights of sexual violence and
          sexual harassment victims under Title IX and other laws and regulations.

          The rule proposed by the Department of Education would strengthen Title IX protections
          in schools, clarify the responsibilities of educational institutions when sexual harassment
          occurs, encourage schools to provide support services for victims of sexual harassment
          and sexual violence, and require schools establish grievance procedures that are prompt
          and equitable. In particular, the proposed rule requires schools to address all types of sex-
          based harassment including those that occur on school grounds, or during school
          activities off campus and abroad. It requires schools to address the hostile environment
          created on campus even if the harassment occurred off-campus. It requires action from
          the school whenever the incident is so "severe" or "pervasive" that it limits a student's
          access to education, thereby violating the Title IX protection that "No person in the
          United States shall, on the basis of sex...be denied the benefits of...any education program
          or activity receiving Federal financial assistance."

          Sexual harassment has devastating effects on students by negatively impacting their
          emotional and physical well-being, ultimately acting as a barrier to equal and free access
          to public education. Moreover, women and girls of color, disabled survivors, and
          LGBTQI+ survivors are at a disproportionately high risk of being denied the benefits of
          an education due to sexual harassment, as they face stereotypes casting them as less
          credible when they report sexual misconduct. Research shows that, of available reporting
          statistics, up to forty percent (40%) of middle and high school students report being
          victims of sexual violence or sexual harassment, but that this number is likely much
          higher because it does not account for the vast underreporting of sexual harassment.
          Research further indicates educational institutions are the most common location of peer
          sexual victimization. This reporting underscores the need for a fully inclusive definition
          of sexual harassment that encourages students to come forward when they are being
          harassed rather than remaining silent and potentially making them vulnerable to
          continued or escalating harassment and assault.

          As experts in the field of family engagement and effective family-school partnerships, we
          also encourage the Department to include language in the final rule that ensures that the
          development of grievance procedures include parents, families, community members,
          students and other stakeholders. School community members are entitled to a transparent
          grievance procedure development process with ample opportunity to offer input and
          feedback. National PTA will continue to urge and support family engagement in schools
          and as it pertains to the development of grievance procedures that keep all students safe.
          We hope the Department will join in this important effort.

          Recognition of LGBTO Individuals as a Protected Class

          National PTA and its constituent associations believe that all children and youth should
          be able to attend school in a safe and inclusive environment free from discrimination and



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